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                  Nos. 22-13051, 22-13052, 22-13118, & 22-13120

                  In the United States Court of Appeals
                         for the Eleventh Circuit
               IN RE: BLUE CROSS BLUE SHIELD ANTITRUST LITIGATION
                                   (MDL 2406)

               On Appeal from the United States District Court for the
                  Northern District of Alabama, Southern Division,
                             No. 2:13-CV-20000-RDP
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               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT
      Certificate of Interested Persons. Pursuant to 11th Cir. R. 26.1 and 11th Cir.

R. 26.1-2(b), and 26.1-3, Plaintiffs-Appellees hereby certify that the list of those

interested in the outcome of this appeal in Appellant David G. Behenna’s Principal

Brief is complete, with the following additions:

      1.     Bailey & Glasser, LLP, Counsel for Plaintiffs-Appellees

      2.     Cochran, George W., Counsel for Interested Party-Appellant

      3.     Colatriano, Vincent J., Counsel for Plaintiffs-Appellees

      4.     HD Operations Holding Company, Inc., Interested Party-Appellant

      5.     Home Depot Group Benefits Plan, Interested Party-Appellant

      6.     The Home Depot, Inc. (HD), Interested Party-Appellant

      7.     The Home Depot Medical and Dental Plan, Interested Party-Appellant

      8.     McKinney, Rebekah Keith, Counsel for Appellee

      9.     Mullins, M. Richard, Counsel for Appellants

      10.    Pacella, Mario Anthony, Counsel for Plaintiffs-Appellees

      11.    Snyder, Eric B., Counsel for Plaintiffs-Appellees

      12.    Strom Law Firm, Counsel for Plaintiffs-Appellees

      13.    Watson, McKinney, LLP, Counsel for Plaintiffs-Appellees

      14.    Weinberg, Wheeler, Hudgins, Gunn & Dial, LLC, Counsel for

             Defendants-Appellees

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Corporate Disclosure Statement. Pursuant to Fed. R. App. P. 26.1 and 11th Cir.

R. 26.1-1, 26.1-2, and 26.1-3, Plaintiffs-Appellees submit this Corporate Disclosure

Statement and state as follows:

   1. Plaintiff-Appellee A. Duie Pyle, Inc. has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock.

   2. Plaintiff-Appellee American Electric Motor Service, Inc. has no parent

      corporation and no publicly held corporation owns ten percent or more of its

      stock.

   3. Plaintiff-Appellee Avantgarde Aviation, Inc. has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock.

   4. Plaintiff-Appellee Barr, Sternberg, Moss, Lawrence, Silver & Munson, P.C.

      has no parent corporation and no publicly held corporation owns ten percent

      or more of its stock.

   5. Plaintiff-Appellee Bartlett, Inc. dba Energy Savers has no parent corporation

      and no publicly held corporation owns ten percent or more of its stock.

   6. Plaintiff-Appellee CB Roofing LLC has no parent corporation and no publicly

      held corporation owns ten percent or more of its stock.

   7. Plaintiff-Appellee Casa Blanca, LLC, has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock




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   8. Plaintiff-Appellee Comet Capital has no parent corporation and no publicly

      held corporation owns ten percent or more of its stock.

   9. Plaintiff-Appellee Conrad Watson Air Conditioning Corporation has no

      parent corporation and no publicly held corporation owns ten percent or more

      of its stock.

   10.Plaintiff-Appellee Consumer Financial Education Foundation of America,

      Inc. has no parent corporation and no publicly held corporation owns ten

      percent or more of its stock.

   11.Plaintiff-Appellee Fort McClellan Credit Union has no parent corporation and

      no publicly held corporation owns ten percent or more of its stock.

   12.Plaintiff-Appellee Free State Growers, Inc. has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock.

   13.Plaintiff-Appellee GC/AAA Fences, Inc. has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock.

   14.Plaintiff-Appellee G&S Trailer Repair Inc. has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock.

   15.Plaintiff-Appellee Galactic Funk Touring, Inc., has no parent corporation and

      no publicly held corporation owns ten percent or more of its stock.

   16.Plaintiff-Appellee Gaston CPA Firm, P.C. has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock.


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   17.Plaintiff-Appellee Hibbett Retail, Inc., f/k/a Hibbett Sporting Goods, Inc., is

      a subsidiary of Hibbett, Inc. (Nasdaq: HIBB). Blackrock, Inc. (NYSE: BLK),

      owns ten percent or more of the stock of Hibbett, Inc.

   18.Plaintiff-Appellee Hess, Hess & Daniel, P.C. has no parent corporation and

      no publicly held corporation owns ten percent or more of its stock.

   19. Plaintiff-Appellee Iron Gate Technology, Inc. has no parent corporation and

      no publicly held corporation owns ten percent or more of its stock.

   20.Plaintiff-Appellee Jewelers Trade Shop has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock.

   21.Plaintiff-Appellee Montis, Inc. has no parent corporation and no publicly held

      corporation owns ten percent or more of its stock.

   22.Plaintiff-Appellee Pearce, Bevill, Leesburg, Moore, P.C. has no parent

      corporation and no publicly held corporation owns ten percent or more of its

      stock.

   23.Plaintiff-Appellee Pete Moore Chevrolet, Inc. has no parent corporation and

      no publicly held corporation owns ten percent or more of its stock.

   24.Plaintiff-Appellee Pettus Plumbing & Piping, Inc. has no parent corporation

      and no publicly held corporation owns ten percent or more of its stock.

   25.Plaintiff-Appellee Pioneer Farm Equipment, Inc. has no parent corporation

      and no publicly held corporation owns ten percent or more of its stock.


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   26.Plaintiff-Appellee Rolison Trucking Co., LLC, has no parent corporation and

      no publicly held corporation owns ten percent or more of its stock.

   27.Plaintiff-Appellee Sadler Electric has no parent corporation and no publicly

      held corporation owns ten percent or more of its stock.

   28.Plaintiff-Appellee Sirocco, Inc., has no parent corporation and no publicly

      held corporation owns ten percent or more of its stock.

   29.Plaintiff-Appellee Vaughan Pools, Inc. has no parent corporation and no

      publicly held corporation owns ten percent or more of its stock.




Dated: February 10, 2023                Respectfully submitted,

                                        /s/ Charles J. Cooper
                                        Charles J. Cooper

                                        Counsel for Plaintiffs-Appellees




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              STATEMENT REGARDING ORAL ARGUMENT

      Plaintiffs-Appellees believe oral argument is not necessary, as this appeal

raises no new questions of law, and the facts and legal arguments are fully presented

in the briefs and the record. See FED. R. APP. P. 34(a)(2). Plaintiffs-Appellees

respectfully request, consistent with the Court’s November 2, 2022 Order, granting

in part their motion for expedited treatment, Doc. 98-1, that if any oral argument is

ordered, it be scheduled as expeditiously as the Court’s schedule permits.




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                    STATEMENT OF SUBJECT MATTER
                     AND APPELLATE JURISDICTION

      The District Court had subject matter jurisdiction over this action under 28

U.S.C. §§ 1331 and 1337(a) because Plaintiffs-Appellees asserted claims under

Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, for violations of the

Sherman Act, 15 U.S.C. §§ 1 and 2, and under 28 U.S.C. § 1332(d)(2)(A), because

Plaintiffs-Appellees sought relief in a consolidated class action complaint alleging

claims that exceeded $5,000,000 and at least one defendant is a citizen of a state

different from that of at least one class member.

      This Court has appellate jurisdiction under 28 U.S.C. § 1291 because the

District Court’s August 9, 2022, Final Order and Judgment (R.2931) is a final order

resolving all claims in the stand-alone Subscriber Track of this multi-district

litigation, and was thus immediately appealable. See Gelboim v. Bank of Am. Corp.,

574 U.S. 405, 408 (2015); Hall v. Hall, 138 S. Ct. 1118, 1131 (2018). In addition,

the Final Order and Judgment is an appealable final judgment under Federal Rule of

Civil Procedure 54(b). Under Rule 54(b), a district court may enter an appealable

judgment as to fewer than all claims or parties if the district court “expressly”

determines that there is “no just reason for delay.” The District Court made such an

express determination here. R.2931:92(¶31).

      Appellants Topographic, Inc. and Employee Services, Inc., filed their timely

notice of appeal on September 7, 2022. R.2940. Appellants Jennifer Cochran and

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Aaron Craker filed their timely notice of appeal on September 7, 2022. R.2943. The

Home Depot Appellants filed their timely notice of appeal on September 8, 2022.

R.2942. Appellant David Behenna filed his timely notice of appeal on September 8,

2022. R.2944.




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                         STATEMENT OF THE ISSUES
      Appellants in these four separate Appeals challenge the order granting final

approval to the class action Settlement that resolved the claims of Subscriber Plain-

tiffs (“Subscribers”) in this multidistrict antitrust litigation against the Blue Cross

and Blue Shield Association (“BCBSA”) and its members (collectively, “Blues” or

“Defendants”), as well as the fee award. The Appeals raise the following issues:

1.    The Home Depot Appellants (“Home Depot”) raise the question whether the

      Settlement violates public policy because it includes a release of future anti-

      trust class claims arising out of the Blues’ continuation of pre-settlement con-

      duct that was the subject of the litigation.

2.    Home Depot raises the question whether Rule 23(a)(4) required, as a matter

      of law, that the Rule 23(b)(2) injunctive relief class and the Rule 23(b)(3)

      damages class be represented by separate named plaintiffs and class counsel.

3.    Appellants Topographic, Inc., and Employee Services, Inc. (“Topographic”)

      raise the question whether the District Court abused its discretion in approving

      a Plan of Distribution (“POD”) allocating the $2.67 billion Settlement Fund

      between fully insured Subscriber Class members (“Fully Insureds”) and Self-

      Funded Sub-Class members.

4.    Appellants Jennifer Cochran and Aaron Craker (“Cochran”) raise the question

      whether the District Court abused its discretion when it approved a POD



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      allocating unclaimed and below-threshold employee shares to their claiming

      employers.

5.    Appellant David Behenna (“Behenna”) challenges the District Court’s fee

      award, arguing that it abused its discretion by performing a percentage of the

      common fund analysis, supplemented by a lodestar “cross-check” and addi-

      tional factors, rather than by performing a “bifurcated fee” analysis.

                         STATEMENT OF THE CASE1
I.    Proceedings Below
      A.     Litigation Overview.
      This litigation began 11 years ago, when plaintiffs who purchased health in-

surance filed a class action complaint alleging that Defendants had entered into an

unlawful agreement to restrain trade in the market for full-service commercial health

insurance by restricting Defendants’ ability to compete with each other both when

using Blue Cross and Blue Shield names and trademarks and when using other


      1
        Record references are formatted R._:_. The first blank is the District Court
docket number; any document sub-number is included in parentheses. The second
blank is the page number, using the page number in the CM/ECF header; any para-
graph number is here included in parentheses. Thus, “R.2931:5” refers to page 5 of
docket entry 2931.
      We cite to Home Depot’s brief (Doc. 120) as “HDPAGE,” to Topographic’s
brief (Doc. 121) as “TopographicPAGE,” to Cochran’s brief (Doc. 124) as
“CochranPAGE,” to Behenna’s brief (Doc. 122) as “BehennaPAGE,” and to the
amicus brief of various state insurance departments (Doc. 129) as “AmicusPAGE.”
      Capitalized terms not otherwise defined have the meaning given to them in
the Settlement Agreement. R.2610(2):7-25.

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names and marks. Cerven v. Blue Cross and Blue Shield of North Carolina, et al.,

Case No. 5:12-CV-17 (W.D.N.C. Feb. 7, 2012) (R.2998(3):94-154).

      Cerven was brought on behalf of purchasers of products in the “fully insured”

market, R.2998(3):95 (¶2), 102 (¶30), 116-17 (¶82), 121 (¶95), 129 (¶117), 131

(¶¶123-24), 134 (¶132), and not on behalf of purchasers in the so-called “self-

funded” market. R.2998(3):132-33 (¶129). See R.99(1):94 (¶394). With fully in-

sured health insurance products, the insurer (the Blues) pays enrollees’ medical

costs, bears the risk that enrollees’ health care claims will exceed premiums, controls

the benefit structure, makes coverage decisions, and also provides administrative

services, e.g., processing medical bills and negotiating discounts with providers.

R.2998(3):132-33 (¶129). By contrast, a self-funded product provides “administra-

tive services only” (“ASO”) and not health insurance coverage. Id. (The parties and

the District Court have used the terms “ASO,” “self-funded,” and “self-insured” in-

terchangeably to refer to the same product.) Purchasers of ASO products remain at

risk for healthcare costs, and self-insure for those costs. Some may purchase “stop-

loss” insurance products, but such stop-loss insurance is not a health insurance prod-

uct. R.2845(1):3; Amicus8.

      Other purchasers of commercial health insurance products soon thereafter

filed over 40 similar class actions around the country. Neither Cerven nor any of the

follow-on suits were brought by or on behalf of a plaintiff who had purchased an


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ASO product. Nor did any allege that ASO products were the relevant product mar-

ket. While Subscribers eventually conducted discovery concerning ASO products,

they did so only to establish the distinction between the product markets for health

insurance coverage and ASO products; prior to the retention of Self-Funded Sub-

Class Counsel in 2019, no discovery or expert analysis was ever conducted into ASO

damages. R.2865:114. As Judge Proctor explained at the Fairness Hearing, “when

ASOs got introduced into this, that was news to me. At no point at any time did the

Blues or the subscribers suggest to me that ASOs were ever part of a target of this

litigation.” R.2865:157.

      In December 2012, these Subscriber Actions were consolidated by the Judicial

Panel on Multidistrict Litigation, along with related Provider actions alleging that

similar restraints had resulted in lower payments to healthcare providers.

R.2610(6):4 (¶8). The JPML transferred the consolidated actions to the Northern

District of Alabama before Judge Proctor, who appointed experienced antitrust liti-

gators David Boies and Michael Hausfeld to serve as interim co-lead counsel for

Subscribers. R.61. The Subscriber and Provider actions proceeded on separate

tracks and were governed by separate master complaints. The Subscribers filed a

Subscriber Track Consolidated Class Action Complaint in July 2013. R.85; R.99(1).

      The ensuing litigation was “extraordinarily complex, protracted, and hard-

fought.” R.2641:3. The District Court resolved over a dozen motions to dismiss,


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R.205; R.2733(1):26, and held well over 100 discovery conferences, status confer-

ences, and other hearings. R.2610(6):5 (¶12). The parties briefed over 150 discov-

ery motions, R.2641:3, and Subscribers successfully challenged hundreds of thou-

sands of privilege assertions. R.2610(6):6 (¶16). Subscribers reviewed over 15 mil-

lion pages of documents and multiple terabytes of structured data produced in dis-

covery, conducted over 120 depositions, and defended 16 depositions of class rep-

resentatives. R.2610(6):5-6 (¶¶13-15); R.2641:3.

      After several rounds of summary judgment motions, R.2610(6):7-8 (¶¶19-22),

the District Court in 2018 granted Subscribers’ motion for summary judgment on

the standard of review, ruling “that Defendants’ aggregation of a market allocation

scheme together with certain other output restrictions is due to be analyzed under

the per se standard of review.” R.2063:59. The decision did not analyze the Blues’

use of Exclusive Serve Areas (“ESAs”) in isolation, but as part of an aggregation of

restraints. The Court also held that there was a dispute of material fact over Defend-

ants’ affirmative defense as to whether they act as a single economic enterprise with

respect to their management of Blue Marks. R.2063:35, 59. The District Court cer-

tified its order under 28 U.S.C. § 1292(b), after finding that there was a substantial

ground for difference of opinion with respect to its decision, R.2202, but this Court

declined interlocutory review. In re Blue Cross Blue Shield Antitrust Litig., 2018

WL 7152887 (11th Cir. Dec. 12, 2018). See R.2610(6):9 (¶23).


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       B.    Settlement/Mediation Efforts.
       For over five years, the litigants were concurrently engaged in settlement ne-

gotiations with the assistance of three separate mediators: Judges Layn Phillips and

Gary Feess and Special Master Edgar Gentle. R.2610(6):10 (¶30). Over the course

of three years, Special Master Gentle conducted over 150 meetings and held innu-

merable conference calls and virtual meetings with the parties. R.2610(12):3-8 (¶¶3-

22).

       The parties ultimately sought to negotiate a comprehensive settlement that

would resolve the claims not only of Fully Insureds, but also of purchasers of ASO

plans who were not then before the Court. Accordingly, in July 2019, Subscribers

approached Warren Burns to serve as counsel for a proposed subclass comprising

Self-Funded Accounts and their employees. R.2610(7):3 (¶3). In September 2019,

he became counsel to what became the Self-Funded Sub-Class, with Hibbett Sports,

Inc., (“Hibbett”) named as subclass representative. Id. Mr. Burns and his team im-

mersed themselves in the factual record, sought and received additional discovery,

and retained independent experts to assist them in assessing the terms of possible

settlements and in determining and negotiating a fair allocation of any settlement

fund to the Self-Funded Sub-Class. R.2610(7):3-4 (¶¶5-7).

       As the Special Master attested, settlement negotiations were “conducted at

arm’s length and in good faith,” and were “often extremely contentious.”



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R.2610(12):13-14 (¶35). “Counsel consistently exhibited the highest degree of pro-

fessionalism,” and they advocated for their respective clients “tenaciously and vig-

orously.” Id.

      These efforts ultimately bore fruit. In November 2019, the parties agreed on

a term sheet. R.2610(12):8. Over the following year, the parties diligently worked,

under the continuing supervision of the Special Master, to negotiate the terms of the

Settlement, which was signed in October 2020. R.2610(2).

      C.        The Settlement.
                1.   Settlement Classes.
      The Settlement Classes include a damages and divisible injunctive relief class

under Rule 23(b)(3) (“(b)(3) class” or “Damages Class”), as well as an indivisible

injunctive relief class under Rule 23(b)(2) (“(b)(2) class” or “Injunctive Relief

Class”). “Indivisible” relief applies “as to all of the class members or to none of

them.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011). “Divisible” relief

is the sort of individualized relief available when each “class member would be en-

titled to a different injunction or declaratory judgment against the defendant.” Id.

(emphasis in original). Subscribers also sought certification of a “Self-Funded Sub-

Class” comprising ASO entities and their employees.2 This subclass was separately



      2
       Together, the various classes are sometimes referred to herein as the “Settle-
ment Class[es]” or the “Subscriber Class[es]”.

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represented by subclass counsel Burns and subclass representative Hibbett.

R.2610(2):21-22 (¶¶1(dddd), 1(eeee)).

      There is overwhelming overlap in membership between the (b)(2) and (b)(3)

classes,3 both of which are defined primarily to include both (a) persons or groups

insured by Blue plans, and (b) self-funded groups that had ASO contracts with a

Blue plan (and their employees). The primary differences between the classes are

that beneficiaries and dependents of covered employees are included in the (b)(2)

class but not the (b)(3) class. The class period for each class ended on the Settle-

ment’s Execution Date of October 16, 2020. Within both classes, the settlement

class period for Fully Insureds begins on February 7, 2008, which is four years be-

fore the Cerven complaint was filed—reflecting the Sherman Act’s four-year statu-

tory limitations period. 15 U.S.C. § 15b. For Self-Funded Sub-Class members, the

class period begins on September 1, 2015, R.2610(2):23 (¶1(nnnn)), approximately

four years before Self-Funded Accounts joined settlement negotiations in September

2019. The reason for the difference is that no claims were advanced by any Self-

Funded Accounts until they were added to the case in October 2020.

              2.     The Benefits Provided to the Settlement Classes.

                     a.    Settlement Fund.
      The Settlement establishes a Settlement Fund of $2.67 billion, which will (1)


      3
          For the class and subclass definitions, see R.2609(1):72-73(¶¶317-319).

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pay all (b)(3) class members entitled to a distribution in accordance with the Plan of

Distribution, R.2610(2):44-45 (¶27); (2) fund a $100 million Notice and Administra-

tion Fund, R.2610(2):16-17 (¶1(ggg)), 43 (¶29); and (3) pay Court-awarded attor-

neys’ fees and expenses, together not to exceed 25% of the fund. R.2610(2):45-47

(¶28). Apart from a right to receive any residual balance of the Notice and Admin-

istration Fund, Defendants have no reversionary interest in the Settlement Fund.

R.2610(2):47-48 (¶30).

                     b.    Structural Relief.
         The Settlement requires Defendants to make structural reforms that will in-

crease competition between BCBSA members. The District Court characterized

these reforms as “historic,” “substantial,” and “truly exceptional,” R.2931:3, 40, and

concluded that these “hard-won changes to Defendants’ rules” would “create[e] op-

portunities for more competition in the market for the purchase and administration

of health insurance and provid[e] the potential for a more competitive environment

in which the Settlement Class may achieve greater consumer choice, better product

availability, and increased innovation.” R.2931:11. See R.2931:40 (Settlement

“will provide for materially greater competition in the field of health care financ-

ing”).

         Elimination of Restrictions on Non-Blue Competition. The Settlement re-

quires the Blues to “eliminate and no longer enforce” their so-called “National Best



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Efforts Requirement,” and to refrain from adopting any equivalent requirement.

R.2610(2):31 (¶10). The “NBE Requirement” had required each Blue to generate

no less than two thirds of its national health revenues from Blue-branded businesses,

thereby restricting their ability to compete using non-Blue (“Green”) brands.

R.2610(10):7-9 (¶¶22-32).

      The NBE rules were far and away Defendants’ “most pernicious competitive

restraints,” R.2812(7):6 (¶14), and, as the District Court found, “[b]y eliminating the

NBE rule, accounts are now potentially able to receive bids from every Blue Plan in

the country—i.e., a Blue-branded bid from the local Blue Plan, and unconstrained

Green bids from any other Plan.” R.2931:63. Every Blue Plan will now be free to

compete throughout the country using a non-Blue brand, with no caps or restraints

on such competition. See R.2931:12 (eliminating NBE will “unleash[] Green com-

petition, which will directly benefit the class.”).

      Promotion of Competition for National Accounts. The Settlement secures

relief that will promote significant competition for large national accounts. First,

Qualified National Accounts (employers with more than 5,000 employees meeting

certain geographic dispersion criteria, together comprising at least 33 million Mem-

bers) may now request a so-called “Second Blue Bid” (“SBB”), a second, previously

prohibited bid from the Blue Plan of their choice. R.2610(2):33-34 (¶15). Second,

for accounts with Independent Health Benefit Decision Locations in more than one


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Blue Plan’s Service Area, each such location may request a bid from the Blue Plan

in its Service Area to cover that location’s employees. R.2610(2):33 (¶14.b). Third,

when a multi-Service Area National Account seeks bids, and the Blue Plan covering

its Service Area decides to bid the Account under a non-Blue brand, the right to bid

the Account under the Blue brand must be “ceded” to another Blue Plan, thereby

increasing competition for that account. R.2610(2):33 (¶14.a). “All three of these

provisions,” the Court found, “will produce increased choice for these self-funded

accounts and increased competition in the market for self-funded accounts.”

R2931:13.

      Local Best Efforts Revision. The Local Best Efforts (“LBE”) rule requires a

certain percentage of each Blue’s healthcare-related revenue within its Service Area

to be generated using the Blue Marks. The Settlement provides that the geographic

area used to assess LBE compliance be no larger than a State, and caps the require-

ment at a maximum of 80% of revenue. R.2610(2):31 (¶11). See R.2931:65 (dis-

cussing effect of LBE limitation).

      Revisions to Acquisition Policies. BCBSA currently controls whether any

Blue Plan may be acquired. The Settlement restricts that by ensuring that Defendants

impose only “legal and reasonable conditions on the acquisition of a [member plan],

… [and] only to the extent that those conditions are reasonably necessary to prevent

impairment of (1) the value of the Blue Marks, or (2) the competitiveness or


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efficiency of the Blue Branded business or of the Blue Marks.” R.2610(2):36 (¶17).

It also allows a potential acquirer to challenge any rejection of (or imposition of a

condition on) a proposed acquisition before the Monitoring Committee (discussed

below), followed by binding arbitration. Id.

      Revisions to Contracting Restrictions. The Settlement removes a variety of

restrictions that Defendants had imposed on contracting between Provider-Vendors

and Self-Funded Accounts, and requires using non-discriminatory fee schedules for

medical and surgical claims for Self-Funded Accounts, on the one hand, and Insured

Groups, on the other. R.2610(2):31-32 (¶12).

      Most Favored Nation Clause Revisions. The Settlement restricts the ability

of Blues to include so-called “Most Favored Nation” or “Most Favored Nation-Dif-

ferential” clauses in their provider contracts. See R.2610(2):36-37 (¶18). Blue Plans

entering into MFN Differentials in certain situations must demonstrate to the Moni-

toring Committee that the provision does not violate the Settlement. R.2610(2):36-

37 (¶18.b).

      Monitoring Committee. The Settlement establishes a Monitoring Committee

to oversee compliance with the Settlement, to mediate certain disputes, and to review

certain rules changes by the Blues. R.2610(2):37-39 (¶20). The Monitoring Com-

mittee “affords the Settlement Classes and the court substantial assurance of the Set-

tling Defendants’ compliance with the Settlement.” R.2931:15.


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             3.     The Release.
      Upon the Settlement’s Effective Date, Settlement Class members who have

not opted out of the (b)(3) class release all claims “based upon, arising from, or re-

lating in any way to” (i) the “factual predicates of the Subscriber Actions” as de-

scribed in the relevant Subscriber Track complaints; (ii) “any issue raised in any of

the Subscriber Actions by pleading or motion”; or (iii) “mechanisms, rules, or regu-

lations” adopted by Defendants that are “within the scope” of the Settlement’s struc-

tural relief provisions and are “approved through the Monitoring Committee Pro-

cess.” R.2610(2):19 (¶1.uuu)). The parties agreed that the Release would be inter-

preted “to the fullest extent permitted by law.” R.2610(2):49 (¶32).

      Settlement Class members who opt out of the (b)(3) Damages Class still “re-

lease all claims for indivisible injunctive or declarative relief.” R.2939:1-2. Opt-

outs retain the right to assert claims for damages and divisible, individualized in-

junctive relief. At the Court’s insistence, the nature of the SBB relief as individual-

ized injunctive relief, and the operation of the Release as it relates to that relief, was

clarified and a supplemental opt-out opportunity was provided to ASOs. R.2897.

Thus, the right retained by opt-outs, including Home Depot, to pursue claims for

individualized relief “may include the right to pursue in litigation more than one

Blue bid based upon an Opt-Out’s individual business and the facts and circum-

stances of the individual claims.” R.2939:2.



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             4.    The Plan of Distribution.
      Counsel for Subscribers, aided by economists and under the supervision of

seasoned allocation mediator Kenneth Feinberg, formulated a Plan of Distribution

(“POD”) that equitably distributes the Net Settlement Fund between, first, Fully In-

sureds and Self-Funded Sub-Class members and, second, between employers and

employees.

                   a.    Allocation Between Fully Insureds and Self-Funded
                         Sub-Class.
      To ensure that ASOs received an equitable share of the Settlement Fund, Self-

Funded Counsel engaged Dr. Joseph Mason, “an experienced antitrust economist, a

chaired professor at LSU, and a fellow at the Wharton School,” R.2931:37, to ana-

lyze the data and determine an appropriate allocation. R.2610(7):5 (¶10).4 Dr. Ma-

son and his team had unfettered access to all discovery materials and data produced

by Defendants. R.2865:217-218. Dr. Mason relied on revenue data, for both Fully

Insureds and the Self-Funded Sub-Class, in Defendants’ internal reports. R.2865:47-

48. He also held extensive discussions with Defendants to enhance his understand-

ing of their data and records. R.2865:217-218. Dr. Mason ultimately developed

four separate allocation analyses to support Self-Funded Counsel in the allocation



      4
        Fully Insureds consulted Dr. Aries Pakes of Harvard University, who spent
years working on the damages analysis for this litigation, to provide his view as to
the appropriate allocation.

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negotiations. R.2812(9):14-19 (¶¶36-51); R.2610(7):5 (¶10).

      Counsel also sought the assistance of Mr. Feinberg to facilitate the determi-

nation of an appropriate allocation. R.2610(7):4-5 (¶9). Mr. Feinberg reviewed in-

formation concerning the relative volume of payments and the differing strengths of

claims for Self-Funded Accounts and Fully Insureds. As noted, the Settlement’s

Self-Funded Sub-Class period is shorter than the overall class period, resulting in

seven more years of damages for Fully Insureds. Further, the premiums paid by

Fully Insureds—which underlies any estimate of antitrust overcharges—dwarf the

administrative fees paid by Self-Funded Sub-Class members. Based on these and

other factors, Subscriber Counsel presented estimates of appropriate allocations for

ASOs ranging from 3.4% to 6.8% of the Net Settlement Fund, while Self-Funded

Counsel presented estimates ranging from 7.6% to 16%. R.2610(8):6 (¶12).

      After months of negotiation, counsel agreed to allocate 6.5% of the Net Set-

tlement Fund to Self-Funded claimants (“Self-Funded Net Settlement Fund”), and

93.5% to Fully Insured claimants (“FI Net Settlement Fund”). R.2610(8):6 (¶13).

Mr. Feinberg opined that this allocation treated both groups equitably relative to

each other. R.2610(8):6-7 (¶14). Mr. Feinberg noted that: (1) the negotiated number,

as would be expected, fell near the low end of Self-Funded Counsel’s estimates and

near the high end of Subscriber Counsel’s estimate; and (2) the differing class peri-

ods and differing amounts of premiums versus ASO fees supported the allocation.


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R.2610(8):6-7 (¶14). He also noted that the fact that the allocation “resulted from

protracted negotiations between sophisticated counsel” supported its reasonable-

ness. R.2610(8):6-7 (¶14).

                   b.     Allocation between Employers and Employees.

      The POD distributes both the FI Net Settlement Fund and the Self-Funded Net

Settlement Fund on a pro rata basis based upon the amount of premiums (or, in the

case of ASOs, administrative fees) paid by or attributable to claimants. The Settle-

ment Classes include both individual insureds and those who receive employer-

sponsored coverage. For employer-sponsored coverage, employees generally share

the economic burden of paying for coverage, through direct cost-sharing and/or re-

ductions in other compensation. R.2610(9):8 (¶12). Class Counsel attempted to ac-

count for this cost-sharing and worked closely with Defendants to analyze available

premium and ASO fee data. R.2610(9):15 (¶23). Because the Blues do not regularly

receive or maintain data on cost-sharing between employers and employees,

R.2610(9):14-15 (¶23), Counsel made reasonable approximations of the em-

ployer/employee split in determining appropriate pro rata shares.

      The POD uses “Default” contribution percentages to approximate employee

contributions ranging from 15%-34% for various scenarios and types of coverage.

The Default contribution percentages are based on several factors, including: (1) an-

nual data from Kaiser Family Health Foundation on employee out-of-pocket



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contributions; (2) the fact that some employees make no out-of-pocket contributions;

(3) evidence suggesting that even those employees may bear some economic burden

through reductions in other compensation; (4) potential standing challenges that

could be faced by employees relative to employers; and (5) the fact that under the

POD, the employer retains the value of premiums for employees who do not claim

or whose claims fall under the $5 minimum claim threshold. R.2610(5):12-13 (¶19f).

The POD also allows claimants who may not wish to use their Default contribution

percentage to select an “Alternative” option and submit documentation reflecting a

different percentage. R.2610(5):13-16 (¶19h-l); 19 (¶26). Any claimant electing the

Alternative option will have their claim reviewed by the Settlement Administrator

for final determination.

      Class Counsel engaged Darrell Chodorow and the Brattle Group to evaluate

the POD’s economic reasonableness. R.2610(6):12 (¶34). Mr. Chodorow reviewed

the Default contribution percentages and concluded, based on the economic litera-

ture and market conditions, that these estimates are reasonable. R.2610(9):19-24

(¶¶31-41), 28-29 (¶¶49-51). There were no objections to these Default percentages.

      The POD requires the Claims Administrator to attribute a portion of premiums

or ASO fees paid by an employer to each of its employees. R.2610(5):10-11

(¶19(b)), 19 (¶26). Where an employee does not make a claim, the premium and/or

ASO fee for that employee is attributed to the employer for purposes of calculating


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its pro rata shares. R.2610(5):11 (¶19(c)). Mr. Chodorow also reviewed this aspect

of the POD and found it was reasonable. R.2610(9):23 (¶38).

         Mr. Feinberg likewise concluded, after reviewing Mr. Chodorow’s declara-

tion and other supporting documentation, and relying upon his own extensive expe-

rience in complex allocation matters, that the POD is “reasonable and the tools used

by Class Counsel are realistic and appropriate under the circumstances.” R.2610(8):8

(¶19).

         D.    Preliminary Approval.

         In October 2020, Subscriber-Plaintiffs moved for Preliminary Approval of the

Settlement. R.2610. The motion was supported by detailed declarations submitted

by experts Dr. Daniel Rubinfeld, R.2610(10), Dr. Ariel Pakes, R.2610(11), and Dar-

rell Chodorow, R.2610(9), as well as declarations by Settlement Class Lead Counsel,

R.2610(6), Self-Funded Sub-Class Counsel, R.2610(7), and mediators Feinberg,

R.2610(8), and Gentle. R.2610(12).

         After conducting a day-long hearing in November 2020, the Court issued a

68-page decision preliminarily approving the Settlement, preliminarily certifying the

Settlement Classes, and approving a comprehensive notice plan. R.2641.

         E.    Class Notice.
         Direct notice was sent to over 100 million class members. R.2812(2):3. It was

complemented by a robust consumer media campaign, including digital, print, radio,



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and television efforts, which reached more than 85% of potential Settlement Class

members. R.2812(2):17. The Claims Administrator also made extensive efforts to

ensure class members were aware of their rights under the Settlement, R.2812(2):23-

25, including: the creation of a website viewed by nearly 15 million unique visitors,

R.2812(2):25-28; the establishment of a dedicated call center that received over a

million calls, R.2812(2):28-31; and the hiring of agents who responded to over

100,000 information requests, R.2812(2):31.

      The response was extraordinary. A total of 7.1 million claims, representing

roughly 7 percent of the class, had already been submitted by the time of the Fairness

Hearing. R.2864:30. Since that time, claims submitted have exceeded 8 million.

R.3029(1):2. In sharp contrast, of the over 100 million class members, only 2,049

elected to opt out, while only 40 timely objections were submitted on behalf of 123

objectors. R.2812(2):31.

      The Court subsequently ordered that supplemental notice be provided to Self-

Funded entities clarifying that the Settlement’s SBB relief was individualized relief

provided to (b)(3) class members. R.2897. The Court approved a supplemental no-

tice informing Self-Funded entities that, should they opt out of the (b)(3) class, they

would retain the right to seek both damages and individualized injunctive relief

(which could include SBB-type relief). R.2897.

      This supplemental notice was provided to more than 170,000 Self-Funded


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entities, and supported by an extensive email and media outreach campaign.

R.2914(1):4 (¶14). Thirty-nine additional entities elected to opt-out. R.2914(1):7

(¶27).

         F.      Attorneys’ Fees.
         The parties agreed that Subscriber Counsel would be permitted to seek a fee

and expense award “up to a combined total of 25% of $2.67 billion (i.e.,

$667,500,000.00).” R.2610(2):45 (¶28). The negotiations that produced this agree-

ment began only after the parties had reached an agreement in principle as to the

monetary and equitable relief that would be provided to the class. R.2641:5;

R.2610(12):14 (¶37).

         Subscriber Counsel ultimately filed a detailed fee petition explaining why

Rule 23(h), the “Johnson factors,” 5 and the lodestar cross-check confirmed their pre-

sumptively reasonable request for an award of attorneys’ fees representing 23.47%

of the common fund. R.2733(1). The request was supported by (1) a declaration by

Co-Lead Counsel detailing the colossal effort required to successfully litigate this

case, R.2733(2); (2) the declaration of Special Master Gentle, who attested to the

substantial contributions of capital that Counsel had made during years of litigation

and catalogued the process he followed in regularly auditing Counsel’s time and

expenses, R.2733(5); and (3) expert reports prepared by Professors Charles Silver,


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             Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974).

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of the University of Texas School of Law, R.2733(3), and Brian Fitzpatrick, of Van-

derbilt Law School, R.2733(4), each of whom concluded that the requested fee

award was eminently reasonable.

         G.    The Fairness Hearing.
         In September 2021, Subscriber Plaintiffs moved for final approval. R.2812.

The court conducted a Fairness Hearing in October 2021 spanning two full days,

hearing arguments from the parties in support of the Settlement and from objectors

(including Home Depot, Topographic, and Behenna). R.2859.

         The Court thoroughly considered all objections. A number of opt-outs from

the Damages Class, including Home Depot, had objected to the scope of the Release

as it applied to members of the (b)(2) class. The Court responded that language

clarifying the Release could be included in any order approving the Settlement. As

noted, the Court ultimately clarified that “a Self-Funded Account opt-out does not

release any claims for individualized declaratory or injunctive relief, which may in-

clude the right to pursue in litigation more than one Blue bid based upon an Opt-

Out’s individual business and the facts and circumstances of the individual claims.”

R.2939:2. That this language satisfied every objector, with the lone exception of

Home Depot, is a testament to the Court’s diligent efforts to address objector con-

cerns.

         The Court made especially extensive efforts to accommodate Topographic,



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permitting it to conduct limited discovery, granting its motion to compel the attend-

ance of Dr. Mason at the Fairness Hearing, and allowing its counsel both to cross-

examine Dr. Mason and to present the testimony of its own witness. R.2841. The

Court provided Topographic’s counsel with substantial time at the hearing to support

its objections. But when Topographic’s own witness took the stand, it became clear

that his opinion and methodology were wholly unreliable; indeed, he did not believe

that the allocation of antitrust damages should be based on the relative amounts of

overcharges paid by the two groups. R.2865:258. 6

      Although the Department of Labor (“DOL”) did not oppose the Settlement,

the Court added a third day to the Fairness Hearing to address DOL’s concern that

the Settlement might affect duties that employers or plan fiduciaries might have un-

der the Employee Retirement Income Security Act of 1974 (“ERISA”). R.2866. As

the hearing presentations confirmed, the Settlement does nothing to alter the facts

that all ERISA duties still apply and all ERISA fiduciaries must comply with those

duties. R.2866:23; R.2931:76.

      At the conclusion of the hearing, the Court offered objectors yet another


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        See also R.2865:249 (expert had no experience allocating damages);
R.2865:250; R.2865:251-252 (expert was aware of document indicating that fully
insured business was ten times as profitable as self-funded business, and acknowl-
edged this document was inconsistent with his contention that the Blues valued self-
funded and fully insured lives the same).



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opportunity to air their concerns. R.2870. Both Home Depot and Topographic

availed themselves of this opportunity, and submitted another 70 pages of briefing.

      H.     Final Approval.
      On August 9, 2022, the Court issued a 92-page order approving the Settlement

and overruling objections, R.2931, and a separate order approving Subscriber Coun-

sel’s attorney’s fees and expenses, R.2932.

      The Court found that the proposed Settlement Classes satisfied the require-

ments of Rules 23(a), 23(b)(2), and 23(b)(3). R.2931:27-28. The Court then thor-

oughly analyzed the Settlement using the factors established under Rule 23(e)(2) and

in Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984), and determined that

it was fair, reasonable, and adequate. R.2931:29-44. The Court offered reasoned and

detailed responses to the objections. R.2931:44-80. It found “that the arrangement

that will exist upon implementation of the Settlement is not clearly illegal,”

R.2931:47, given the significant procompetitive structural reforms made to the Blue

system by the Settlement. R.2931:47-48. It overruled Home Depot’s objection that

public policy prohibits, as a matter of law, antitrust settlements that prospectively

release class claims of antitrust violations. R.2931:50-56. The Court found that

public policy does not bar such a release where, as here, any future claims released

under the Settlement would “by definition arise from continued adherence to the

existing arrangements that are ‘the factual predicates of the Subscribers Actions’ or



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the injunctive relief provided under the Agreement.” R.2931:55-56. It also rejected

the argument that the Release was overbroad inasmuch as it authorizes the Monitor-

ing Committee to add newly adopted restrictions to the scope of the Release, finding

that “the only new rules and regulations that may be subject to the release are those

based on an identical factual predicate and related to the injunctive relief provided”

under the Settlement. R.2931:54.

      With respect to Topographic’s objections, the Court drew on expert reports

and testimony in concluding that the 6.5% allocation to the Self-Funded Sub-Class

was fair, reasonable, and adequate. R.2931:37; R.2931:57-59. The Court also agreed

that “the ASO market is significantly more competitive than its counterpart,” sup-

porting a lower allocation for the Self-Funded Sub-Class, and that “the allocation is

justified by the different time periods for the classes and the uncertainty regarding

litigation outcomes.” R.2931:37. The Court noted that the allocation was “negotiated

at arm’s length under the auspices of Ken Feinberg, the country’s leading authority

on allocations of large settlements and compensation funds … [who] confirmed that

the allocation is reasonable.” R.2931:35.

      The Court also approved the POD’s method of estimating the employer/em-

ployee contribution percentages. R.2931:19-20; 87. With respect to DOL’s ERISA

concerns, the Court noted that DOL had not opposed the Settlement, and it con-

firmed that the POD “relate[s] solely to what an employer or employee receives


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under the Settlement, and do[es] not in any way purport to dictate or address what,

if any, obligations employers may have as fiduciaries of ERISA plans, or how an

allocation may impact their use of any funds received.” R.2931:19. The court made

clear: “all ERISA duties still apply, all ERISA fiduciaries must comply with those

duties, and this Settlement does nothing to change or alter ERISA rights.”

R.2931:76.

      Finally, after a comprehensive analysis, the Court approved the fee petition,

finding that the requested fee award was a reasonable common fund award. The

Court noted that the request for an award of attorneys’ fees representing 23.47% of

the common fund fell below the 25% benchmark established by this Court,

R.2931:69-70, and that the reasonableness of that percentage was confirmed by, in-

ter alia, consideration of the Johnson factors, R.2931:70-72, and the performance of

a lodestar cross-check, R.2931:72-73. The Court overruled Behenna’s objection that

the fee request should be analyzed under a fee-shifting rubric and limited to Coun-

sel’s lodestar. R.2931:69.

II.   Standard of Review

      This Court reviews a district court’s decisions to certify settlement classes and

approve a class action settlement and plan of distribution for abuse of discretion.

Carriuolo v. Gen. Motors Co., 823 F.3d 977, 981 (11th Cir. 2016); Holmes v. Cont’l

Can Co., 706 F.2d 1144, 1147 (11th Cir. 1983). A “district court abuses its


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discretion if it applies an incorrect legal standard, follows improper procedures in

making the determination, or makes findings of fact that are clearly erroneous.” Car-

riuolo, 823 F.3d at 981 (citations omitted). This deferential standard reflects not

only that settlements are favored, but also that trial courts “generally have a greater

familiarity with the factual issues and legal arguments in the lawsuit, and therefore

can make an evaluation of the likely outcome were the lawsuit to be fully tried.”

Greco v. Ginn Dev. Co., 635 Fed. App’x 628, 631 (11th Cir. 2015) (internal citation

omitted). The abuse of discretion standard also governs review of the District

Court’s fee award, Camden I Condo. Ass’n v. Dunkle, 946 F.2d 768, 770 (11th Cir.

1991), and its evidentiary rulings, Williams v. Mosaic Fertilizer, LLC, 889 F.3d

1239, 1245 (11th Cir. 2018).

                          SUMMARY OF ARGUMENT

      All four Appeals suffer from a common defect: Appellants cannot demon-

strate that the District Court abused its discretion in approving the Settlement or in

awarding fees from the common fund that the Settlement created.

      1.     Home Depot, alone among 100 million class members, contends that

the Settlement violates a supposed “public policy” categorically prohibiting settle-

ments that include “prospective antitrust releases” of class members’ rights to seek

injunctive relief against the continuation of conduct challenged as anticompetitive

in the underlying action. Home Depot’s invented categorical rule would effectively


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preclude the settlement of any antitrust class action seeking equitable relief, which

explains why it cannot cite a single decision applying, or even mentioning, such a

rule. To the contrary, decisions of this and other courts hold that such settlements

are permissible (indeed, are to be encouraged) provided they (1) do not perpetuate

conduct that is clearly illegal, Bennett, 737 F.2d at 988, and (2) release only those

claims that fall within the “factual predicates” of the underlying litigation.

      This Settlement complies with both limitations. As Home Depot conceded

below, and the District Court found, the Settlement does not perpetuate clearly ille-

gal conduct. And, contrary to Home Depot’s suggestion, nothing in the Settlement

immunizes Defendants from all future antitrust challenges; not only do the Blues

remain subject to suits by non-class members, but Home Depot itself, as an opt-out

from the (b)(3) class, remains free to bring claims for treble damages and divisible

injunctive relief.

      The District Court also correctly found that the Release complies with the

“identical factual predicate” doctrine, since it precludes only claims premised upon

the continuation of conduct challenged in this litigation, and does not release claims

challenging “[a]ny new agreement or anticompetitive restraint that is above and/or

beyond those within the scope of the Settlement.” R.2931:54. See In re Managed

Care, 756 F.3d 1222, 1236 (11th Cir. 2014). Home Depot argues that the Release

is invalid because it covers claims relating “in any way” to this litigation’s factual


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predicates, but it cites no decision that so holds, and it ignores numerous decisions

involving settlements incorporating releases that use the same (or broader) formula-

tions. Home Depot’s complaints about the Monitoring Committee fare no better:

that committee is designed to, and will, protect the class by ensuring that Defendants

do not adopt new arrangements that would impair the Settlement’s structural re-

forms. In any event, Home Depot’s speculation about how the Release may operate

in hypothetical future scenarios should be addressed only if and when such a contro-

versy actually arises.

      Home Depot’s back-up argument is another, equally meritless, categorical

rule, this one relating to Rule 23(a)(4)’s requirement that a settlement class be ade-

quately represented. It argues that the District Court was barred from approving the

Settlement because of the “unacceptable risk” of conflicts between the (b)(2) and

(b)(3) classes, a risk that mandated separate class representatives and counsel. Home

Depot suggests that the existence of a conflict requiring separate representation must

be presumed as a matter of law whenever a class seeks both equitable and monetary

relief. Home Depot ignores that the (b)(2) and (b)(3) classes here have essentially

identical membership, were injured in the same ways by the same conduct, and share

a common interest in maximizing both monetary and structural relief. There is no

conflict in the interests of the classes, let alone the kind of “fundamental” conflict

“going to the specific issues in controversy” that raises adequacy of representation


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concerns. In re Equifax Inc. Customer Data Sec. Breach Litig., 999 F.3d 1247, 1275

(11th Cir. 2021).

      2.     Topographic, alone among almost 170,000 corporate Self-Funded Sub-

Class members, challenges the Settlement’s allocation of monetary relief between

the Self-Funded Sub-Class and Fully Insureds. Such an allocation, however, need

only be “rationally based on legitimate considerations,” Holmes v. Cont’l Can Co.,

706 F.2d 1144, 1148 (11th Cir. 1983), and the District Court correctly held that the

allocation here amply satisfies that standard, especially considering that it was (1)

the product of extensive arm’s-length negotiations conducted by separate subclasses

with independent representation and support from expert analysts; and (2) found to

be entirely reasonable by experienced mediator Kenneth Feinberg. While Topo-

graphic now baselessly accuses the class representatives and the District Court of

“sell[ing] out” the Self-Funded Sub-Class, it neglects to mention that it acknowl-

edged below, and the District Court found (R.2931:57), that the allocation was not

the product of collusive or otherwise wrongful activity.

      The 6.5% allocation to the Self-Funded Sub-Class was based on the signifi-

cant differences in the strength of the claims of that subclass when compared to the

claims of Fully Insureds, stemming from differences in the markets for those prod-

ucts. As confirmed by the Self-Funded Sub-Class’s own expert’s analysis, Defend-

ants generated far higher profits from fully insured business than from self-insured


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business, which often generated little or no profit. Fully insureds therefore have a

much stronger claim that Defendants’ anticompetitive conduct led to overcharges.

Topographic’s own expert not only failed to conduct an overcharge analysis, he tes-

tified that the relative overcharge amounts paid by the two groups were irrelevant to

the allocation analysis. Topographic seeks to replace an allocation that takes into

account the relative strengths of claims with one that does not, contrary to the guid-

ance of Rule 23(e)(2)(D).

      No self-insureds asserted claims in this litigation before they joined the Set-

tlement. The damages period for the Self-Funded Sub-Class is thus shorter than the

period for Fully Insureds. Topographic seeks to rewrite history, arguing that the

original Cerven complaint, and subsequent developments in the litigation, put De-

fendants on notice that self-insureds were always part of the litigation. But as the

District Court correctly concluded, nothing in Cerven or any other development in

this consolidated litigation put Defendants on notice that “they would have to defend

against alleged misconduct in the ASO market.” R.2931:61. Accordingly, because

the Settlement allocation takes appropriate account of genuine differences in the

strength of fully insured and self-insured claims, it treats class members “equitably

relative to one another” in compliance with Rule 23(e)(2)(D).

      3.     Cochran, alone among the tens of millions of employee class members,

challenges the POD provisions allocating to employers the premium shares of


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employees who make no claim or whose claims fall below the $5 minimum thresh-

old. Cochran argues that because the premium shares for non-claiming employers

are treated differently, employees were treated inequitably and were inadequately

represented. The provisions governing the treatment of employee premiums, like

the rest of the POD, were constructed after careful deliberation and analysis and

subjected to layers of comprehensive scrutiny. That treatment is justified by multi-

ple considerations, including economic evidence concerning the relative contribu-

tions of employers and employees to healthcare coverage, and the relative strengths

of their claims. Not only does Cochran fail to seriously challenge these considera-

tions, she ignores that the POD’s designation of employers as residual claimants

allowed the POD to increase employees’ Default allocation percentages. Cochran

cannot demonstrate that the POD treats employees inequitably. And despite her at-

tempts to elevate the POD’s economically reasonable distinctions in allocating relief

among class members into a conflict of interest between class members, Cochran

cannot demonstrate the existence of any conflict, much less a “fundamental” one.

      Equally meritless is Cochran’s suggestion that the POD sanctions or encour-

ages ERISA violations by employers. The District Court carefully considered this

issue, and it concluded, correctly, that the Settlement does not purport to affect any

ERISA rights, to release any ERISA claims, or to relieve employers of their ERISA

obligations. R.2931:78-79.


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      4.     Finally, pro se Appellant Behenna, alone among 100 million class

members, appeals the fee award. But he abandons the argument he made below and

that the District Court properly rejected—that the Settlement does not qualify for

common-fund treatment and should be treated as a fee-shifting case. He instead

makes a different argument, premised upon a convoluted “bifurcated fee analysis”

of his own invention. This argument has been forfeited, but is meritless in any event.

Unlike the District Court’s fee analysis—which scrupulously followed this Court’s

controlling precedents—Behenna’s “analysis” is refuted by precedent, logic, and

common sense.

                                   ARGUMENT

I.    HOME DEPOT’S APPEAL IS MERITLESS
      Home Depot’s lead argument is that the District Court abused its discretion in

approving the Settlement because it includes a standard provision releasing claims

for declaratory and injunctive relief against certain “pre-settlement conduct” (HD34)

challenged by Subscribers but permitted by the Settlement to continue. According

to Home Depot—the lone objector making this argument—the “public policy” en-

couraging private litigation to enforce the antitrust laws categorically prohibits set-

tlements that include “prospective antitrust releases” (HD25, 27) of class members’

rights to seek injunctive relief against continuation of such allegedly anticompetitive

“ongoing conduct” (HD20).



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      If public policy truly categorically barred such “prospective antitrust releases”

in antitrust class action settlements, one would expect to see the doctrine firmly

established in precedent, for such settlements are common.7 But Home Depot

cannot cite a single decision rejecting (or refusing to enforce) an antitrust class

settlement because it included such a release. To the contrary, every court to consider

the issue, including this Court, has rejected Home Depot's categorical rule; instead,

every court has approved (or enforced) settlements releasing class claims against the

defendants’ continuation of challenged pre-settlement conduct.

      It is not difficult to understand why no court has adopted Home Depot’s

radical rule: it would effectively preclude settlement of any antitrust class action

seeking equitable relief. If parties were forbidden to enter into any compromise

permitting continuation of any feature of the defendant’s allegedly anticompetitive

conduct, the only permissible “settlement” would be one of unconditional surrender,

with injunctive relief eliminating every challenged feature of the defendant’s con-

duct. The parties’ only alternative under Home Depot’s “all or nothing” public

      7
         See Managed Care, 756 F.3d at 1226; Bennett, 737 F.2d at 986; Grunin v.
Int’l House of Pancakes, 513 F.2d 114 (8th Cir. 1975); Robertson v. Nat’l Basketball
Ass’n, 556 F.2d 682 (2d Cir. 1977); Dial Corp. v. News Corp., 317 F.R.D. 426, 429-
30 (S.D.N.Y. 2016); In re TFT-LCD (Flat Panel) Antitrust Litig., 2013 WL
1365900, at *3 (N.D. Cal. Apr. 3, 2013); In re Currency Conversion Fee Antitrust
Litig., 263 F.R.D. 110, 116-17 (S.D.N.Y. 2009), aff’d sub nom. Priceline.com, Inc.
v. Silberman, 405 F. App’x 532 (2d Cir. 2010); In re Visa Check/Mastermoney An-
titrust Litig., 297 F. Supp. 2d 503, 508 (E.D.N.Y. 2003), aff’d, 396 F.3d 95 (2d Cir.
2005).

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policy rule would be to litigate the class’s claims for equitable relief to final

judgment. The class’s claims for monetary relief could possibly be compromised,

as Home Depot acknowledges (HD30), but that is all. Genuine “settlements”—com-

promises—of antitrust class actions seeking injunctive relief would be all but extinct.

See Bennett, 737 F.2d at 986 (“[C]ompromise is the essence of settlement.”).

      To be sure, private suits are an essential weapon in the arsenal Congress cre-

ated to enforce the antitrust laws. But Home Depot’s extreme conception of the pub-

lic interest in private antitrust enforcement collides irreconcilably with “the strong

judicial policy favoring settlement,” including in complex antitrust cases. Id. See

Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977) (noting “overriding public

interest in favor of settlement” of class actions). In reality these public policy con-

siderations comfortably coexist, for the path to settling antitrust class actions is well-

marked by two established guardrails ensuring that a settlement cannot be used to

license future clear antitrust violations: A settlement may not release class claims

against the defendants’ continuation of pre-settlement conduct that is clearly “ille-

gal.” Bennett, 737 F.2d at 987. And a settlement can release class claims only against

continuation of the pre-settlement conduct challenged in the underlying litigation, as

opposed to new, unrelated conduct. Managed Care, 756 F.3d at 1236. Home Depot,

unable to escape this Court’s precedents, pleads that this “should not be Circuit law.”

(HD39). But it is. And it should be if the law is to allow parties to antitrust class


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actions to settle their disputes.

       Here, the District Court held, correctly, that the Settlement falls well within

these well-established guardrails. It concluded that, in light of the procompetitive

structural reforms required under the Settlement, the post-Settlement Blue system

would not be clearly illegal. R.2931:46-48. And it concluded that the Release sat-

isfied the “identical factual predicate” doctrine designed to ensure that releases reach

only future claims predicated on conduct challenged in the litigation. R.2931:52-56.

Home Depot cannot demonstrate that the Court abused its discretion in so conclud-

ing and approving the Settlement.

       Home Depot’s back-up argument is another categorical rule of its own inven-

tion. It argues that the District Court was barred from approving the Settlement be-

cause of supposed “conflicts” in the interests of the (b)(2) and (b)(3) classes that

mandated separate class representatives and counsel. Home Depot suggests that the

existence of a conflict requiring separate representation must be presumed as a mat-

ter of law whenever a class seeks both equitable and monetary relief. HD55-60. No

case holds that. To the contrary, this Court’s precedents establish that only real,

concrete, and “fundamental” conflicts “going to the specific issues in controversy”

raise adequacy of representation concerns under Rule 23(a)(4). Equifax, 999 F.3d

at 1275. Here, there were no conflicts, let alone fundamental conflicts, between the

interests of the (b)(2) and (b)(3) classes. The classes have virtually complete overlap


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in membership and, as the District Court found, were injured in the same ways by

the same anticompetitive conduct and policies. Home Depot does not dispute these

findings. The members of both classes thus shared a common interest in maximizing

both monetary and structural relief.

      A.     The Settlement Provisions Releasing The Subscriber Class’s Equi-
             table Claims Do Not Violate Public Policy.

      Home Depot’s attack on the Release must be considered in context. The Set-

tlement was reached through “protracted, complicated, and challenging” negotia-

tions that took place alongside multidistrict litigation that was itself “extraordinarily

complex, protracted, and hard-fought.” R.2931:2-3. It secures “historic and substan-

tial” structural changes in the Blue system that the District Court found will “creat[e]

opportunities for more competition in the market for the purchase and administration

of health insurance and provid[e] the potential for a more competitive environment

in which the Settlement Class may achieve greater consumer choice, better product

availability, and increased innovation.” R.2931:3, 11. This “transformative, pro-

competitive injunctive relief,” R.2931:68, thus “substantially increase[s] the value

of the Settlement to the Class Members,” R.2931:39-40.8 Home Depot does not

challenge these findings as clearly erroneous or as an abuse of discretion.


      8
         See R.2931:48 (“there have been material changes to the Blues’ going-for-
ward system which add significant procompetitive features”); R.2931:49 (elimina-
tion of the NBE rule “is a significant change that … will drastically alter the forward-
looking landscape”).

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      Of course, like any negotiated compromise, the Settlement did not achieve

everything that Subscribers had hoped to obtain had they fully prevailed at trial, such

as the wholesale elimination of the Blues’ ESAs. Nevertheless, in the judgment of

class representatives and counsel, the pro-competitive structural reforms won

through negotiation, which materially transform the operation of even those prac-

tices and policies that were not wholly eliminated, outweighed the risks, the costs,

and the years of delay of continuing the litigation to a final judgment. 9

      In exchange for providing historic monetary and injunctive relief to Subscrib-

ers, the Blues, like any rational defendants, insisted on a release. The Release is

limited to claims predicated on the conduct and practices challenged in this litiga-

tion, and does not reach new conduct or practices. Moreover, the Release allows

Home Depot, and any others who opt out of the (b)(3) class, to bring suit seeking

treble damages for any antitrust violation (past, present, or future) and individualized

injunctive relief (including additional Blue bids) “based upon an Opt-Out’s individ-

ual business and the facts and circumstances of the individual claims,” R.2939:2,

even as they enjoy the benefit of the Settlement’s hard-won structural reforms.10 The


      9
        See R.2931:42 (finding “it is clear that the factual record in this matter was
sufficiently developed to allow Class Counsel to make a reasoned judgment as to the
merits of the Settlement”): R.2931:31-33, 86 (findings regarding risks, costs, and
delays of further litigation, concluding that those factors “strongly support final ap-
proval”).
      10
           Home Depot seeks to sow doubt about the arguments it might be able to


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Release also does not protect the Blue system from any future antitrust challenge,

including one based entirely on pre-Settlement conduct, brought by a person or en-

tity who is not a member of any Settlement class. It is thus manifestly inaccurate to

suggest that the Settlement immunizes the Blues against challenges to the going-

forward system.

      After subjecting this compromise to the review called for under Rule 23(e)

and this Court’s precedents, painstakingly examining the voluminous materials sub-

mitted in the approval proceedings, and thoroughly considering the tiny number of

objections to the Settlement, the District Court found that the Settlement was fair,

reasonable, and adequate and did not sanction a going-forward Blue system that was

clearly illegal. Again, Home Depot does not challenge these findings; indeed, it

conceded below that the going-forward regime created by the Settlement is not

clearly illegal. R.2875:10-11. Nor does Home Depot suggest that Subscribers real-

istically could have bargained for greater relief or obtained the relief they did in

exchange for a narrower release. These facts alone remove any doubt about whether


make in future opt-out litigation. HD32. But the District Court made clear that opt-
outs do not release “any claims for individualized declaratory or injunctive relief.”
R.2939:2 (emphasis added). And the Court clarified that opt-outs are not barred by
the Release from asserting any arguments regarding an alleged antitrust violation,
but were instead only barred from obtaining a particular type of remedy (indivisible
injunctive or declaratory relief). See R.2865:23-24 (“It’s not releasing a claim. It’s
whether you can pursue that particular remedy.”); R.2865:25 (“It may be a limitation
upon certain relief that can be sought under a release, but it’s not a waiver of a
claim.”).

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the District Court abused its discretion in approving the Settlement, and underscore

the radical nature of Home Depot’s arguments.

             1.    The Conduct Permitted by the Release Is Not “Clearly Ille-
                   gal.”

      Home Depot is quite correct that federal antitrust laws are designed to protect

“the fundamental national values of free enterprise and economic competition,” FTC

v. Phoebe Putney Health Sys. Inc., 568 U.S. 216, 225 (2013), and that private litiga-

tion is a critical component in the nation’s antitrust enforcement regime. HD23-24.

See California v. Am. Stores, 495 U.S. 271, 284 (1990).

      Indeed, this litigation is Exhibit A in support of Congress’ belief in the virtues

of private antitrust enforcement. Without the benefit of governmental investigations

or enforcement actions, Subscribers litigated this “extraordinarily complex, pro-

tracted, and hard-fought” case for almost a decade, R.2931:2, and ultimately secured

a historic settlement providing for both extraordinary monetary relief and transform-

ative pro-competitive structural reforms to the Blue system. The private antitrust

enforcement regime worked as intended here.

      Home Depot nonetheless insists that this historic achievement must be set

aside on public policy grounds because the Settlement releases the Class’s declara-

tory and injunctive claims challenging the continuation of some features of the con-

duct at issue in this litigation. But not only does Home Depot fail to cite a single

decision rejecting an antitrust class action settlement on that basis, it completely


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dismisses or misreads uniform precedent, including from this Court, confirming that

settlements just like this one are allowable.

             a.     This Court’s decision in Bennett, 737 F.2d 982, squarely holds

that so long as an antitrust settlement does not perpetuate challenged practices that

are clearly illegal, it does not violate public policy. There, a class of homeowners

alleged that deed restrictions requiring the payment of fees under a lease for common

recreational facilities “amount[ed] to a per se illegal tying agreement” under the

Sherman Act. Id. at 984. After years of litigation, a settlement was reached provid-

ing for cash payments and non-monetary relief, including methods for class mem-

bers to seek future reductions in recreation fees and for homeowner associations to

negotiate for the purchase of recreation facilities. Id. at 985. But because the settle-

ment did not terminate all of the challenged restrictions, several objectors argued

that public policy dictated that “the settlement should be set aside because it perpet-

uates a violation of the Sherman Antitrust Act by tying in separate recreational and

maintenance leases to the purchase of a single family home.” Id. at 986.

      This Court held that even assuming there was “some merit” to the contentions

that the alleged tying arrangements “constitute[d] antitrust violations,” the settle-

ment should be approved. “[U]nless the illegality of an arrangement … is a legal

certainty, the mere fact that certain of its features may be perpetuated is no bar to

approval.” Id. (emphasis added) (citing Grunin, 513 F.2d 114). Because the district


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court “reasonably concluded that the plaintiff class would have difficulty succeeding

on the merits,” id. at 987, the “illegality of [the] arrangement” perpetuated by the

settlement was not “a legal certainty,” and the settlement thus did not violate public

policy. Id. And because the district court found the settlement “to be in the best

interests of the class,” it did not abuse its discretion in approving it, especially con-

sidering “the strong judicial policy favoring settlement.” Id. at 986-87.

      Bennett is no outlier. Rather, it accords with decisions from other circuits

holding that antitrust settlements allowing the continuation of challenged conduct

do not thereby violate public policy. In Grunin, the Eighth Circuit affirmed the ap-

proval of a class settlement brought by franchisees challenging multiple features of

their franchise agreements. The objectors argued that the settlement could not be

approved because it “perpetuate[d] antitrust violations” by not relieving the fran-

chisees from all of the challenged features of their agreements. 513 F.2d at 123.

While agreeing that “a court cannot lend its approval to any contract or agreement

that violates the antitrust laws,” the Eighth Circuit held that neither it nor the trial

court had the right or duty to decide the merits of the antitrust claim. Id. Rather, so

long as the illegality of the arrangement perpetuated by the settlement “[was] not a

legal certainty”—i.e., the terms of the settlement were not “illegal per se”—the set-

tlement could be approved. Id. at 124. See also id. (“[U]nless the terms of the

agreement are per se violations of antitrust law, we must apply a ‘reasonableness


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under the totality of the circumstances’ standard” to settlement approval.).

        Similarly, in Robertson v. National Basketball Ass’n, 556 F.2d 682, 686 (2d

Cir. 1977), the Second Circuit affirmed the approval of a class settlement that mod-

ified but did not wholly eliminate certain NBA practices and rules alleged to restrain

competition. The court rejected the argument “that the settlement agreement cannot

be approved because it perpetuates for ten years two ‘classic group boycotts’” that

violated the Sherman Act. Id. While acknowledging “that a settlement that author-

izes the continuation of clearly illegal conduct cannot be approved,” the “alleged

illegality of the settlement agreement [was] not a legal certainty.” Id. (citing Grunin,

513 F.2d at 124). The court noted that the challenged practices had not previously

been determined to be illegal per se, and stressed that the settlement agreement,

“[which] must be looked at as a whole,” provided significant structural relief: while

it did not completely eliminate the challenged practices, it “radically modified” some

of them, “virtually eliminated” others, and “modified” still others. Id. In short, “the

settlement authorized no future conduct that is clearly illegal.” Id. See TBK Part-

ners, Ltd. v. W. Union Corp., 675 F.2d 456, 460 (2d Cir. 1982) (discussing Robert-

son).

        Bennett, Grunin, and Robertson decisively reject the very proposition urged

by Home Depot—that public policy prohibits antitrust class action settlements re-

leasing the class’s equitable claims against continuation of conduct challenged in the


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underlying action. Or, put another way, that an antitrust class action settlement that

does not eliminate each and every feature of challenged conduct violates public pol-

icy. And in the District Court, Home Depot dealt itself a fatal self-inflicted wound

under Bennett, Grunin, and Robertson, for it conceded that the post-Settlement Blue

system would not be clearly illegal: “Uncertainty exists regarding the illegality of

the go-forward [Blue] system both as a factual matter and a legal matter.” R.2875:4-

5. Thus, the District Court did not err, much less abuse its discretion, in rejecting

Home Depot’s public policy attack on this Settlement.11

             b.     Home Depot does not address these directly relevant—and, in

the case of Bennett, controlling—decisions until almost 30 pages into its argument.

HD51-53. Its attempt to distinguish them is singularly unconvincing. Its primary

argument about Bennett is that because this Court’s opinion does not explicitly men-

tion a “future release,” the settlement in that case may not have included such a



      11
          Home Depot portrays the public policy encouraging private antitrust litiga-
tion as uniquely sacrosanct in all of American law, but the Bennett/Grunin/Robert-
son “clearly illegal” standard has been applied to the approval of class action settle-
ments arising in other areas of the law implicating important public policy concerns.
In Armstrong v. Board of School Directors of City of Milwaukee, 616 F.2d 305 (7th
Cir. 1980), overruled on other grounds, Felzen v. Andreas, 134 F.3d 873 (7th Cir.
1998), the Seventh Circuit applied that standard in affirming approval of a settlement
of a school desegregation action. Relying on Grunin and Robertson, the court held
that the rights of absent class members and “the interests of the public as a whole”
were protected under a standard requiring the rejection of settlements that “either
initiate[] or authorize[] the continuation of clearly illegal conduct.” Id. at 313, 319.
See also Isby v. Bayh, 75 F.3d 1191, 1197 (7th Cir. 1996).

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release. HD51. This argument is risible. Bennett specifically addressed whether a

settlement that “perpetuated” an alleged illegal tying arrangement would violate

public policy. Such a settlement would necessarily include an agreement by the

class to forego any future legal challenges to that arrangement, or contemplate some

other mechanism (such as res judicata, see infra at 57-62), that would preclude such

challenges; otherwise, far from the alleged antitrust violation being “perpetuated,”

the plaintiffs would be free to pocket the settlement money and enjoy the benefits of

the equitable relief, and then turn around the very next day and bring a suit seeking

to eliminate the practices they had just agreed could continue. See Berry v. Schul-

man, 807 F.3d 600, 616 (4th Cir. 2015) (“the release of claims that form the basis of

litigation is the raison d’être of any settlement”).12 Home Depot cannot credibly

explain why an antitrust defendant would settle a class action on such terms, let alone

how any objector could seriously argue that such a plaintiff-friendly bargain some-

how violated public policy designed to protect the plaintiff class.13


      12
        Cf. Main Line Theatres, Inc. v. Paramount Film Distrib. Corp., 298 F.2d
801, 803 (3d Cir. 1962) (“[A] defendant offering a sum in settlement of a suit asking
… for an injunction against certain conduct, would not understand that a similar
demand could be asserted the day after settlement.”); Moulton v. U.S. Steel Corp.,
581 F.3d 344, 350-51 (6th Cir. 2009).
      13
          Home Depot attempts to distinguish Bennett because the settlement there
provided class members a future opportunity to attempt to negotiate the termination
of certain features of the alleged tying arrangement. HD51-52. But this Court did
not rely on that provision in rejecting the argument that the settlement violated public
policy because it “perpetuated” conduct alleged to violate antitrust law. And Home


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      Home Depot faults Grunin and Robertson for holding that a settlement

permitting continuation of challenged conduct can violate public policy only if the

continued conduct amounts to a per se violation of antitrust law.14 HD52-53. Noting

that “[c]onduct proved to violate the rule of reason violates antitrust law just as

surely as conduct that violates a per se rule,” HD49, Home Depot argues that an

antitrust settlement violates public policy if “a future challenger might prove” the

continued conduct violates antitrust law under the rule of reason. HD50 (emphasis


Depot never explains why having a potential chance to negotiate an end to aspects
of an allegedly illegal arrangement distinguishes this case from Bennett in any mean-
ingful sense; both cases involve a release of claims against certain conduct previ-
ously alleged to violate the antitrust laws.
        Home Depot also suggests that Bennett is distinguishable because it did not
involve a mandatory (b)(2) class. HD52. But again, nothing in this Court’s opinion
turned on whether the class allowed opt-outs. And the fact that the Settlement here
involves a (b)(2) class does not change the analysis. Rule 23(e) expressly allows,
under court supervision and appropriate safeguards, “the claims, issues, or defenses
of a certified class … [to] be settled, voluntarily dismissed, or compromised.” As
discussed, releases are a sine qua non of the compromise of complex class action
litigation. By its terms, therefore, Rule 23(e) allows for the release of claims for
indivisible injunctive relief held by members of a mandatory (b)(2) class. If the
claims of the (b)(2) class had been resolved in a final judgment after a merits trial,
Home Depot would be fully bound by that judgment even though it had no oppor-
tunity to opt out of the class. The result should be no different when those claims
are resolved through a settlement that complies in every respect with Rule 23(e).
Notably, the settlement approved in Robertson involved the certification of a man-
datory Rule 23(b)(1) class. 556 F.2d at 685.
      14
         Other decisions likewise equate per se illegality with the “clearly illegal”
standard. See White v. Nat’l Football League, 822 F. Supp. 1389, 1425-26 (D. Minn.
1993); Alexander v. Nat’l Football League, 1977 WL 1497, at *21 (D. Minn. Aug.
1, 1977); Calibuso v. Bank of Am. Corp., 299 F.R.D. 359, 372 (E.D.N.Y. 2014). Cf.
Armstrong, 616 F.2d at 305; Isby, 75 F.3d at 1197.

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added). 15 Given that proving an antitrust violation under the rule of reason requires

a fact-intensive evidentiary demonstration that “under all the circumstances of the

case the restrictive practice imposes an unreasonable restraint on competition,”

Arizona v. Maricopa County Medical Soc., 457 U.S. 330, 343–344 (1982) (emphasis

added), the outcome of litigating such a claim is, by definition, uncertain. It follows,

then, that Home Depot’s public policy rule is categorical: it always prohibits any

class action settlement releasing equitable claims against the continuation of pre-

settlement conduct, no matter how uncertain, or even dubious, the claims may be on

the merits. Under Home Depot’s radical public policy straitjacket, either the parties

to an antitrust class action must litigate the equitable claims to the bitter end or de-

fendants must agree to eliminate all challenged practices. Compromise is forbidden.

But that is not the law.

             c.     Home Depot pleads, finally, that Grunin and Robertson were

wrongly decided and “should not be this Circuit’s law.” HD52-53. As previously

noted, this Court in Bennett, 737 F.2d at 987, expressly relied upon Grunin, as did

the Second Circuit in Robertson, 556 F.2d at 686. The core teaching of all three

decisions is the same, and is dispositive here.

      15
         Bennett, as well as both Grunin and Robertson, emphasized that a court
analyzing whether to approve a settlement is neither required nor authorized to de-
cide the merits of the post-settlement regime’s legality. Home Depot itself acknowl-
edged this settled principle below. R.2875:9-10. See Bennett, 737 F.2d at 987; Rob-
ertson, 556 F.2d at 686; Grunin, 513 F.2d at 123-24.

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             d.     Home Depot criticizes the District Court’s partial reliance on its

Provider Track ruling that the rule of reason standard would apply to the Providers’

challenge to the post-Settlement Blue system. HD46-49. Home Depot argues that

the Blues’ national account allocation rules “go[] beyond” the preservation of the

ESAs and have little to do with the claims raised in the Provider litigation. HD47.

But Home Depot’s public policy argument is, again, categorical; it admits of no dis-

tinctions between the release of equitable claims premised upon alleged per se vio-

lations and equitable claims premised upon alleged rule of reason violations. Ac-

cording to it, the Release (and thus the Settlement) of any such equitable claims—

certain or uncertain, strong or weak, per se or rule of reason—is forbidden.

      In any event, Home Depot ignores that the District Court cited its Provider

Track ruling as confirming its decision that the post-Settlement Blue system is not

clearly illegal. That decision was based on the court’s analysis of the entire suite of

structural reforms required under the Settlement, including significant procompeti-

tive changes to the rules regarding bidding on ASO national accounts. And, as noted,

supra at 43, Home Depot expressly conceded that the going-forward Blue system

would not be clearly illegal.16 That fact alone compels the rejection of its public


      16
         Of course, even if the District Court had held that the post-Settlement sys-
tem could be challenged under a per se standard of review, the Blues still could
assert the defense, as they did below, that they act as a common economic enterprise
with respect to the management of Blue trademarks. See Am. Needle, Inc. v. Nat’l


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policy argument.

             e.     The District Court’s rejection of Home Depot’s public policy at-

tack is also firmly supported by decisions upholding settlements releasing future

claims premised upon the continuation of pre-settlement conduct. R.2931:53-54

(discussing cases). In Managed Care, this Court affirmed a decision holding plain-

tiffs in contempt for violating the terms of a class settlement by filing antitrust ac-

tions asserting claims that had been released. The plaintiffs argued that the district

court’s interpretation of the settlement to cover their post-settlement lawsuit “would

result in an agreement that releases future claims, in contravention of public policy.”

756 F.3d at 1231. This Court held that the claims asserted in the post-settlement

litigation “arose out of the claims at issue” in the underlying class action and were

thereby released, even though the plaintiffs had sought to “base the new claims on

certain conduct post-dating the Effective Date” of the settlement. Id. at 1236. Be-

cause those post-settlement acts “merely constitute[d] a continuation of the conspir-

acy alleged in [the prior class action, the defendant’s] purported bad acts are best

seen as new, overt acts within an ongoing conspiracy, rather than new claims in and

of themselves.” Id. They were thus covered by the release, even though it reached



Football League, 560 U.S. 183 (2010). The District Court held that this defense
could not be resolved on summary judgment because it rested on disputed issues of
material fact. R.2063:35. No decision holds that the Subscribers are precluded from
settling a case when faced with a potential defense of this kind.

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only claims arising on or before the settlement’s effective date.

      Home Depot tries to distinguish Managed Care on two grounds. First, it says

that the case involved a “release of future claims based on past conduct occurring by

or before the settlement’s effective date.” HD40. Not so. As discussed, Managed

Care involved the release of claims premised upon post-Settlement conduct that con-

tinued pre-Settlement practices—the very type of release that Home Depot claims is

prohibited by public policy. See HD34-35. 17 Its second distinction is that Managed

Care was a settlement enforcement decision, not a settlement approval decision. HD

40-41. Home Depot never explains, however, why the public policy considerations

that it says bar approval of a settlement release would not also bar enforcement of

any such release that slipped past the approval process.

      Also instructive is In re Chicken Antitrust Litigation, 669 F.2d 228 (5th Cir.

Unit B 1982), in which the former Fifth Circuit affirmed the approval of an antitrust

settlement’s allocation of a settlement fund. In rejecting the argument by direct pur-

chasers that the allocation was unfair because it permitted indirect purchasers to re-

cover, the Court stressed the defendants’ insistence upon “total peace” from future

litigation, and their concomitant need for a “complete release from all significant

      17
         Home Depot’s attempted distinction (HD38-39) of MCM Partners, Inc. v.
Andrews-Bartlett & Assoc., 161 F.3d 443, 447-48 (7th Cir. 1998), fails for the same
reason. The Seventh Circuit there rejected an argument that a release was “void as
against public policy” because it released future antitrust claims premised upon the
continuation of pre-settlement conduct.

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potential plaintiffs,” including indirect purchasers who might bring future claims. Id

at 238. See id. at 234. Contrary to Home Depot’s assertion, HD37, the “complete

release” of future claims that the defendants insisted upon was not limited to dam-

ages claims. The Court emphasized that indirect purchasers “held many potential

claims against defendants which required releases before total peace could be ob-

tained,” and specifically noted that indirect purchasers could still pursue claims for

“injunctive relief” absent a release. 669 F.2d at 238.

       Contrary to Home Depot’s assertion, In re Payment Card Interchange Fee

and Merchant Discount Antitrust Litigation, 2019 WL 6875472, *22-26 (E.D.N.Y.

Dec. 16, 2019), is also squarely on point. There, the district court approved an anti-

trust settlement, specifically rejecting the argument that public policy prohibited a

release barring future claims for injunctive relief arising out of “certain rules chal-

lenged in the litigation and other rules that are substantially similar.” Id. at *24. The

court drew a sharp distinction between releases reaching only claims arising out of

pre-settlement conduct challenged in the underlying action, which are permissible,

and releases reaching future claims arising out of new unrelated conduct, which are

not. Although “releases are acceptable where the future claims release[d] are those

based on a continuation of conduct at issue and underlying the original claims,” “the

public policy considerations differ” for settlements involving “impermissibly broad

releases that release[] all types of claims, including ‘future’ entirely unrelated


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antitrust claims not circumscribed to an identical factual predicate or to claims that

arose out of the alleged conduct or related conduct that could have been alleged” in

the action. Id. at *25-26.18 The court dismissed as “inapposite” cases in which such

broad releases were suggested to violate public policy. Id.

      The cases dismissed in Payment Card as “inapposite” are the very cases that

Home Depot relies upon most heavily here: Redel’s Inc. v. Gen. Elec. Co., 498 F.2d

95 (5th Cir. 1974), and Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,

473 U.S. 614, 639 n.19 (1985). We turn to those cases, and other equally inapposite

authority upon which Home Depot relies.

             2.     The Cases Cited by Home Depot Do Not Support its Argu-
                    ment.
             a.     Home Depot contends that Redel’s compels reversal. Redel’s is

not even close. It did not involve a litigation settlement release at all, much less a

release of claims premised upon the continuation of specific known conduct. Rather,

it involved the interpretation of a “general release provision” in a franchise


      18
          The court in Payment Card, as well as the District Court, R.2931:55, cited
one decision rejecting an antitrust settlement release on public policy grounds in a
manner that is illustrative because it is inapposite here. Schwartz v. Dallas Cowboys
Football Club, 157 F. Supp. 2d 561 (E.D. Pa. 2001), rejected a release of future
antitrust claims challenging practices that were not at issue in the underlying lawsuit.
Id. at 578. The court acknowledged that the release could “properly” bar future
claims concerning practices that were at issue in the action. Id. (emphasis added).
See id. at 576 (distinguishing between releases of “future antitrust claims that arise
out of conduct challenged by the plaintiff” and releases that “extend[] far beyond the
conduct challenged in the litigation”).

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agreement in which the franchisee released the franchisor “from all claims, demands,

contracts, and liabilities ... as of the date of the execution of this [franchise] agree-

ment.” 498 F.2d at 97. The issue was whether that general release barred claims for

price discrimination the defendant franchisor was alleged to have committed both

before and after executing the agreement.

         The Court held that the release’s “unambiguous” language showed that it was

intended to apply only retrospectively, and so protected the franchisor from any and

all liabilities, including antitrust liability, for conduct that predated the agreement.

But the Court rejected the contention that the release applied prospectively, both

because the release’s language foreclosed that result and because, in any event, pub-

lic policy considerations would prevent the “prospective application of a general

release to bar private antitrust actions arising from subsequent violations[.]” Id. at

98. Redel’s stands for the unremarkable proposition that public policy prohibits en-

forcement of a general release granting one party an unrestricted license to commit

future antitrust violations against the other party. The decision has nothing at all to

do with standard releases in settlement agreements compromising antitrust class ac-

tions.

         Home Depot also relies heavily on dicta buried deep in a footnote in

Mitsubishi, 473 U.S. at 639 n.19. The Supreme Court held that an arbitration clause

in an international sales agreement could be enforced to compel the international


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arbitration of a Sherman Act claim. The sales agreement also had a choice of law

provision calling for application of Swiss law “in all respects,” and certain amici

argued that the provision could be interpreted by the arbitral panel to require decision

“under Swiss law rather than the U.S. Sherman Act,” thus denying the antitrust

claimant its federal statutory rights. Id. Relying in part on Redel’s, the Court ob-

served that if “choice-of-forum [arbitration] and choice-of-law [Swiss] clauses op-

erated in tandem as a prospective waiver of a party’s right to pursue statutory reme-

dies ..., we would have little hesitation in condemning the agreement as against pub-

lic policy.” Id. Thus, as with the general release at issue in Redel’s, public policy

also prohibits enforcement of other types of contract provisions that operate effec-

tively “as a prospective waiver”—i.e., as a release—of a party’s right to seek relief

for any future antitrust violations that the other party may commit. Like Redel’s,

Mitsubishi has no bearing on the validity of standard releases provided as an essen-

tial component of the settlement of complex antitrust class actions.19

      Tellingly, Home Depot can point to no decision of this or any other court

suggesting that Redel’s or Mitsubishi requires the invalidation of a release in an

      19
          As the foregoing discussion shows, Redel’s and Mitsubishi also differ from
the Settlement here because those decisions involved provisions that would operate
to completely foreclose the ability of one party to seek any relief for any future an-
titrust violation committed by the other party. But Home Depot, as an opt-out from
the (b)(3) class, is not foreclosed at all from pursuing claims not only for treble
damages for any future or past antitrust violation by the Blues, but also for individ-
ualized equitable relief.

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antitrust class settlement. Even more telling is the fact that this Court’s controlling

decision in Bennett, which post-dated Redel’s, did not even cite that decision, and

that its controlling decision in Managed Care, which post-dates both Redel’s and

Mitsubishi, cites neither decision.20

             b.     Home Depot cites American Safety Equipment Corp. v. J.P.

Maguire & Co., 391 F.2d 821 (2d Cir. 1968), as a case that “condemned future an-

titrust releases,” HD26, but that decision did not address antitrust class action settle-

ments or releases. It addressed only whether certain antitrust claims were appropri-

ate for arbitration, 391 F.2d at 827-28, and its conclusion that they were not has been

effectively overruled by modern decisions holding parties to their arbitration agree-

ments in antitrust cases. See Am. Express Co. v. Italian Colors Restaurant, 570 U.S.

228, 231 (2013).

      Home Depot says that In re American Express Merchants’ Litigation, 634

F.3d 187 (2d Cir. 2011), supports its categorical public policy rule, but that decision,

like Mitsubishi and American Safety, addresses wholly unrelated questions regarding

the enforceability of arbitration agreements. Moreover, although Home Depot

      20
          Redel’s cites dicta in an early Eighth Circuit decision, Fox Midwest Thea-
tres v. Means, 221 F.2d 173, 180 (8th Cir. 1955): “Any contractual provision which
could be argued to absolve one party from liability for future violations of the anti-
trust statutes against another would to that extent be void as against public policy.”
But the Eighth Circuit in its subsequent Grunin decision made clear that settlements
that release challenged pre-settlement conduct are permissible so long as the conduct
is not clearly illegal.

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claims that American Express was “reversed on different grounds,” HD24 n.91, it

neglects to mention that in reversing the Second Circuit, the Supreme Court rejected

the argument that public policy considerations compelled the invalidation of an ar-

bitration provision waiving class actions, even though the cost of arbitrating each

individual antitrust claim would as a practical matter prevent the resolution of such

claims altogether. Italian Colors, 570 U.S. at 231. And while Home Depot also

references general statements from In re Smith, 926 F.2d 1027, 1029 (11th Cir.

1991), regarding public policy considerations as they relate to settlements, HD27,

34, nothing in that decision, which reversed a district court decision rejecting a set-

tlement as against public policy, supports Home Depot’s radical public policy rule.

      Nor, finally, does Lawlor v. National Screen Serv. Corp., 349 U.S. 322, 323

(1955) help Home Depot. HD24. The Supreme Court there considered the res judi-

cata effect of a prior judgment rather than the preclusive effect of a release. In hold-

ing that the prior judgment did not bar a subsequent action, the Court stressed that

there were “new antitrust violations alleged here ... not present in the former action,”

id. at 324-25, and that “there was a substantial change in the scope” of the conspiracy

alleged previously, because five defendants in the subsequent action had not been

parties to the previously challenged agreement, id. at 328-29 (emphasis added). See

In re Managed Care Litigation, 2010 WL 6532982, at *12 (S.D. Fla. Aug. 15, 2010)




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(distinguishing Lawlor). 21

             3.     The Release Complies with the “Identical Factual Predicate”
                    Doctrine.

      The Settlement’s Release provisions, like those contained in most modern

complex class action settlements, are quite lengthy and contain their fair share of

boilerplate. But those provisions, also like those in most other such settlements,

operate in a basic, standard way: to bar class members from bringing future claims—

and only those future claims—challenging the continuation of those pre-settlement

practices and conduct that were at issue in the underlying litigation and with respect

to which the parties have reached a comprehensive compromise.

      The District Court confirmed as much when it held that “the only new rules

and regulations that may be subject to the release are those based on an identical

factual predicate and related to the injunctive relief provided by … the Settlement

Agreement.” R.2931:54 (emphasis added). To drive this point home, the Court

emphasized that “[a]ny new agreement or anticompetitive restraint that is above

and/or beyond those within the scope of the Settlement is not released and can be

subject to a legal challenge.” Id. See R.2931:56 (“any released claim here would


      21
          For similar reasons, Home Depot’s reliance on decisions addressing the
limits of judicially-approved antitrust immunity doctrines is misplaced. HD30. See
FTC v. Ticor Title Ins. Co., 504 U.S. 621, 625 (1992). The Settlement does not pre-
clude non-class members (including States, the Federal Government, and subscrib-
ers who fall outside the class definition) from seeking any type of relief for any post-
Settlement violation that may occur.

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by definition arise from continued adherence to the existing arrangements that are

‘the factual predicates of the Subscribers Actions’ or the injunctive relief provided

under the Agreement”). Of course, as an opt-out from the (b)(3) class, Home Depot

released no claims for treble damages and individualized injunctive relief that are

based on the identical factual predicates of the claims litigated and settled below, let

alone claims based on new post-settlement anticompetitive conduct.

      None of this satisfies Home Depot. Emphasizing the word “identical” in the

“identical factual predicate” doctrine, it offers an alternative to its categorical public

policy argument, complaining that the Release here exceeds the identical factual

predicate limitation because it bars future claims that “‘relate in any way to’ either

‘the factual predicates of’ or ‘any issue raised in any of the Subscriber Actions.’”

HD43 (quoting R.2610(2):19-20 (¶1.uuu)). It is wrong.

             a.     Home Depot’s argument is based on its misreading of a line of

cases dealing with the application of res judicata to settlements. The question of

whether and how res judicata principles might operate to bar any future hypothetical

challenges to the post-Settlement system is different from the antecedent question of

how Home Depot’s appeal, which is premised on its contention that the Release, and

therefore the Settlement, must be invalidated ab initio, should be resolved. That is

particularly true when one considers the parties’ clear intent that the Release be in-

terpreted and enforced to reach as far, but only as far, as the law allows. See


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R.2931:52 (quoting Release provision). Even leaving that aside, the res judicata

precedents on which Home Depot rely actually refute its contention that the Release

“exceeds [the] parameters” of the identical factual predicate doctrine. HD42.

                     i.    Home Depot relies primarily on this Court’s decision in

TVPX ARS, Inc. v. Genworth Life and Annuity Ins. Co., 959 F.3d 1318 (11th Cir.

2020), which reaffirmed that the doctrine of claim preclusion—that a claim is pre-

cluded if it “arises out of the same nucleus of operative facts, or is based upon the

same factual predicate, as a former action”—“app[lies] with equal force when con-

sidering the preclusive effect of a prior class action settlement agreement.” 959 F.3d

at 1325. “[T]o determine the claims at issue in a prior [settled] action,” the court thus

considers not only the prior operative complaint, but “the parties’ settlement docu-

ments.” Id. at 1326. As TVPX emphasized, “a class release may not preclude a sub-

sequent action unless the released conduct arises out of the identical factual predicate

as the claims at issue in the [later] case.” Id. (citations and quotations omitted).22

      22
         Under the identical factual predicate doctrine, a court may approve a settle-
ment that releases “not only those claims alleged in the complaint and before the
court, but also claims which could have been alleged by reason of or in connection
with any matter or fact set forth or referred to in the complaint.” In re Corrugated
Container Antitrust Litig., 643 F.2d 195, 221 (5th Cir. 1981) (internal quotation
omitted). Indeed, the doctrine permits settlements that release even claims that the
court lacked the power to adjudicate. Id. (citations omitted). See Matsushita Elec.
Indus. Co. v. Epstein, 516 U.S. 367, 376-77 (1996). The doctrine thus allows a set-
tlement to resolve “all matters between the class members and released parties ‘aris-
ing out of or related to the [l]itigation.’” Greco v. Ginn Dev. Co., 635 F. App’x 628,
635 (11th Cir. 2015) (citing Corrugated, 643 F.2d at 221).

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The Court then made the following observation, which Home Depot seizes upon:

             [A]n ‘identical factual predicate’ cannot exist unless the
             defendant was engaged in the same offending conduct dur-
             ing the prior action. See Kilgoar v. Colbert Cty. Bd. of
             Educ., 578 F.2d 1033, 1035 (5th Cir. 1978) (‘Subsequent
             conduct, even if it is of the same nature as the conduct
             complained of in a prior lawsuit, may give rise to an en-
             tirely separate cause of action.’).
Id. at 1326-27.

      This passage must be read in the context of the facts of both TVPX and

Kilgoar. In both cases, the claims alleged to be precluded by prior settlements were

based on factual predicates that were patently different from the facts underlying the

claims in the prior cases. In Kilgoar the plaintiffs were former teachers who brought

successive suits alleging that the defendant school board had refused to rehire them

for unconstitutional retaliatory reasons. The teachers’ claims in the latter suit were

predicated on the school board’s allegedly retaliatory refusal to accept a newly-hired

superintendent’s recommendation that they be rehired. Because the superintendent

was not hired until after the events giving rise to the claims in the prior suit, the

earlier settlement obviously could not have a preclusive effect on the latter claims.

Although the “claims [were] of the same nature as those alleged in the [prior] suit”

(retaliatory refusal to hire), the latter claims were based on entirely different facts

and thus asserted “an entirely separate cause of action.” 578 F.2d at 1035 (emphasis

added).



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      Similarly, this Court in TVPX rejected an insurance company’s argument that

claims asserted in a 2018 suit by a class of policyholders “were premised on a con-

tinuation of the same conduct at issue [in] the 2004 settlement” of a prior class ac-

tion. 959 F.3d at 1321. The latter suit alleged that the insurance company breached

the terms of its policies by failing to calculate its “cost of insurance” rates in accord-

ance with mortality tables, an allegation that nowhere appeared in the operative com-

plaint in the prior action. Because the record did not disclose whether the insurance

company had “engaged in the same offending conduct during the ... [prior case’s]

class period,” the Court remanded the case for discovery on that issue. Id. at 1326.

      Both TVPX and Kilgoar are thus entirely consistent with the District Court’s

holding below: Defendants are protected by the Release from future claims chal-

lenging their “continued adherence” to pre-settlement conduct at issue here, but class

members are not precluded from challenging “any new agreement or anticompetitive

restraint” that the Blues may engage in after the Settlement. R.2931.54.23 See In re

Literary Works in Elec. Databases Copyright Litig., 654 F.3d 242, 248 (2d Cir.



      23
         Home Depot takes comfort in this Court’s observation that “the passage of
time may evoke change of circumstances which preclude the creation of an estop-
pel.” Miller’s Ale House, Inc. v. Boynton Carolina Ale House, LLC, 702 F.3d 1312,
1319 (11th Cir. 2012) (emphasis in original). We agree, of course, that a change of
circumstances can occur—indeed, can only occur—with the passage of time. But as
the District Court held, only if a future “change of circumstances” involves the
Blues’ adopting a new anticompetitive restraint will class members be permitted to
challenge it.

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2011) (claims regarding future use of copyrighted works allowed under settlement

“falls squarely within the factual predicate” underlying action, especially where

complaint sought injunctive relief that “contemplate[d] these alleged future inju-

ries”); Berry, 807 F.3d at 616 (rejecting argument that release of future claims chal-

lenging new product that settlement allowed defendant to develop fell outside iden-

tical factual predicate doctrine); Melito v. Experian Mktg. Sol., Inc., 923 F.3d 85, 95-

96 (2d Cir. 2019).

                     ii.   Home Depot next argues that the Supreme Court’s unre-

markable observation that “marketplace realities ... can change dramatically from

year to year” means that “changes in surrounding market conditions, rather than

changes in a defendant’s conduct,” may give rise to a claim that would not be barred

by claim preclusion. HD44 (quoting Lucky Brand Dungarees, Inc. v. Marcel Fash-

ions Grp., 140 S. Ct. 1589, 1596 (2020)).

         To begin, Home Depot’s unsupported speculation about the possibility that

hypothetical future “market conditions” might render some hypothetical future claim

challenging the continuation of the Blues’ pre-Settlement conduct so materially dif-

ferent as to defeat the defense of claim preclusion is no reason to reject, ab initio,

the standard Release in this Settlement. The application of the Release to any such

future claim is properly addressed if and when such a claim is made in a live contro-

versy.


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      But even if one assumes that Home Depot’s “market conditions” proposition

is sound in the context of claim preclusion, it does not extend to the context of a

class settlement expressly releasing future claims challenging the pre-settlement

conduct at issue in the underlying case. Settlements of complex class actions would

be few and far between if the protection of a release was dependent not only on the

post-settlement conduct of the defendant, but also on external factors, like changing

market conditions, entirely beyond the defendant’s (or anyone’s) control. No case

even hints at such an untenable rule.

                    iii.   We note finally that the res judicata cases on which Home

Depot relies are lethal to its public policy argument. For if the principles of res judi-

cata independently apply to preclude a claim challenging a continuation of the same

conduct at issue in a class action that settled, how can public policy prohibit a release

negotiated by the parties to the settlement from doing the same thing?

             b.     Home Depot makes much of the fact that the Release covers fu-

ture claims that “relate[] in any way” to the factual predicates of and issues raised in

this case. HD43-44. But such expansive language is standard in settlements of com-

plex cases, as defendants seek to ensure that the release extends to the maximum

extent permitted by law. 24 And, again, this Court has made clear that the law allows


      24
        See Managed Care, 756 F.3d at 1226 (releasing actions “by reason of, aris-
ing out of, or in any way related to any” matter referenced in settled litigation)


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a release to reach “all matters between the class members and released parties ‘aris-

ing out of or related to the litigation.’” Greco, 635 F. App’x at 635 (citation omitted)

(emphasis added). Home Depot points to no decision invalidating a release based

on its inclusion of such language. That such commonplace language was used in

this Settlement thus provides no occasion for its invalidation, especially considering

the District Court’s holding that the Release reaches only the Blues’ “continued ad-

herence” to challenged pre-settlement conduct, and not any “new” alleged anticom-

petitive restraint “above and/or beyond” the practices at issue here. R.2931:54.

          c.    Home Depot’s attack on the Release’s application to “mechanisms,

rules, or regulations” approved by the Monitoring Committee fares no better. HD45.

The Settlement establishes a Monitoring Committee to provide additional, going-

forward protections to the Subscriber Class. An important feature of the Monitoring

Committee’s remit is to ensure that Defendants do not adopt new rules or arrange-

ments that would have the effect of impairing or altering their agreed-upon procom-

petitive structural reforms. The Committee is charged with reviewing actions

“adopting rules or regulations that are within the scope of Paragraphs 10-18,”

R.2610(2):37-38 (¶20); namely, actions taken to address matters relating to the


(emphasis added); Thomas v. Blue Cross and Blue Shield Ass’n, 594 F.3d 814, 817
(11th Cir. 2010); TVPX, 959 F.3d at 1326; Adams v. S. Farm Bureau Life Ins. Co.,
493 F.3d 1276, 1282 (11th Cir. 2007); In re Gen. Am. Life Ins. Co. Sales Prac. Litig.,
357 F.3d 800, 803 (8th Cir. 2004); In re Pet Foods Prod. Liability Litig., 629 F.3d
333, 339 (3d Cir. 2010).

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Settlement’s structural relief provisions. It is not empowered to approve, much less

release or immunize from antitrust scrutiny, any new restraints, new arrangements,

or future conduct that are outside the scope of those provisions. R.2931:53-54. Thus,

only a claim relating to a rule, regulation, or action that is within the scope of Para-

graphs 10-18 can be released. R.2610(2):38-39 (¶20(a)(iii)).

      The Settlement also provides for the mediation and arbitration of disputes in-

volving Monitoring Committee activities, and further provides that disputes on

whether new rules are within the scope of the Release can by resolved by the District

Court. Id. This provision, ignored by Home Depot, provides further assurance that

the Release will not reach conduct other than “continued adherence to the existing

arrangements,” R.2931:56, notwithstanding Home Depot’s unsupported speculation

about what the Monitoring Committee may do in the future. See R.2931:56 n.22

(“Whether any particular claim has an identical factual predicate and/or falls within

the scope of the release is of course merely hypothetical, and currently unanswerable

…. If the court is presented with such a claim, it will be in a position to make an

appropriate determination.”).

                                          ***

      Home Depot concludes its public policy argument with this cheap shot: “The

Subscriber representatives may be content to allow the Blues’ ongoing restraints to

continue indefinitely with no determination whether they unreasonably suppress


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competition. But forcing the entire class of Blue subscribers to do so—forever—

violates legislative policy.” HD53-54. It was Home Depot, a Fortune 50 company,

that for decades was content to suffer the Blues’ ongoing restraints in supine silence.

And then for almost another decade, Home Depot was content to watch, again

silently, from its lounge chair as the Subscriber representatives it disparages

committed enormous amounts of their time, financial resources, and expertise to

challenging the Blues’ restraints in this massive multidistrict litigation. Now, after

years of “extraordinarily complex, protracted, and hard-fought” litigation, R.2931:2,

Home Depot breaks its silence to object that “public policy” required Subscriber

representatives to go for broke, to continue to expend their time, resources, and

expertise to litigate to final judgment the class’s equitable claims, no matter how

risky, how costly, or how prolonged, because the Subscriber representatives were

forbidden to release any of the class’s equitable claims against any of the Blues’

challenged conduct on any terms short of total capitulation by the Blues.

      That is not the law.

      B.     The Subscriber Class Was Adequately Represented.
      After devoting ninety percent of its brief to its meritless public policy attack

on the Release, Home Depot closes with the equally meritless argument that the

District Court abused its discretion in finding that the interests of the Subscriber

Class—specifically, the interests of the (b)(2) Injunctive Relief Class—were



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adequately and fairly represented by the Subscriber Class’s named representatives

and counsel, as required by Rule 23(a)(4) and due process. HD54-60. 25 Quoting

this Court’s decision in Valley Drug Co. v. Geneva Pharmaceuticals, 350 F.3d 1181,

1189 (11th Cir. 2003), Home Depot says that the Class’s representation was inade-

quate because “‘substantial conflicts of interest exist between the representatives and

the class.’” HD55. Yet it offers no facts, or even a theory, as to just what those

conflicts might be. Rather, the (b)(2) class’s representation, according to Home De-

pot, was inadequate per se—inadequate as a matter of law—because “the same

named plaintiffs and counsel represented both the Rule 23(b)(2) and (b)(3) classes.”

HD54. Rule 23(a)(4) required, it argues, that the (b)(2) class be separately repre-

sented by a subscriber and counsel “who [were] not also financially interested in the

23(b)(3) class.” HD22. Like its categorical public policy rule, Home Depot’s cate-

gorical inadequacy of representation rule is not the law.

      1.     The District Court bifurcated the Subscriber Class, certifying a (b)(2)

“Injunctive Relief Class” and a (b)(3) “Damages Class.” R.2931:81-82. The mem-

bership of the (b)(2) and (b)(3) classes is virtually identical; both are defined essen-

tially to include individuals or groups, including ASOs like Home Depot, that con-

tracted with the Blues during class periods that ended in October 2020. R.2931:81-

      25
        Home Depot does not suggest that due process principles and Rule 23(a)(4)
operate differently with respect to this question, and it bases its argument on deci-
sions applying Rule 23(a)(4). We will do the same.

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82.26 As the District Court found in determining that the Subscriber Class was ade-

quately represented, “Subscriber Class representatives here ‘share the same interests

as absent class members, assert claims stemming from the same event[, which] are

the same or substantially similar to the rest of the class, and share the same types of

alleged injuries as the rest of the class.’” R.2931:30 (citations omitted). Home Depot

does not dispute these findings. Thus, Home Depot’s insistence on separate (b)(2)

class representatives makes no sense. There is no subscriber who could represent

the interests only of the (b)(2) class who does not also have an interest in the recovery

obtained through the (b)(3) class.

      2.     Home Depot derives its categorical inadequacy rule primarily from this

Court’s decision in Valley Drug and the Second Circuit’s decision in Payment Card.

Neither case remotely supports such a categorical rule.

      The Valley Drug plaintiffs brought an antitrust action challenging allegedly

collusive agreements that settled patent litigation between the manufacturer

      26
          The only difference between the classes is that nonmember beneficiaries of
group plans (i.e., dependents of covered employees) are included in the (b)(2) class
but not the (b)(3) class. R.2610(2):10-11(¶1.v); 9(¶1.pp); see R.2931:81-82. By def-
inition, therefore, all of the (b)(2) class members also have an interest in maximizing
the monetary relief provided to the (b)(3) class, either directly, as purchasers of one
of Defendants’ plans during the class periods, or derivatively, as dependent family
members or other beneficiaries under such a plan. Indeed, defining the (b)(2) class
to include only those who had actually suffered antitrust injury as a result of the
challenged conduct ensured that the members of the (b)(2) class would have antitrust
standing to seek injunctive relief. See Cargill, Inc. v. Monfort of Colorado, Inc., 479
U.S. 104, 112 (1986).

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(defendant Abbott Laboratories) of a patented brand-name drug (Hytrin) and two

generic drug manufacturers. The named plaintiffs, Valley Drug and another regional

drug wholesaler, argued that the settlements unlawfully extended Abbott’s monop-

oly on Hytrin sales, causing the class economic injury. The district court certified a

class consisting of “all entities who purchased Hytrin … directly from Abbott” dur-

ing the period in which the settlements kept competing generic drugs off the market.

350 F.3d at 1186. The question before this Court was whether the district court

abused its discretion in refusing to allow defendants to take “discovery on the im-

portant issue of whether some class members [had] separate, antagonistic interests

from the named representatives.” Id. at 1187.

      In reversing the district court, this Court first noted the settled rule that “minor

conflicts alone” will not disqualify a named plaintiff as an adequate class representa-

tive under Rule 23(a)(4). Id. at 1189. Rather, “the conflict must be a ‘fundamental’

one going to the specific issues in controversy.” Id. (emphasis added). And “a fun-

damental conflict exists where some party members claim to have been harmed by

the same conduct that benefited other members of the class.” Id. (emphasis added).

Accordingly, Rule 23(a)(4) “preclude[s] class certification where the economic in-

terests and objectives of the named representatives differ significantly from the eco-

nomic interests and objectives of unnamed class members.” Id. at 1190.

      The record before this Court contained persuasive evidence that national drug


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wholesalers, which accounted for over half of the class’s total claims, appeared to

have “experienced a net gain from the absence of generic drugs in the market” for

Hytrin. Id. (emphasis added). Because it was “highly likely under such circum-

stances that the economic interests of these putative class members would be sub-

stantially in conflict with the interests of the [regional drug wholesaler] named rep-

resentatives,” the district court should have permitted discovery into the “potentially

antagonistic” interests of the national wholesalers and their putative representatives.

Id. at 1193-1195. The Court was careful to note, however, that if such discovery

showed that “no fundamental conflict actually exists” because the national whole-

salers also suffered a loss, then the named plaintiffs may well be able to “meet their

burden ... under Rule 23(a)(4).” Id. at 1192.

      The principles at work in Valley Drug were reaffirmed by this Court in two

recent cases. Equifax, 999 F.3d at 1275, involved a settlement of class claims of 147

million consumers whose private personal information was accessed as a result of a

massive data breach. An objector contended that the district court abused its discre-

tion in certifying a single class, arguing that the class representatives could not ade-

quately represent the entire class because some class members had state statutory

damages claims and some did not. This Court affirmed the finding that unitary rep-

resentation of the class was adequate. Given that the claims of all plaintiffs “arise

out of the same unifying event,” that “all plaintiffs seek redress for the same injury,”


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and that the data breach “harmed all class members and made none better off,” the

difference in class members’ state law claims did not rise to the level of “a ‘funda-

mental’ conflict” warranting separate subclasses and counsel. Id. at 1275-76 (quot-

ing Valley Drug, 350 F. 3d at 1189). See Pickett v. Iowa Beef Processors, 209 F.3d

1276, 1280 (11th Cir. 2000).

      Likewise, in In re Checking Account Overdraft Litig., 2022 WL 472057, *3

(11th Cir. Feb. 16, 2022), this Court rejected an objection to certification of a single

class of bank customers whose damages claims for excess overdraft fees varied in

value because the claims of a large majority, but not all, were subject to contractual

provisions requiring individualized arbitration. The Court held that because the dif-

ference in value of the claims was uncertain and speculative, “it’s not clear that the

proposed subclasses have a fundamental conflict related to the specific issues in con-

troversy.” Id. at *4. Accordingly, the district court did not abuse its discretion in

“find[ing] dispositive the fact that the plaintiffs were all injured in the same way by

the same conduct and had an overriding shared interest in obtaining the largest cash

settlement possible.” Id. at *5.

      3.     The lessons of this Court’s decisions applying Rule 23(a)(4) are clear:

for a conflict to disqualify a class representative and counsel, it must be based on

differences in economic interests between the named class representatives and ab-

sent class members that are (1) concrete and real, not uncertain and speculative, and


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(2) so clear and substantial that the conflict can fairly be characterized as “funda-

mental ... to the specific issues in controversy.” Valley Drug, 350 F.3d at 1189. And

the existence of a disqualifying fundamental conflict cannot be found in a class

whose members “were all injured in the same way by the same conduct” and thus

have a shared interest in maximizing the remedies, both equitable and monetary.27

Finally, if there is a solid evidentiary basis for concern that such a conflict is lurking

within the proposed class, the district court has a duty to examine any such “potential

conflict” to ensure that it either does not exist or is too minor to warrant the compli-

cations inherent in certifying separate subclasses and representatives.28

      Home Depot’s categorical inadequacy argument satisfies none of these stand-

ards for showing a fundamental conflict, or even the potential for such a conflict. It

does not offer even a speculative and uncertain basis for concern that the interests of

the (b)(2) class members collide with those of the Subscriber Class’s representatives


      27
          See Pet Foods, 629 F.3d at 347 (rejecting inadequate representation argu-
ment based on differences in allocation percentages where “[m]any class members
are members of both allocation groups”); In re Ins. Brokerage Antitrust Litig., 579
F.3d 241, 272 (3d Cir. 2009). Cf. In re Target Corp. Customer Data Sec. Breach
Litig., 892 F.3d 968, 976 (8th Cir. 2018); Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,
396 F.3d 96, 111 (2d Cir. 2005).
      28
          See Int’l Union v. Gen. Motors Corp., 497 F.3d 615, 629 (6th Cir. 2007)
(“[I]f every distinction drawn (or not drawn) by a settlement required a new subclass,
class counsel would need to confine settlement terms to the simplest imaginable or
risk fragmenting the class beyond repair.”); In re Cendant Corp. Sec. Litig., 404 F.3d
173, 202 (3d Cir. 2005) (discussing drawbacks of excessive subclassing). Cf.
Equifax, 999 F.3d at 1277 n.21.

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and counsel. It seeks rather the prophylactic disqualification of the Subscriber Class

representatives and counsel to protect against the supposedly “intolerable” and “un-

acceptable” risk of conflicts that, it says, are inherent in the Subscriber Class, despite

the District Court’s undisputed findings that all class members, including named

representatives, assert the same claims, seeking the same types of relief, from the

same types of injuries, caused by the same anticompetitive conduct. R.2931:30. In

demanding that the (b)(2) class be separately represented by a subscriber “who was

not also financially interested in the 23(b)(3) class,” HD22, Home Depot is asking

for something that does not exist, for there is no such subscriber. See note 26, supra.

In short, this Court’s cases provide no support for Home Depot’s argument against

unitary representation of the (b)(2) and (b)(3) classes.

      Which brings us to the out-of-circuit case on which Home Depot relies, heav-

ily: In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig.,

827 F.3d 223 (2d Cir. 2016). Like this case, Payment Card involved an antitrust

settlement with two settlement classes, a (b)(2) class and a (b)(3) class. That is where

any resemblance between Payment Card and this case ends.

      Plaintiffs in Payment Card were retail merchants who brought a Sherman Act

action alleging that the defendants established certain “network rules” that resulted

in supracompetitive rates for “interchange fees” charged to merchants for credit card

purchases. The district court approved a settlement that bifurcated the plaintiff


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merchants along remedial and temporal lines: The (b)(3) class included merchants

who accepted Visa and MasterCard during a six-year period ending in November

2012, but who either were no longer in business, no longer accepted the cards, or

had declining credit card sales. They would be eligible to receive a share of $7.25

billion in monetary relief. The (b)(2) class was largely merchants who began accept-

ing, or will in the future accept, Visa or MasterCard after November 2012. They

“would get injunctive relief in the form of changes to ... network rules” until the

relief expired in July 2021. Id. at 229. In return, all class members released their

claims against the defendants, perpetually, for continuation of the challenged con-

duct.

        The Second Circuit held that there were conflicts between members of the

(b)(2) and (b)(3) classes that “were glaring as to matters of fundamental im-

portance,” rendering unitary representation of the class inadequate. Merchants in

the (b)(3) class, who were “pursuing solely monetary relief, ... would want to max-

imize cash compensation for past harm,” while merchants in the (b)(2) class, who

were “seeking only injunctive relief ... would want to maximize restraints on network

rules to prevent harm in the future.” Id. at 233 (emphasis added). Even within the

(b)(2) class, there were clear conflicts. “[V]ast numbers of [(b)(2)] class members”

derived no benefit at all from the settlement’s primary injunctive relief—the ability

to surcharge customers who use Visa or MasterCard—either because the merchant


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operated in a state where such surcharges were unlawful or because surcharging was

not a commercially viable option. Id. at 238. And the (b)(2) class’s injunctive relief

was short-lived; it expired in July 2021, leaving members of the (b)(2) class that

came into existence after that date with literally no relief at all (although they were

bound by the release).

      As the court noted: “Unitary representation of separate classes that claim dis-

tinct, competing, and conflicting relief create unacceptable incentives for counsel to

trade benefits to one class for benefits to the other in order somehow to reach a set-

tlement.” Id. at 234. The court left no doubt that it thought counsel had succumbed

to these “unacceptable incentives,” and that the district court should have required

separate representation for the (b)(2) class. See id. at 234; id. at 241 (Leval, J., con-

curring).

      The conflicts of interest between the (b)(2) and (b)(3) classes in Payment Card

were indisputably concrete, real, numerous, and “glaring as to matters of fundamen-

tal importance.” Id. at 233. The classes were defined by different time periods, had

little overlap in membership, and sought “distinct, competing, and conflicting re-

lief”—a recipe for inadequate unitary representation. Nothing in the decision, how-

ever, suggests that such conflicts are to be presumed as a matter of law whenever a

class seeks both injunctive and monetary relief. Nor does it suggest that unitary rep-

resentation must be deemed per se inadequate for (b)(2) and (b)(3) classes in all


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cases, to safeguard against phantom conflicts for which there is not a wisp of evi-

dence. Again, here the membership of the (b)(2) and (b)(3) classes is essentially

unitary, and both classes seek and will benefit from the same relief, to remedy the

same injury, caused by the same wrongdoing. There is no conflict in their interests,

let alone one that is fundamental to the issues in the case.

      Home Depot finally contends that the failure to require representation by an

injunctive-relief-only subscriber—again, a mythical creature—“presents an unac-

ceptable risk of trading off the interests of (b)(2) class members and the public in

market-wide injunctive relief in exchange for dollars.” HD59 (emphasis in original).

But in the real world of this actual case, Judge Proctor found that “[a]s significant as

the monetary amount of $2.67 billion is, the truly exceptional aspect of this settle-

ment is the structural relief agreed upon.” R.2931:40 (emphasis added). And even

if the public interest in obtaining market-wide injunctive relief had not been fully

advanced by the Settlement (and it was), the fact remains that governmental entities,

including the Department of Justice, the Federal Trade Commission, and the State

Attorneys General, are excluded from the (b)(2) class definition and retain their right

to pursue the interests of the public.

II.   TOPOGRAPHIC’S APPEAL IS MERITLESS.

      From February 2012 to October 2020, the only class representatives in this

case were Fully Insureds, and the only classes they sought to have certified were


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classes of Fully Insureds. Although the case had been pending for almost a decade,

and although Defendants’ self-insured customers included most of the largest and

wealthiest corporations in the country, not a single self-insured customer came for-

ward to bring a claim on behalf of itself or any other self-insured entities. In order

to reach a settlement, however, Defendants insisted that all of their self-insured cus-

tomers be added to the case and included in the list of entities providing a release.

Accordingly, a separate representative and counsel were identified and recruited to

represent the interests of the Self-Funded Sub-Class in allocation negotiations.

      The Settlement includes meaningful structural relief for the Self-Funded Sub-

Class in the form of, inter alia, the SBB provisions discussed above. In addition,

Self-Funded Settlement Counsel negotiated at arm’s length with Subscriber Settle-

ment Counsel for an allocation of the Settlement Fund to be paid to the Self-Funded

Sub-Class.

      Virtually the entire Self-Funded Sub-Class has accepted as fair and reasonable

the 6.5% allocation negotiated by its representative and counsel. Almost 170,000

self-funded entities are members of the subclass, all of whom received notice of both

the settlement and the 6.5% allocation. R.2914(1):4(¶14). These subclass members

include some of the largest, most sophisticated, and well-resourced companies in the

country. Yet only three members of the subclass objected to the allocation, and only

the two Topographic appellants have appealed its approval.


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      Topographic’s assessment of the fairness of the allocation is thus an extreme

outlier. But it is worse than that. Topographic accuses the class representatives and

counsel who negotiated the allocation on behalf of the subclasses of “sell[ing] out

the Self-Funded Sub-Class,” in a coordinated breach of their fiduciary and ethical

obligations. Topographic21. Topographic even charges that the District Court, too,

breached “its fiduciary obligation to prevent sellout of the subclass,” by failing to

“apply[] ‘careful judicial scrutiny’ and ... approv[ing] the allocation based on no

evidence and erroneous factual findings.” Topographic32. And although Topo-

graphic does not accuse them directly, Special Master Gentle and Mediator Feinberg

presumably were also in on the “sellout,” given their important roles in facilitating

the negotiations and mediating the allocation decision, respectively.

      Topographic bases these false charges on the argument that the District Court

was wrong to approve an allocation based on a comparison of (a) the premiums paid

to Defendants by Fully Insureds with (b) the ASO fees and other amounts paid to

Defendants by self-insureds. It argues that a large portion of the premiums paid to

Defendants by Fully Insureds is used by Defendants to pay healthcare provider costs,

and these amounts should be excluded from any comparison; alternatively, it argues

that the money paid to providers by the Self-Funded Sub-Class should be included

in any comparison.

      Topographic is wrong. In an antitrust case alleging an overcharge, the starting


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point for the overcharge analysis is the total amount paid by the plaintiffs to the

defendants, making the above comparison relevant.29 Nevertheless, the record

shows that the allocation was not principally based on just this comparison. If it had

been, the allocation to the Self-Funded Sub-Class would have been much smaller.

The premiums paid to Defendants by Fully Insureds during the damages period

available to such customers totaled $1.9 trillion. R.2825(1):15 (¶39). By contrast,

the payments made to Defendants by the Self-Funded Sub-Class during the damages

period available to those customers was only $67 billion. Id. Thus, an allocation

that looked only at the comparison to which Topographic objects would have allo-

cated 3.4% to the Self-Funded Sub-Class, rather than 6.5%. 30

      As shown below, the District Court was presented with numerous different

metrics that would have resulted in allocations to the Self-Funded Sub-Class ranging

from 1.7% to just under 10.7%. R.2931:37-38. Any fair analysis must look at the

different levels of profitability between the fully insured and self-insured lines of

business. That analysis shows Defendants generated far higher profits from the fully

insured business than from the self-insured business, which often generated little to


      29
          IIA Phillip E. Areeda, et al., Antitrust Law: An Analysis of Antitrust Prin-
ciples and Their Application ¶392a (4th ed. 2015) (“Areeda”) (“usual measure of
damage is the difference between the illegal price that was actually charged and the
price that would have been charged ‘but for’ the violation”).
      30
        $1.9 trillion + $67 billion = $1.967 trillion, of which $1.9 trillion is 96.4%
and $67 billion is 3.4%.

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no profit at all. 31 Those higher profits from the fully insured business reflect the fact

that Defendants typically have enjoyed much higher market share in that business.

Thus, the Fully Insureds’ claims of antitrust injury caused by Defendants’ anticom-

petitive activity are much stronger than those of the Self-Funded Sub-Class.

R.2825(1):9-12(¶¶20-30). That difference is critical: the 2018 amendments to Rule

23(e)(2)(D) make clear that treating class members “equitably relative to each other”

involves taking “appropriate account of differences among their claims.” FED. R.

CIV. P. 23, advisory committee’s note to 2018 amendment.

      Topographic’s appeal directly contradicts this principle. It is based on the

premise that there is no difference between the self-insured and fully insured mar-

kets, and thus no difference in the relative strength of the antitrust claims held by

self-insured and fully insured customers. As the District Court found, that premise

is false, R.2931:58, and Topographic presented no evidence supporting it. To the

contrary, Topographic presented an expert who, having prepared a 28-page report

advocating an allocation of 50% or more to the Self-Funded Sub-Class, admitted he

thought the relative amount of any overcharges paid by self-insureds versus those

paid by fully insureds was irrelevant to the allocation question:

             Q. Sir, do you believe that the allocation of damages
             should be based on the relative amounts of overcharges

      31
        R.2931:58; R.2868(1):3-4; R.2868(2):3; R.2812(12):2-3; R.2812(11):2-3;
R.2868(3):4; R.2868(4):7; R.2868(5):6; R.2812(10):3; R.2868(6):3; R.2868(7):3-5.

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              that the two groups of customers paid?
              A. No.

R.2865:258.

      This tells the Court all it needs to know about Topographic’s appeal.

      A.      The District Court’s Approval Of The Allocation Plan Is Re-
              viewed Under The Abuse Of Discretion Standard.
      Rule 23(e)(2)(D) provides that a proposed class settlement that binds class

members must be “fair, reasonable, and adequate after considering whether … the

proposal treats class members equitably relative to each other.” As noted, this deter-

mination calls upon the court to take “appropriate account of differences among

[class member] claims.” FED. R. CIV. P. 23, advisory committee’s note to 2018

amendment. Precedent makes clear that negotiated plans of allocation need not be

perfect, nor the best conceivable allocation, nor even the same allocation the court

would have ordered if the issue had been litigated to judgment. An allocation need

only be “rationally based on legitimate considerations.” Holmes, 706 F.2d at 1148;

see also Sullivan v. DB Invs., Inc., 667 F.3d 273, 328 (3d Cir. 2011) (en banc).

      District courts have “broad supervisory powers” to “allocate the proceeds

among the claiming class members,” Sullivan, 667 F.3d at 328 (internal quotations

and citations omitted); In re Holocaust Victim Assets Litig., 424 F.3d 132, 146 (2d

Cir. 2005); In re PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104, 133 (S.D.N.Y.),

aff’d, 117 F.3d 721 (2d Cir. 1997). That is because the review of a POD is “intensely


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fact-based,” particularly where the court is faced with “competing expert opinions

on the proper way to determine and allocate damages.” In re Cendant Corp. Litig.,

264 F.3d 201, 253-54 (3d Cir. 2001).

      Given this standard’s flexibility, approvals of PODs are reviewed for abuse of

discretion. Chicken Antitrust, 669 F.2d at 241; Wong v. Accretive Health, Inc., 773

F.3d 859, 866 (7th Cir. 2014); Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1284

(9th Cir. 1992).

      Appellate review should be particularly deferential when, as here, allocation

negotiations were conducted by separate subclasses with separate counsel and class

representatives. “[S]ubclassing can resolve conflicts of interest that might prevent

representative plaintiffs from adequately representing the class.”           Dewey v.

Volkswagen Aktiengesellschaft, 681 F.3d 170, 189-90 (3d Cir. 2012). Moreover,

“absent fraud, collusion, or the like,” Cotton, 559 F.2d at 1330, the “trial judge

‘should be hesitant to substitute its own judgment for that of counsel.’” Equifax,

999 F.3d at 1274 (citations omitted); see Wal-Mart, 396 F.3d at 116).

      B.     The District Court Did Not Abuse Its Discretion In Approving
             The ASO Allocation.
      Topographic argues that this Court’s decision in Holmes, 706 F.2d 1144, im-

poses a more stringent standard for approving allocation plans that benefit subclasses

differently, and also argues there were “suspicious circumstances” here that trig-

gered this standard. Topographic is wrong on both points.


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             1.     Holmes Does Not Support Application of a Stricter Legal
                    Standard than That Set Forth in Rule 23(e)(2)(D).
      Topographic argues that Holmes mandates a heightened “careful scrutiny”

standard when an allocation is “facially unfair,” which Topographic claims is the

case whenever it “benefits different sub-sections of the class unequally.” Topo-

graphic27. But Holmes did not purport to set forth a standard that differs from the

rational basis review employed in every decision by this Circuit and by every other

Circuit—let alone a rule that would require application of a hitherto unknown stand-

ard called “careful scrutiny” any time an allocation gives different relief to different

subclasses. Holmes, 706 F.2d at 1148 (allocations must be “rationally based on le-

gitimate considerations.”).

      Instead, in the language Topographic lifts from Holmes, this Court observed

that “[a]lthough there is no rule that settlements benefit all class members

equally, ... a disparate distribution favoring the named plaintiffs requires careful ju-

dicial scrutiny into whether the settlement allocation is fair to the absent members

of the class.” Id. (emphasis added); see also id. at 1147 (“careful scrutiny” is “nec-

essary to guard against settlements that may benefit the class representatives or their

attorneys at the expense of absent class members.”). That observation recognized

that an allocation favoring named plaintiffs over absent class members should not

be rubber-stamped. In subsequent citations to Holmes, this Court has never sug-

gested that it mandates the elaborate burden-shifting framework Topographic


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advocates. Topographic27. 32

      Factually, Holmes bears no resemblance to this case. In Holmes, the eight

named plaintiffs took over 50% of the damages, leaving the other half to the remain-

ing 118 class members. Yet unitary class counsel failed to introduce any evidence

to support that “facially unfair” allocation. 706 F.2d at 1149-50 & n.5. Here, the

class representatives recover the same as their other class members. And here, un-

like Holmes, the Self-Funded Sub-Class was separately represented by counsel and

a class-representative designee (Hibbett) in arm’s-length allocation negotiations.

Further, unlike Holmes, ample evidence was presented to the District Court support-

ing the allocation.

      Contrary to Topographic’s argument, the rational basis standard for reviewing

a POD does not change when different amounts are distributed to different sub-

classes. Unequal does not mean inequitable. Indeed, unequal is often necessary to



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          See Equifax, 999 F.3d at 1265; AA Suncoast Chiropractic Clinic, P.A. v.
Progressive Am. Ins. Co., 938 F.3d 1170, 1178 (11th Cir. 2019); Faught v. Am.
Home Shield Corp., 668 F.3d 1233, 1239 (11th Cir. 2011); In re CP Ships Ltd. Sec.
Litig., 578 F.3d 1306, 1311 (11th Cir. 2009); Williams v. Mohawk Indus., Inc., 568
F.3d 1350, 1360 (11th Cir. 2009); Heffner v. Blue Cross & Blue Shield of Ala., Inc.,
443 F.3d 1330, 1344-45 (11th Cir. 2006); Murray v. Auslander, 244 F.3d 807, 812
(11th Cir. 2001); Reynolds v. Roberts, 207 F.3d 1288, 1301 n.24 (11th Cir. 2000);
Rutstein v. Avis Rent-A-Car Sys., Inc., 211 F.3d 1228, 1239-40 (11th Cir. 2000);
Leverso v. SouthTrust Bank of Ala., N.A., 18 F.3d 1527, 1530 (11th Cir. 1994); Guth-
rie v. Evans, 815 F.2d 626, 627 (11th Cir. 1987); Cox v. Am. Cast Iron Pipe Co., 784
F.2d 1546, 1554 (11th Cir. 1986); Howard v. McLucas, 782 F.2d 956, 961 (11th Cir.
1986); Piambino v. Bailey, 757 F.2d 1112, 1139 n.68 (11th Cir. 1985).

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ensure equitable. “It is reasonable to allocate the settlement funds to class members

based on the extent of their injuries or the strength of their claims on the merits.” In

re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1045 (N.D. Cal. 2008). “Courts

generally consider plans of allocation that reimburse class members based on the

type and extent of their injuries to be reasonable ....” Sullivan, 667 F.3d at 328 (cita-

tion omitted).

             2.     Topographic’s Claims of “Suspicious Circumstances” Are
                    Meritless and Contradict Their Admission Below.
      Topographic’s baseless assertion of “suspicious circumstances” flatly contra-

dicts what it told the District Court at the Fairness Hearing—as shown in this collo-

quy with Topographic’s counsel:

             MR. RICHIE: … –[T]here are both procedural and sub-
             stantive components to treating the subclasses equitably.
             And so showing that a settlement is fair, reasonable, and
             adequate. And there’s another element to that, which is
             not the product of collusion. I certainly don’t think this is
             a collusive settlement, but we don’t have the --

             THE COURT: There’s no indication at all --

             MR. RICHIE: No, no. There’s not.
             THE COURT: -- in any area code of the United States that
             this is a collusive settlement.
             MR. RICHIE: No, no, no. I want to be clear on that up
             front.

R.2865:152-153 (emphasis added).
      Further, the record demonstrates that extensive, adversarial, arm’s length


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negotiations led to the allocation, and no one was “sold out” during the process. The

esteemed mediator, Kenneth Feinberg, described the mediation process, attesting:

             [B]ased on expert analysis and evidence produced in the
             litigation, both side presented estimates of appropriate al-
             locations … R.2610(8):6 (¶12 and n.4);
             [T]he negotiated number falls towards the low end of Self-
             Funded Sub-Class Settlement Counsel’s estimate, and the
             high end of Settlement Class Counsel’s estimate ... one
             would expect an outcome in that range. R.2610(8):6-7
             (¶14);
             The relative size of the Self-Funded Claimants’ share
             makes sense given the statute of limitations and premiums
             vs. administrative fees issues… Id.;
             The fact that the division resulted from protracted negoti-
             ations between sophisticated counsel also supports its rea-
             sonableness. Id.
      Mr. Feinberg further attested that the Self-Funded Subclass Settlement Coun-

sel were “independent, tenacious advocates for the Self-Funded Sub-Class who ne-

gotiated at arm’s-length.” R.2610(8):5-6 (¶11). Prior to the mediation, they retained

Dr. Mason, a respected antitrust economist who is a chaired professor at LSU, and a

fellow at the Wharton School at the University of Pennsylvania, to analyze what

would be an appropriate allocation to the Self-Funded Sub-class. R.2610(7):3-5

(¶¶3-12); R.2865:124; R.2812(19):185. Fully Insureds asked the same of their dam-

ages expert, Dr. Pakes. R.2610(8):6 (¶12 n.4).

      Topographic accuses Dr. Pakes of “circular analysis” because his declaration

adopts the 6.5% compromise achieved at mediation.             Topographic35.     That


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declaration’s purpose was to provide estimates of potential recoveries, not to explain

the work done at the mediation. Mr. Feinberg’s declaration describes the work Dr.

Pakes did for the mediation, and it was not circular:

              Settlement Class Counsel’s original estimates were based
              on work performed by Dr. Ariel Pakes of Harvard Univer-
              sity. Dr. Pakes’ valuation estimates the ratio between the
              investment returns (in excess of a competitive return) of
              (a) the Blues’ fully-insured business, and (b) their self-
              funded business. That ratio demonstrates that only 3.4%
              of the Settlement proceeds should be assigned to the Self-
              Funded Sub-Class. Dr. Pakes then subjected his work to a
              ‘robustness analysis’ which indicates that – even making
              assumptions highly unfavorable to the fully-insured claim-
              ants—the shares fairly allocable to the self-funded plans
              would increase only to 6.8%, in line with the Settlement’s
              negotiated amount.
R.2610(8):6 (¶12 n.4).

      The allocation question “was a dispute that stretched over a period” of several

months. See R.2865:124 (Mr. Burns: “it truly was a dispute. … I will tell you the

parties were pretty far apart at the beginning and that it was only through multiple

discussions, formal mediation, and back-channel communications with the mediator,

Mr. Feinberg, that we were ultimately able to resolve it.”; R.2865:139 (Mr. Boies’

description of negotiation as “arm’s length negotiations and aided by a very effective

mediator”).

      The subclasses arrived at the allocation only after “presenting estimates”

“based on expert analysis and evidence produced in the litigation,” “after several


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months of negotiations” and after Mediator Feinberg probed each class about “the

factors that either supported or undermined their respective positions, including con-

siderations relating to potential statute of limitations issues and the relative size of

the administrative fees paid by Self-Funded Claimants vs. the premiums paid by

[Fully Insured] Claimants.” R.2610(8):6 (¶¶12-13).

      Special Master Gentle also attested that both “Settlement Class Counsel and

Self-Funded Sub-Class Settlement Counsel made able use of the economic analyses

provided by their experts, took account of the full range of the potential claims that

were held by members of the class when negotiating, and aggressively advocated”

for class members “in order to maximize the relief obtained for the class.”

R.2610(12):13-14 (¶¶35-37). See R.2610(12):2-3 (“hard-fought, arms-length nego-

tiations” led to the Settlement).

      These circumstances were neither suspicious nor collusive.

      C.     There Are Material Differences Between Self-Insured And Fully
             Insured Markets.

      Underlying all of Topographic’s arguments is the false assertion that there is

no material difference between the Fully Insureds and the Self-Funded Sub-Class.

There are enormous differences. As the District Court correctly found: “the ASO

market is significantly more competitive than its counterparts.” R.2931:37. Because

of the “differences in the markets,” the Fully Insured Claimants “suffered a much

greater antitrust injury” than the Self-Funded Sub-Class.          R.2931:58.    These

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differences may explain why not one of the Blues’ 170,000 self-funded customers

brought a claim in this case during the eight years it was pending prior to the Settle-

ment.

        This Court should therefore reject Topographic’s effort to equate the self-in-

sured and fully insured markets. Defendants’ internal documents show the fully

insured business was anywhere from four to ten times more profitable than the self-

funded business. R.2868(1):3-4 (BCBS-CA report predicting profits for fully in-

sured business and losses for ASOs and stating “in an environment where corporate

g&a is not driven by membership volume a fully insured member is worth 10 times

a self funded member”); R.2812(11):2-3 (report estimating that, for the industry as

a whole, fully insured business produced four times the profit that self-insured busi-

ness did); R.2868(2):3 (Anthem Report: “Fully Insured business provides nearly 6

times as much Operating Gain PMPM as ASO.”); R.2812(12):2-3 (report showing

that fully insured line was more profitable than ASO by more than 4.25 to 1).

        Other evidence showed that the self-funded business was often not profitable

at all, and could instead be a loss leader or break-even line of business. R.2868(3):4

(“The Congressional Research Service reported that commercial ASO contracts are

break-even deals on average ....”); R.2868(4):7 (2016 Anthem 10-K describing ASO

as business with “lower margins” that had the potential to materially and adversely

impact the company’s profits if more business moved from fully insured to self-


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insured); R.2868(5):6 (report noting that “many Plans have opted to set prices such

that the self-funded business makes some contribution to overhead, but does not

fully cover fixed costs.”); R.2812(10):3 (report noting that administering networks

“is a low margin business. Traditional functions such as claims and enrollment ad-

ministration will generate very little profit or become loss leaders”); R.2868(6):3

(report describing market-based approach to setting ASO fees “which does not cover

all our costs.”); R.2868(7):3-5 (report that self-funded business was “not profitable”,

whereas fully insured business is “profitable” and is a “[m]ajor sweet spot for un-

derwriting”). Topographic’s actuarial expert testified that he was aware of the evi-

dence showing this difference in profitability, but never investigated it. R.2865:250-

253, and 255-257.

      There is a reason large companies choose to self-insure: it is a cheaper way to

provide health insurance to employees than buying traditional, fully insured plans.

That is why more large companies make this choice each year, as Topographic ad-

mits. Topographic7.

      Thus, the central premise underlying Topographic’s appeal is false. This fal-

sity was on full display at the Fairness Hearing. Topographic’s expert presented a

report seeking to justify an allocation to self-insured customers of 50% or more.

R.2812(19):118, 144-45. But when asked whether he believed “that the allocation

of damages should be based on the relative amounts of overcharges that the two


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groups of customers paid,” he said “No.” R.2865:258. He likewise admitted he

made no effort to calculate any overcharges by either fully insured or self-insured

customers. R.2865:249.

      The District Court acted within its discretion in overruling Topographic’s ob-

jection.   As the court explained: “Overcharges are what this case is about.”

R.2931:58. The fact that Defendants’ fully insured business was far more profitable

than their self-insured business means that fully insured customers had stronger

claims that Defendants’ anticompetitive conduct was causing them to pay over-

charges. Faced with these facts and competing expert opinions, the District Court

had ample discretion to accept the negotiated allocation. Cendant, 264 F.3d at 254.

      D.     The District Court Properly Approved The Allocation Based On
             Adequate Evidence and Correct Findings.
      Whether it applies Topographic’s fabricated “careful scrutiny” standard or

Rule 23(e)(2)’s “fair, reasonable and adequate” standard, this Court should affirm

the District Court’s approval of the allocation. The District Court’s decision was

based upon careful review of the substantial evidence supporting the allocation be-

tween Fully Insureds and the Self-Funded Sub-Class. R.2931:35-38; R.2931:56-61.

It also discusses the extensive process and arm’s-length negotiations that led to this

allocation. R.2931:4-5, 17-21. Both the process and the evidence relied on by the

District Court fully support its decision.

      The District Court found a number of facts supporting the allocation:


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         • “[N]ot a single Self-Funded Account sought to file suit
           during the eight years between the Cerven complaint and
           the settlement.” R.2931:61, n.25.

         • “Because ASOs did not become involved in the lawsuit
           until late 2019, they did not face the same litigation ex-
           penses, burdens, and perils as the rest of the Class.”
           R.2931:59.

         • “For some Blues, fully insured business runs anywhere
           from as much as four to ten times more profitable than
           ASO business.” R.2931:37, 58 (citing evidence found at
           R.2868(1):3-4; R.2868(2):3; R.2812(12):2-3; and
           R.2812(11):2).

         • “For some Blues, ASO business may in fact be break-even
           or even a loss leader.” R.2931:58 (citing evidence found
           at R.2868(3):4; R.2868(4):7; R.2868(5):6; R.2812(10):3;
           R.2868(6):3 and R.2868(7):3-5).

         • “Because of the availability of substitute products … the
           ASO market is significantly more competitive than its
           counterparts.” R.2931:37 (citing evidence found at
           R.2865:41-44).

         • “The differences in the markets -- along with the differ-
           ences in Class Periods -- mean that the Fully Insured
           Claimants suffered a much greater antitrust injury.”
           R.2931:58.

         • “The economic reasonableness of the allocation was con-
           firmed by Dr. Mason, an experienced antitrust economist.”
           R.2931:57.

         • “Dr. Mason utilized four proxies to analyze the reasona-
           bleness of the allocation,” and those proxies yielded four
           possible allocations, ranging from 1.7% to less than
           10.7%. R.2931:57-59.



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         • “In their argument, [Topographic] targeted only the first
           of those four proxies.” R.2931:57.

         • The other three proxies yielded allocations of (a)
           “<10.7%,” id. at 58, (b) “<3.9% – 6.3%,” id. at 59, and (c)
           “3.4-3.8%.” Id.

         • “These unchallenged proxies support a finding that a 6.5%
           allocation for the Self-Funded Class is fair, adequate, and
           reasonable.” R.2931:59.
      In light of these findings and the ample, clearly-cited evidence supporting

them, Topographic’s startling charge that the District Court abetted the “sellout of

the subclass” by “approv[ing] the allocation based on no evidence,” Topographic32,

is appalling. Topographic points to the preliminary approval decision, where the

Court relied on declarations submitted by Mr. Feinberg, Subscriber Settlement

Counsel, and Self-Funded Sub-Class Settlement Counsel. Topographic33. Citing

Holmes, Topographic claims these declarations were an “insufficient basis” for ap-

proval. But as shown above, Holmes dealt with the final approval of a settlement

where class representatives were receiving far more than absent class members with-

out any evidentiary support at all. It has no application here. The sworn declarations

from Mr. Feinberg, a well-respected and neutral mediator, Special Master Gentle,

and counsel for both sides of an extensive, arm’s-length negotiation, were a more

than sufficient basis to grant preliminary approval. See In re Online DVD-Rental

Antitrust Litig., 779 F.3d 934, 946 (9th Cir. 2015); Ferron v. Kraft Heinz Foods Co.,

2021 WL 1617911, at *4 (S.D. Fla. Jan. 19, 2021); 4 NEWBERG ON CLASS ACTIONS

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§ 13.13 (6th ed. 2022).

         In any event, ample additional evidence was presented to and considered by

the Court for final approval that further supported the allocation’s reasonableness.

See R.2931:35-38; R.2931:56-61 (citing record evidence); R.2825(1) (Mason re-

port);        R.2825(1)(Exs.1-7)   (Mason     exhibits);   R.2868(1):3-4;     R.2868(2):3;

R.2812(12):3;         R.2812(11):2-3;   R.2868(3):4;        R.2868(4):7;      R.2868(5):6;

R.2812(10):3; R.2868(6):3; R.2868(7)3-5.33

         Unable to sustain its assertion that there was no evidence supporting the allo-

cation, Topographic pivots to arguing there needed to be better evidence, insisting

that the District Court “could not approve the allocation in the absence of evidence

establishing the range of possible recovery.” Topographic34. But the District Court

did have such evidence; Topographic just disagrees with what it showed. The Dis-

trict Court had (a) evidence from Subscribers’ damages expert, Dr. Pakes, stating

that the range of potential recoveries for all Subscribers was likely somewhere “from

$18.6 billion to $36.1 billion,” R.2931:40, and (b) evidence from Dr. Mason show-

ing the ratio of recoveries by the Self-Funded Sub-Class to those by Fully Insureds



         This case is therefore nothing like Day v. Persels & Assocs., 729 F.3d 1309,
         33

1327 (11th Cir. 2013), where this Court vacated a settlement premised on a “factual
finding that has no support in the record.” Likewise, Staton v. Boeing Co., 327 F.3d
938, 975-76 (9th Cir. 2003), is easily distinguished because it vacated a settlement
that awarded a subgroup sixteen times greater damages based on nothing more than
counsel representations that they had “the strongest claims.”

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yielded a percentage of between 1.7% and 10.7%, R.2931:57-59. This was sufficient

evidence to uphold the 6.5% allocation.

      Topographic appears to be insisting that the allocation could not be approved

without an expert providing a full-fledged damages opinion for the Self-Funded Sub-

Class of a kind that could be accepted by a jury at trial. That is not what the law

requires, and it would be absurd if it did. Eleventh Circuit precedent has “approved

the practice of negotiating a formula for distributing settlement proceeds to sub-

classes” instead of invariably requiring an economic analysis of each subclass’s

damages, particularly when the subclasses are independently represented. Corru-

gated Container, 643 F.2d at 219. See also Chicken Antitrust, 669 F.2d at 240-41.

      The estimation of damages in this case was an exceptionally complex under-

taking; it took years of work and millions of dollars in expert fees to produce an

expert report assessing damages for Fully Insureds solely in Alabama.

R.2733(2):23-26 (¶¶70-79), 40 (¶129). To provide one or more equivalent reports

for the nationwide damages that could have been claimed by all members of the Self-

Funded Sub-Class would have taken additional years and additional millions of dol-

lars to produce. No case holds that such an undertaking is necessary to approve a

settlement allocation. Adopting Topographic’s position of more and undefined eco-

nomic analysis would render the already costly settlement process extraordinarily

burdensome, in contravention of the “‘strong judicial policy favoring settlement.’”


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Equifax, 999 F.3d at 1273 (quoting Bennett, 737 F.2d at 986); see also Johnson v.

NPAS Sol., 975 F.3d 1244, 1263 (11th Cir. 2020); Halley v. Honeywell Int’l, Inc.,

861 F.3d 481, 492 (3d Cir. 2017); Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 966

(9th Cir. 2009); Lipuma v. Am. Express Co., 406 F. Supp. 2d 1298, 1323 (S.D. Fla.

2005). 34

             1.     Topographic’s Criticism of Dr. Mason’s Analysis Is Merit-
                    less.
       Topographic argues that Dr. Mason improperly compared premiums paid by

fully insured customers to ASO fees. Topographic14. But that was true only for one

of Dr. Mason’s four proxy methods for analyzing the allocation issue—his “gross

revenue” proxy. R.2825(1):15 (¶39). That proxy compared the $1.9 trillion in pre-

miums paid by fully insured customers with the $67 billion in ASO fees paid by self-


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          Topographic cites Mirfasihi v. Fleet Mortg. Corp., 356 F.3d 781, 786 (7th
Cir. 2004), for the proposition that district courts should “estimate the litigation
value of the claims of the class and determine whether the settlement is a reasonable
approximation of that value.” But Mirfasihi did not address a situation involving
separately represented subclasses who engaged in an arm’s-length negotiation over
how to divide a settlement that, in its totality, all sides agreed was reasonable. Nor
did it involve a subclass that entered the case only at the very end, to become part of
the settlement. There is no case addressing such facts that holds that a full-fledged
expert opinion is needed for the new subclass before a settlement allocation may be
approved. And under this Court’s precedent, a settlement can be approved “even
though little formal discovery ha[s] been conducted.” Sterling v. Stewart, 158 F.3d
1199, 1203-04 (11th Cir. 1998) (rejecting “vigorous scrutiny” standard applied in
some jurisdictions and holding that a process requiring “extensive document discov-
ery, depositions, and interviews” would “set a high burden of proof, much higher
than that set forth in Cotton”). See also Rodriguez, 563 F.3d at 965; Marshall v. Nat’l
Football League, 787 F.3d 502, 518 (8th Cir. 2015).

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insured customers. That comparison shows that self-insureds paid only 3.4% of the

total paid by both groups. Dr. Mason then applied a 50% discount to the self-in-

sureds (discussed below), to arrive at a 1.7% implied allocation using this first proxy.

      Topographic argues it is improper to compare amounts paid by fully insured

customers to amounts paid by self-insured customers because a portion of the pre-

miums paid by fully insured customers is used to pay healthcare costs charged by

providers, whereas ASO fees are not. But that does not make such a comparison

irrelevant to the allocation analysis. If the antitrust claims in this case were tried,

the actual dollar amounts paid by each group of customers would be the starting

point for any damages analysis. 35 The same percentage overcharge would thus trans-

late into far higher damages for fully insured customers than for self-insured cus-

tomers. Likewise, a jury would readily grasp that Defendants had reaped a much

larger overcharge in premiums of almost $2 trillion than in ASO fees of $67 billion.

Topographic ignores this, just as its expert did. That is a fatal flaw: “Overcharges

are what this case is about.” R.2931:58.

      In any event, Topographic is wrong that Dr. Mason relied solely on his proxy

comparing fully insured premiums to self-insured fees. His other three proxies did



      35
        See, e.g., Hanover Shoe, Inc. v. United Shoe Mach. Corp., 392 U.S. 481,
487 (1968); State of N.Y. v. Hendrickson Bros., 840 F.2d 1065, 1077 (2d Cir. 1988);
Areeda ¶392a.


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not rely on this comparison. Dr. Mason’s second proxy did precisely what Topo-

graphic advocates: it subtracted the total costs of medical claims from fully insured

premium revenue, and compared the remaining “net revenue” amount to revenue

earned from self-insured business. That resulted in an allocation to the Self-Funded

Sub-Class of something less than 10.7%, R.2825(1):23 (¶¶40-41), far short of the

50% allocation Topographic seeks. And, again, this second proxy fails to take into

account that the fully insured business has been far more profitable for Defendants

than the self-insured business, that the latter is far more competitive than the former,

and that the ability of Fully Insureds to show antitrust injury and overcharges is thus

far stronger than that of Self-Funded Sub-Class members. Once those facts are con-

sidered, it becomes evident the allocation to the Self-Funded Sub-Class should be

substantially less than 10.7%.

      Topographic never addresses Dr. Mason’s second proxy. Its only implied

criticism is its assertion that all of Dr. Mason’s proxies “failed to account for reve-

nues or profit margins on unbundled services sold to self-funded accounts,” Topo-

graphic43, such as dental and vision insurance and stop-loss coverage. But Dr. Ma-

son’s analysis uses the revenue information provided on Defendants’ own financial

reports, which reflected all the revenue Defendants received from both fully insureds

and self-insureds. The BCBS financials included numbers for “Premium Revenue,”

“Gross Revenue Incl Self-Funded,” and “Net Revenue.” R.2825(1):14 (¶37 and


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n.54). The reports defined “gross revenue” to include “fully insured premiums and

premium equivalents for self-funded business.” Id. Net Revenue was defined as

gross revenue minus “self-funded benefit payments,” i.e., payments for medical

costs. Id. Topographic cites no evidence, and there is none, for its assertion that

these financial reports omitted revenues from “unbundled services sold to self-

funded accounts,” or that any such omission was material. Topographic43. Further,

Topographic never explains how it could certify a Self-Funded Sub-Class based on

variegated payments that some individual self-funded entities pay, but others do not.

      Topographic also advances no specific criticisms regarding Dr. Mason’s third

and fourth proxies, both of which focused specifically on the relative profitability of

fully insured versus self-insured business lines. His third proxy, an analysis of the

operating-gain differential, relied on Defendants’ own estimates of this relative prof-

itability. It concluded that the self-insured business was at best the source of 3.9%

to 6.3% of Defendants’ profits. R-2825(1):16-19 (¶¶42-44). Topographic says noth-

ing about this.

      Dr. Mason’s fourth proxy, the revenue-growth analysis, showed that “between

2008 and 2020, administrative revenue per included member increased approxi-

mately 20% while, over the same time, risk transfer revenue per included member

[earned only from Fully Insureds] increased nearly 300%.” R.2825(1):17-18 (¶¶45-

49). Dr. Mason further found that risk-transfer revenue would normally grow with


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benefits at an annual rate of approximately 5%, and ASO revenue would be expected

to grow at the rate of inflation (which for the relevant period was approximately

1.6%). Id. This proxy yielded an allocation for the Self-Funded Sub-Class of ap-

proximately 3.4% to 3.8%. R.2825(1):18 (¶¶48-49). Topographic says nothing

about this.

      Topographic suggests Dr. Mason should have added the amounts that the Self-

Funded Sub-Class paid to healthcare providers to the amounts they paid Defendants,

and compared that sum to premiums paid by the Fully Insureds. Topographic6, 59.

But the amounts self-insureds paid to healthcare providers could not properly be

included in any damages analysis as there was no allegation in this case that such

costs were inflated by Defendants’ conduct. Further, Dr. Mason’s second proxy

performs the equivalent analysis by subtracting from fully insured premium amounts

all healthcare costs paid by Defendants for Fully Insureds, and comparing that net

number to self-insured payments made to Defendants. Topographic ignores that this

second proxy did what Topographic advocates.

      For the same reason, Topographic’s invocation of the medical-loss ratio

(“MLR”) provisions of the Affordable Care Act is of no moment. Dr. Mason’s sec-

ond, third, and fourth proxies all excluded the payments made to healthcare provid-

ers to cover healthcare costs of Fully Insureds, and those proxies still showed an

overcharge differential that substantially favored the Fully Insureds. R.2865:53-55.


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Additional evidence showed that long after the MLR rules went into effect, the fully

insured market remained far more profitable for Defendants than the self-insured

market, and thus that Fully Insureds would have a much stronger claim for over-

charges than self-insureds. R.2931:58; R.2868(1):3-4; R.2812(11):2-3; R.2868(3):4;

R.2868(4):7; R.2868(6):3; R.2868(7):3-5. Even Topographic’s expert conceded that

fully insured premiums were at least 20-35% higher than self-funded “premium

equivalents.” R.2812(19):141-42. Topographic also ignores (1) that the MLR rules

did not take effect until 2011, and are thus irrelevant to almost 25% of the Fully

Insured Class Period,36 and (2) that for individuals and small groups, the MLR rules

only required 80% of premiums to be spent on healthcare costs. 37

      Topographic criticizes Dr. Mason for not describing in minute detail all the

components and “revenue streams” Defendants incorporated into their reported rev-

enue numbers. Topographic36-38. These reports were Defendants’ contemporane-

ous business records of reported revenue, and they expressly included “premium

equivalents.” Dr. Mason spoke with Defendants about the data and its sources, and

he had access to discovery databases, such that he was sufficiently informed to




       See Health Insurance Issuers Implementing Medical Loss Ratio (MLR) Re-
      36

quirements Under the Patient Protection and Affordable Care Act, 75 Fed. Reg.
74864-01 (Dec. 1, 2010).
      37
           Medical Loss Ratio, NAT’L ASS’N OF INS. COMM’RS (Oct. 26, 2022),
https://bit.ly/3Xd3EqX.

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perform his analysis. R.2865:47-48; R.2865:217-218. Topographic makes no show-

ing that Defendants’ financial reports excluded “premium equivalents” or otherwise

excluded any relevant revenue source. 38

      Topographic also argues that Dr. Mason’s testimony was insufficiently relia-

ble to pass muster under Federal Rule of Evidence 702. Topographic37. As shown

above, that is not correct, as Dr. Mason had ample support for his opinions. More-

over, Topographic’s argument

            overlooks the differences between a full trial and a fairness
            hearing. In a trial, the judge must strictly screen expert
            opinions for ‘evidentiary relevance and reliability’ be-
            cause a jury often has difficulty assessing such evidence.
            In a fairness hearing, the judge does not resolve the par-
            ties’ factual disputes but merely ensures that the disputes
            are real and that the settlement fairly and reasonably re-
            solves the parties’ differences.
Int’l Union v. Gen. Motors Corp., 497 F.3d at 636-37; see In re Nat’l Football

League Players Concussion Injury Litig., 821 F.3d 410, 443 (3d Cir. 2016).

      In contrast to Dr. Mason’s rigorous analysis, Topographic’s experts purported

to construct a “typical” premium rate that a fully insured customer would pay and a


      38
          Topographic’s use of testimony from the Anthem trial is inapposite. Topo-
graphic43. The Anthem trial concerned a contested merger, and the testimony
merely showed that Defendants sometimes used “premium equivalents” for self-in-
sured customers to enforce the Defendants’ restrictions on how much revenue could
be earned from outside an ESA or using a non-Blue brand. The testimony does not
address the comparison of overcharges that could be claimed by Fully Insureds ver-
sus self-insureds, and thus is irrelevant to the allocation issue here.



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“typical” premium-equivalent rate a self-insured customer would pay—based on

guesswork. R.2812(19):133-141. They conjured their “typical” rates out of thin air.

They did not analyze Defendants’ financial reports or other information contained

in the discovery materials. They did not use any econometric or antitrust model.

They asserted that the components of their purported “rates” would be equal for fully

insureds and self-insureds, or would be X% to Y% higher for the fully insureds, with

no data or analysis as to how they arrived at those percentages. Id. They also im-

properly treated payments self-insured customers paid directly to healthcare provid-

ers as if they were part of the damages analysis. And they failed to analyze what

percentage of the amounts actually paid to Defendants constituted an overcharge.

Id. When a court is “faced with competing expert opinions on the proper way to

determine and allocate damages,” “carefully consider[s] the expert advice,” and

chooses to “accept the plan submitted by the Lead Plaintiff’s damages expert over

the plan submitted by the [objectors’] expert,” that judgment should not be disturbed

on appeal. Cendant, 264 F.3d at 254; Carter v. Forjas Taurus, S.A., 701 F. App’x

759, 767-68 (11th Cir. 2017) (per curium).

             2.    The District Court’s Description of the Self-Funded Sub-
                   Class Was Not a Clearly Erroneous Fact Finding.
      Topographic claims the District Court made a clearly erroneous “factual find-

ing” when it made the following observation near the beginning of its discussion of

Topographic’s objection:


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             The Plan distinguishes between Fully Insured Claimants,
             who purchased insurance from Defendants, on the one
             hand, and Self-Funded Sub-Class Claimants who pur-
             chased only administrative services from Defendants, on
             the other.

R.2931:57. See Topographic44

      Topographic’s argument is wrong again. First, the District Court’s statement

is obviously just a general description of the defining difference between fully in-

sureds and self-insureds, not a specific factual finding intended to rule out any pos-

sibility that Self-Funded Sub-Class members might sometimes purchase other ser-

vices from Defendants. Second, it is common parlance in the industry to refer to

self-insureds as “ASO” customers—as customers who buy “Administrative Services

Only.” See R.2868(3):2.39 Using such common phrasing to describe the two groups

was entirely appropriate and accurate.

      Likewise, the concern articulated by the amicus brief of ten insurance depart-

ments is misplaced. Amici argue the District Court erred when it stated: “Those who

are Self-Funded are just that—self-funded. That is, they did not buy insurance from




      39
             Administrative Services Only (ASO), THE BENEFITS GRP.,
https://bit.ly/3IoXZtT (“In an ASO arrangement, employers purchase specific ad-
ministrative services from a third-party.”); Caroline Banton, Administrative Services
Only (ASO): Definition, Pros & Cons, INVESTOPEDIA (Oct. 25, 2021),
https://bit.ly/3IfkDoh (“Administrative services only (ASO) [is] an agreement that
companies use when they fund their employee benefit plan but hire an outside ven-
dor to administer it.”).


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the Blues.” Amicus1 (citing R.2931:61). Amici say this is wrong because self-

funded plans “frequently purchase stop-loss insurance to limit their exposure,” id.,

and they express the concern that the decision below “could be misused to cast doubt

on the authority to regulate stop-loss insurance products.” Id. There is no such risk.

The District Court was merely addressing whether the Self-Funded Sub-Class was

included in the injunctive relief class in the Cerven complaint and has no effect on

the regulatory authority of state insurance departments. The District Court made

zero findings about stop-loss insurance, and thus its decision cannot be read to cast

any doubt on the power of insurance departments to regulate such insurance. Stop

loss insurance was irrelevant to the injunction class definition in Cerven because, as

amici themselves acknowledge, stop-loss insurance “is not health insurance.” Ami-

cus8.

        E.    The Allocation Appropriately Reflects The Late Arrival Of The
              Self-Funded Sub-Class To The Case.
        Topographic argues the District Court abused its discretion by approving an

allocation based on a damages period that recognizes that the Self-Funded Sub-Class

was not part of this case until 2020. According to Topographic, for the allocation to

be reasonable, it was required to treat the self-insureds as if they had been in the case

since the first complaint was filed by fully insureds in February 2012—even though

they were not included in that complaint. Nothing compels this perverse result.




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             1.     The Allocation Reasonably Treated the Self-Funded Sub-
                    Class as Subject to a Shorter Damages Period.
      Relying on “relation back” doctrine, Topographic argues that the Self-Funded

Sub-Class must have the same damages period as the Fully Insureds–i.e., one having

a start date four years before the February 2012 filing of the first complaint brought

by fully insured subscribers in Cerven. Topographic48-54.

      As an initial matter, Topographic’s argument confusingly cites both the abuse

of discretion standard and the clearly erroneous standard. Topographic48 (compare

§ II header with § II(A) sub-header). There should be no confusion. The question

for this Court is not whether the District Court made a clearly erroneous finding in

ruling that the addition of the Self-Funded Sub-Class to the consolidated complaint

did not relate back to the filing of the Cerven complaint. Instead, the question is

whether the District Court abused its discretion in approving an allocation that

treated the Self-Funded Sub-Class as having a shorter, five-year damages period in-

stead of the longer, thirteen-year period used for Fully Insureds. It did not. The

different damage periods reflect the fact that the Self-Funded Sub-Class did not join

this case until October 2020, and so the POD simply reflects that the claims of that

subclass would not have been permitted to relate back to the 2012 Cerven complaint

if they had actually been litigated.

      When an amendment seeks to add new plaintiffs to a pleading, the relation

back doctrine applies only if (A) the new claims arise out of the same conduct set


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out in the original pleading; (B) the defendant will not be prejudiced; and (C) the

defendant knew or should have known that it would have to defend against the

claims of the added plaintiff(s) “but for a mistake concerning the identity of the

proper party” in the original complaint. Cliff v. Payco General American Credits,

Inc., 363 F.3d 1113, 1131 (11th Cir. 2004); Makro Cap. of Am. v. UBS AG, 543 F.3d

1254, 1259-60 (11th Cir. 2008); Topographic49 (citing cases).

      With respect to the first requirement, “the key factor is whether the amended

claims arise from the same underlying facts as the original claims.” Pruitt v. United

States, 274 F.3d 1315, 1319 (11th Cir. 2001). Here, factual allegations in the Cerven

complaint and each subsequent consolidated class complaint focused exclusively on

anticompetitive conduct in the market for full-service health insurance and its effects

on health insurance premiums. The complaint expressly defined “[t]he relevant

product market” as “the sale of full-service commercial health insurance products

to individuals and small groups,” R.2998(3):131 (¶124) (emphasis added). As the

District Court found, “[t]he Cerven complaint mentions ASOs but only in the context

of distinguishing them from the proposed class and explaining that ‘fully-insured

health insurance products and ASO products are only substitutes for those consum-

ers able to self-insure[.]’” R.2931:60 (quoting Cerven complaint ¶129). Cf. Meijer,

Inc. v. Biovail Corp., 533 F.3d 857, 866 (D.C. Cir. 2008) (claim that defendants

“conspired to exclude new entrants into the market” did not relate back to complaint


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premised on one defendant’s unilateral attempt to exclude competitor); Nat’l Distill-

ers & Chem. Corp. v. Brad’s Mach. Prods., Inc., 666 F.2d 492, 496 (11th Cir. 1982)

(price-discrimination claim did not relate back to “price fixing violations alleged in

the original complaint”).

      As to the second and third requirements, Defendants did not have fair notice

that they would have to defend against claims by the Self-Funded Sub-Class “but for

a mistake concerning the identity of the proper plaintiff” in the original complaint.

Makro, 543 F.3d at 1260. Both the Cerven complaint and the subsequent eight years

of litigation made clear that self-insured customers were not advancing claims

against Defendants; there was no mistake in naming Plaintiffs. R.153:28 (plaintiffs

emphasizing the “exclusion of administrative services only (ASO) products from the

individual and small group fully insured product market”); R.2408:11. Further, De-

fendants would surely have been able to claim prejudice if claims added in 2020

were allowed to seek damages going back to 2008. Nelson v. Cnty. of Allegheny,

60 F.3d 1010, 1015 (3d Cir. 1995).

      The District Court thus correctly held that self-insured customers were not

included in either the Cerven damages class or in the Cerven injunction class, and

therefore Defendants were not given fair notice they would have to defend against

such claims. Cerven defined the damages class to consist of “[a]ll persons who,

from February 7, 2008 to the present … have paid health insurance premiums to


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BCBS-NC for individual or small group full service commercial health insurance.”

R.2931:60 (quoting R.2998(3):7). This definition explicitly excludes self-insured

customers, who do not purchase “health insurance,” FMC Corp. v. Holliday, 498

U.S. 52, 54 (1990), and do not pay “health insurance premiums.” The same defini-

tion was used in the consolidated class complaints in the MDL. 40 Thus, for over

eight years, Defendants were on notice that only fully insured customers were seek-

ing damages.

      Cerven’s definition of the injunction class also did not encompass the Self-

Funded Sub-Class. It covered “[a]ll persons or entities who are currently insured by

any health insurance plan that is currently a party to a license agreement with

BCBSA that restricts the ability of that health insurance plan to do business outside

of any geographically defined area.” R.2998(3):99. As the District Court correctly

held, self-insured customers “did not buy insurance from the Blues.” R.2931:61.

They are not “insured by a health-insurance plan.”

      Topographic argues that “self-funded plans typically bought stop-loss insur-

ance.” Topographic51. But stop-loss insurance “is not health insurance.” Amicus8;

R.938:3 (“Stop loss insurance is not medical insurance, it is a financial and risk man-

agement tool for businesses.”). By contrast, Cerven’s definition of the injunction

class refers to entities who buy health insurance from the Defendants, just as Cerven

      40
           R.85, R.99.1, R.244, R.897, and R.1082.

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consistently used “insurance” as a reference to “health insurance,” not as a reference

to any other kind of insurance. See R.2998(3):94-152 (¶¶2, 25, 29-31, 36-37, 106-

110, 117, 121, 123-132, 135-37, 141, 142, 145, 147-149, 150, 153, 157, 159, 162,

165, 168, 180-81, 184, 189, and 192.) 41 Topographic says stop-loss insurance was

“later included in BCBS’s Commercial Health Benefit Product,” Topographic51, but

the settlement complaint adopted broad definitions in order to effectuate the Settle-

ment. Those definitions cannot change the fact that the Cerven complaint clearly

did not include “stop-loss insurance.” Nor did any of the subsequent consolidated

complaints that preceded the settlement.

      The Cerven and subsequent consolidated class complaints that preceded the

Settlement did not include any self-insured customers as class representatives. They

did not plead any facts that would support claims based on conduct in the ASO mar-

ket. ASO services were mentioned in the Cerven complaint only to distinguish the

market for health insurance from the market for ASO services and to explain why

ASO services are not substitutes for health-insurance products. R.2998(3):132-33

(¶129).

      Topographic says Defendants admitted that self-funded claims were part of

the Cerven complaint because Defendants’ motion to dismiss the consolidated class

      41
         For this reason, amici’s assertion that “stop-loss insurance is not reinsur-
ance” is irrelevant. Amicus3-4. Stop-loss insurance may well be a form of insur-
ance, but it is not health insurance, as amici concede, id. at 8.

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complaint stated that the proposed injunction class “encompasse[d] both large and

small groups that self-insure.” Topographic50. That misinterprets what Defendants

said. The reason Defendants made that assertion was to allow them to make an

argument for dismissal based on the complaint’s failure to allege anything about

ASO products in its description of the product market. In response, Plaintiffs made

clear the complaint was not seeking to include self-insured customers in the injunc-

tion class. R.153:28 (The original complaint “justif[ied] exclusion of administrative

services only (ASO) products from the individual and small group fully insured

product market because, among other things, ASO policy holders are large enough

to self-insure.”). Defendants then abandoned their argument that the injunctive-class

product market included ASOs. R.173:29 (acknowledging that “the relevant market

for all their claims is the one in which Defendants sell health insurance”) (emphasis

added).

      The parties litigated this case for eight years as solely involving claims by

fully insured customers. For example, the District Court acknowledged in its stand-

ard of review opinion that, in contrast to the Provider Plaintiffs, Subscribers had

limited their claims to the market for commercial health insurance.42 Similarly,


      42
        R.2063:35 n.13 (“Provider Plaintiffs describe one facet of the alleged anti-
competitive conspiracy as an agreement concerning healthcare financing services
because the agreement allegedly concerns fully insured plans and Administrative
Service Only (“ASO”) plans. … In contrast, Subscriber Plaintiffs indicate that ASO


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Subscribers’ motion to certify an injunction class excluded purchasers of “Adminis-

trative Services Only or Administrative Service Contracts” from their class defini-

tion. R.2408:10-11. Defendants recognized that “Subscribers’ proposed injunction

class includes all fully-insured subscribers to Blue Plan products, including large

groups and non-ASO national accounts.” R.2490:116.

      Topographic says “Subscribers’ first set of discovery requests defined Com-

mercial Health Plan Coverage to include both health insurance and ‘administrative

services.’ R-364(2)-3.” Topographic9. But that was a joint discovery request made

with the Provider Plaintiffs who did include ASO/self-funded products in their prod-

uct market. R.364(2); R.224:8. Subscribers’ only interest in discovery conducted as

to ASO products was to distinguish the markets for health insurance and ASO ser-

vices. Likewise, Subscribers’ expert reports all focused solely on fully insured mar-

kets and damages, and did not analyze self-insured markets. R.2411. As Judge Proc-

tor noted at the Fairness Hearing, “when ASOs got introduced into this, that was

news to me. At no point at any time did the Blues or the subscribers suggest to me

that ASOs were ever part of a target of this litigation.” R.2865:157; see R.2865:155.

      Topographic asserts that the Cerven complaint “attacked the entire Blue struc-

ture and its geographic restraints across all plans,” Topographic53, but the complaint



plans are not available substitutes for all Subscribers because they are not viable
options unless the Subscriber … can afford to self-insure.”).

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addressed that structure only insofar as it generated “artificially inflated and supra-

competitive premiums for individuals and small groups purchasing ... full-service

commercial health insurance.” R.2998(3):143 (¶142).

      Topographic continues grasping at straws by noting that the Cerven complaint

alleged that the size of Blue membership is relevant to Defendants’ market power

and estimated Blue national membership at 100 million—a number that would in-

clude ASO customers. Topographic54 (citing R.2998(3):135 (¶135); R.2998(3):129

(¶118); R.2998(3):98 (¶15)). But the paragraphs cited by Topographic explicitly

target the market for full-service commercial health insurance, not the market for

ASO services. R.2998(3):135 (¶135); R.2998(3):129 (¶118). And the “100 million”

figure occurs in a generic description introducing BCBSA as a Defendant, not a sub-

stantive allegation about anticompetitive activity in the ASO market, or about the

specific claims brought in the case. R.2998(3):98 (¶15).

      Even if it were somehow possible to read Cerven’s injunction class as notify-

ing Defendants they may face injunctive relief claims from self-insureds, Cerven’s

damages class indisputably did not include self-insureds, so nothing put Defendants

on notice that they might face damages claims from self-insureds. Contrary to what

Topographic says, damages and injunctive relief are two different claims under the

Clayton Act: the first is authorized by Section 4 (15 U.S.C. § 15(a)), while the second

is authorized by Section 16 (15 U.S.C. § 26). See Cargill, 479 U.S. at 111 (1986)


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(analyzing differences between Section 4 and 16 claims); Todorov v. DCH

Healthcare Auth., 921 F.2d 1438, 1452 (11th Cir. 1991). Being on notice of a claim

under one of those statutes does not put a defendant on notice of the other. 43

      Further, in a class action where an entire subclass seeks to be added to a com-

plaint almost a decade into the litigation, relation back should not be permitted where

the new subclass cannot also show the statute of limitations on its claims was equi-

tably tolled under American Pipe & Construction Co. v. Utah, 414 U.S. 538 (1974).

See Cliff, 363 F.3d at 1132-33 (relation back decision favorably citing Second Cir-

cuit decision applying American Pipe principles); Topographic53. American Pipe

tolling applies only to “persons encompassed by the class complaint.” China

Agritech, Inc. v. Resh, 138 S. Ct. 1800, 1804 (2018). Litigants invoking American

Pipe tolling must demonstrate that the earlier-filed complaint “explicitly included”

the purportedly tolled claims; “[i]t is not enough for Appellants to rely on only [an]

ambiguous class definition to support their argument for tolling.” Raie v. Chemi-

nova, Inc., 336 F.3d 1278, 1238 (11th Cir. 2003) (tolling inapplicable to claims



      43
          Topographic cites cases holding that an amendment that shifts from equita-
ble to legal relief can relate back, see Friederichsen v. Renard, 247 U.S. 207, 210
(1918); Bemis Bros. Bag v. United States, 289 U.S. 28, 34 (1933), and a case noting
that the same cause of action can support both legal and equitable relief, see Franklin
v. Gwinnett Cnty. Pub. Schs., 503 U.S. 60, 69, 75-76 (1992). Topographic50-51.
But none of these cases treat claims under Sections 4 and 16 as relating back to one
another–least of all in a context where they are brought by a subclass that was not
part of the original complaint.

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“different in kind” from original claims). See Johnson v. Ry. Express Agency, Inc.,

421 U.S. 454, 467 (1975); Zarecor v. Morgan Keegan & Co., 801 F.3d 882, 888 (8th

Cir. 2015) (collecting cases); Davis v. Bethlehem Steel Corp., 769 F.2d 210, 212 (4th

Cir. 1985). Supreme Court precedent also establishes that “American Pipe tolls the

limitation period for individual claims” and does not “extend[] to otherwise time-

barred class claims.” China Agritech, 138 S. Ct. at 1806 (emphasis added); see also

Blake v. JP Morgan Chase Bank NA, 927 F.3d 701, 710 (3d Cir. 2019).

      As shown above, the Self-Funded Sub-Class was not encompassed by the

Cerven complaint. American Pipe would therefore not recognize tolling for the Self-

Funded Sub-Class.

             2.     Dr. Mason’s Estimated Discount Factor Reasonably Re-
                    flected the Weaker Litigation Position of the Self-Funded
                    Sub-Class.
      Topographic also complains that Dr. Mason applied a 50% discount factor to

the allocation percentages produced by his four proxies. Topographic55. As Dr.

Mason explained, this discount reflected the fact that, absent a settlement, the Self-

Funded Sub-Class would face many years of uncertain and expensive litigation to

arrive at a stage of litigation comparable to where the Fully Insureds already were.

R.2865:202. Moreover, the Self-Funded Sub-Class would face even greater risks

than the Fully Insureds, given the relative weakness of their claims. Given these

facts, the 50% discount was reasonable. R.2825(1):14-15. Courts routinely approve



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allocations that account for these factors. Sullivan, 667 F.3d at 328; In re Holocaust

Victim Assets Litig., 413 F.3d at 186; In re Agent Orange, 818 F.2d 179, 183-84 (2d

Cir. 1987); Corrugated Container, 643 F.2d at 220. 44

      The 50% discount was used solely by Dr. Mason to adjust his four proxies,

not by the Court to reduce some independently determined allocation, as Topo-

graphic wrongly suggests. Topographic55. Without any discount, Dr. Mason’s

proxy allocations would have suggested allocations to the Self-Funded Sub-Class of

3.4%, <20.4%, <7.8%-12.6%, and <6.4%-7.4%. R.2825(1):14-18. Especially when

compared with Dr. Pakes’ estimated range of 3.4% to a maximum of 6.8%

(R.2610(8):6), those ranges would still have been consistent with the negotiated al-

location of 6.5%.

      Topographic is also wrong to complain that no similar discount was applied

to claims of large, fully insured customers. Topographic57. These customers were

not in the same position as the Self-Funded Sub-Class because they were involved

in the same fully insured line of business that was the focus of the case prior to

settlement, and that was more profitable than the self-insured business. Further,

             [d]eciding whether a settlement is fair is ultimately an
             amalgam of delicate balancing, gross approximations and
             rough justice, best left to the district judge, who has or can
      44
         See also Herrera v. Charlotte School of Law, 818 F. App’x 165, 176 (4th
Cir. 2020); In re N.J. Tax Sales Certificates Antitrust Litig., 750 F. App’x 73, 83 (3d
Cir. 2018); In re Tremont Secs. Law, State Law and Ins. Litig., 699 F. App’x 8, 13-
14 (2d Cir. 2017).

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             develop a firsthand grasp of the claims, the class, the evi-
             dence, and the course of the proceedings—the whole ge-
             stalt of the case[.]

In re Volkswagen ‘Clean Diesel’ Prods. Liability Litig., 895 F.3d 597, 611 (9th Cir.

2018) (quotation marks and citation omitted).

      F.     The District Court Properly Rejected Topographic’s Discovery
             Request.
      Topographic complains that the District Court denied its request for discovery

into “Fully Insured Subclass counsel’s input into the Mason Report.”           Topo-

graphic45. The general rule is that “‘objectors are not entitled to discovery concern-

ing settlement negotiations between the parties in the absence of evidence indicating

that there was collusion between plaintiffs and defendants in the negotiation pro-

cess.” 4 NEWBERG ON CLASS ACTIONS § 13.32 (6th ed. 2022) (quoting In re Loraze-

pam & Clorazepate Antitrust Litig., 205 F.R.D. 24, 28 (D.D.C. 2001)).45 Here,

Topographic admitted below there was no collusion. R.2865:152-153.

      In any event, the District Court correctly ruled that the common interest priv-

ilege applies to communications between parties to a settlement after the settlement

has been reached, R.2865:82, and that rule logically applies to the parties to an




      45
         See also Lobatz v. U.S. W. Cellular of Cal., Inc., 222 F.3d 1142, 1148 (9th
Cir. 2000); Grant Thornton v. Syracuse Sav. Bank, 961 F.2d 1042, 1046 (2d Cir.
1992); Mars Steel Corp. v. Cont’l Illinois Nat’l Bank & Tr. Co., 834 F.2d 677, 684
(7th Cir. 1987).

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allocation resolution achieved through mediation.46 The common-interest privilege

requires only “a substantially similar legal interest.” In re Teleglobe Commc’ns

Corp., 493 F.3d 345, 365 (3d Cir. 2007). It “does not require a complete unity of

interests among the participants, and it may apply where the parties’ interests are

adverse in substantial respects.” United States v. Bergonzi, 216 F.R.D. 487, 495

(N.D. Cal. 2003); see RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS

§ 76, cmt. e (“The interests of the separately represented clients need not be entirely

congruent.”); Gold Cross EMS, Inc. v. Children’s Hosp. of Ala., 79 F. Supp. 3d 1316,

1326 (S.D. Ga. 2015). What matters is that the clients “share a common interest

about a legal matter.” United States v. Almeida, 341 F.3d 1318, 1324 (11th Cir.

2003). Courts have thus recognized that the common-interest privilege applies to

settlement communications. See In re Androgel Antitrust Litig. (No. II), 2015 WL

9581828, at *2 (N.D. Ga. Dec. 30, 2015); Evansville Greenway & Remediation Tr.

v. S. Ind. Gas & Elec. Co., 2010 WL 1737875, at *4 (S.D. Ind. Apr. 28, 2010);

United States ex rel. Pogue v. Diabetes Treatment Ctrs. of Am., 2004 WL 2009413,

at *1, *6 (D.D.C. Aug. 12, 2004).

      None of Topographic’s cases say otherwise. Some endorse the irrelevant rule

that “[i]n many situations in which the same attorney acts for two or more parties


      46
         Topographic does not challenge the fact that communications between
counsel and an expert regarding an expert report and expert opinions are privileged.
FED. R. CIV. P. 26(b)(4)(B) & (C).

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having a common interest, neither party may exercise the privilege in a subsequent

controversy with the other.” Garner v. Wolfinbarger, 430 F.2d 1093, 1103 (5th Cir.

1970); see also Almeida, 341 F.3d at 1324. Others are even less relevant. See In re

Grand Jury Subpoena Duces Tecum, 112 F.3d 910, 922 (8th Cir. 1997) (holding

White House and First Lady could not invoke common interest privilege). 47

      Finally, Topographic has not attempted to show it suffered prejudice by being

denied access to communications with Dr. Mason, and this Court “will not overturn

discovery rulings unless it is shown that the District Court’s ruling resulted in sub-

stantial harm to the appellant’s case.” See Harrison v. Culliver, 746 F.3d 1288, 1297

(11th Cir. 2014).

      G.     Topographic’s Challenge To The Attorney Fee Allocation Is Mer-
             itless.
      Topographic complains that the District Court approved an in camera Report

from the Special Master discussing an allocation of the attorneys’ fee among the

many dozens of different law firms involved in litigating the case. Topographic31-

32.48 Topographic does not point to any objection it made to this approval before


      47
         Other cases Topographic cites have nothing to do with the common-interest
privilege. Topographic46. See Equifax, 999 F.3d at 1264; Dewey, 681 F.3d at 188-
189; Holmes, 706 F.2d at 1160.
      48
        After reviewing this submission, the District Court found that the Special
Master had “conducted an innovative interview process which allowed each im-
pacted Law Firm to describe for the Special Master what it did to advance the case
and how its services might have been unique compared to those of others,” and also


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the District Court, and we can find no record of such an objection. Further, Topo-

graphic did not seek any post-judgment relief with respect to this issue. It thus has

forfeited any right to appeal the approval. Access Now, Inc. v. Southwest Airlines

Co., 385 F.3d 1324, 1331 (11th Cir. 2004).

      As to the merits, Topographic does not object to the overall attorney fee

award, and the allocation of that award among the many law firms that worked on

the case cannot have any impact on what Topographic receives for its claims. Topo-

graphic therefore lacks standing to appeal the approval. See Hill v. State St. Corp.,

794 F.3d 227, 231 (1st Cir. 2015); Silverman v. Motorola Sol., Inc., 739 F.3d 956,

957 (7th Cir. 2013); Knisley v. Network Assocs., Inc., 312 F.3d 1123, 1126 (9th Cir.

2002). Topographic’s own authority recognizes as much. See Reynolds v. Beneficial

Nat’l Bank, 288 F.3d 277, 287-88 (7th Cir. 2002).

      Topographic’s argument also fails because the District Court had no obliga-

tion to conduct a hearing on the fee allocation, let alone a public hearing featuring

objectors. The division of attorneys’ fees among attorneys is not a topic addressed

by Rule 23. When “the lawyers can decide among themselves how to split the ag-

gregate fee,” courts ordinarily “defer to that self-allocation and there is no need for



found that “the approach taken by the Special Master, in (1) compiling the time,
capital and expense records that provided the data for the Report, and (2) weighting
the data among the lawyers in the Report, was transparent and objective.”
R.2932:5(¶8).

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formal judicial involvement.” 5 NEWBERG ON CLASS ACTIONS § 15:23 (6th ed.

2022); see Chambers v. Whirlpool Corp., 980 F.3d 645, 671 (9th Cir. 2020); In re

Life Time Fitness, Inc., Telephone Consumer Protection Act Litig., 847 F.3d 619,

623-24 (8th Cir. 2017). Topographic’s cases are inapposite because they address

giving class members an opportunity to object to the overall fee award (which was

provided here), not to the allocation of that award among participating counsel.

      H.     Allocation Of The Settlement Fund Was Necessary And Appro-
             priate.
      Topographic argues the “creation of the Self-Funded Subclass produced a

conflict between the interests of the Fully Insured and Self-Funded Subclasses.”

Topographic58. Topographic has it precisely backwards: it was the potential con-

flict between the interests of Fully Insured and self-funded class members that re-

sulted in the creation of the Self-Funded Sub-class. As Topographic’s own authority

holds, the very point of subclassing is to “resolve conflicts of interest that might

prevent representative plaintiffs from adequately representing the class” by provid-

ing a structural assurance that potentially adverse interests are independently repre-

sented. Dewey, 681 F.3d at 189-90. Courts faced with that situation can either “do

away with the distinction” between the two groups or “simply divide the groups into

subclasses.” Id. That choice is committed to the discretion of the district court. See

id. at 182; Sullivan, 667 F.3d at 326.

      Here, it would have been patently inequitable to distribute the Settlement “to


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all class members on the same basis,” Topographic58. As shown above, the eco-

nomics of the self-funded and fully insured markets are fundamentally different, and

the Fully Insureds had stronger claims of suffering antitrust injury than did the self-

insureds. Moreover, the Self-Funded Sub-Class was not in the case until settlement,

so (a) the Self-Funded Sub-Class damages period was different from that of Fully

Insureds, and (b) there had been no damages discovery or expert work done for the

Self-Funded Sub-Class. As a result, the obvious differences in the “injuries” of the

two groups and the scope of available remedies “warrant[ed] the creation of sub-

classes.” Equifax, 999 F.3d at 1276. A failure to make an allocation would surely

have provoked serious objections from the Fully Insureds and risked reversible error

for any approval. See Prado-Steiman ex rel. Prado v. Bush, 221 F.3d 1266, 1281

(11th Cir. 2000) (remanding with directions to create subclasses because “injury

claims target[ed] different defendant conduct” and “the type of proof required for

each claim necessarily will differ”).

      Further, the data Dr. Mason analyzed implied that if there had been no alloca-

tion and self-insureds had simply submitted information on how much they spent for

Defendants’ services, the self-insureds would have been entitled to only 3.4% of the

total dollar amount. R.2825(1):15 (¶39). Thus, the Self-Funded Sub-Class may well

have been substantially worse off had there been “no allocation.”




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III.   COCHRAN’S APPEAL IS MERITLESS
       Like Topographic’s appeal, the Cochran appeal challenges the District

Court’s approval of the POD. Cochran’s appeal, however, focuses on a different

feature of the POD than Topographic’s: the decision to allocate to employers the

premium shares of their employees who either make no individual claim or whose

claims fall below the $5 minimum claim threshold. Cochran’s objection, which was

filed by her father, serial objector George Cochran,49 stands alone: although over

100 million court-approved notices were sent to potential Settlement Class Mem-

bers, R.2812(2):3 (¶5), only Cochran objected to the allocation of unclaimed and

below-threshold employee premiums to employers. R.2812(21). Cochran’s objec-

tion is also meritless, for she does not come close to showing that the District Court

abused its discretion in concluding that the POD adopted fair and reasonable meth-

ods to govern the treatment of unclaimed and below-threshold employee shares. See

Holmes, 706 F.2d at 1147; Sullivan., 667 F.3d at 328; In re Holocaust Victim Assets,

424 F.3d at 146; Cendant, 264 F.3d at 254.

       A.    The POD’s Treatment of Employee Claims Is Fair And Reasona-
             ble, And Raises No Adequacy Of Representation Concerns.
       It would be difficult to find a class settlement POD that was constructed with



        See, e.g., In re Equifax Inc. Customer Data Security Breach Litigation, 2020
       49

WL 256132, at *41 (N.D. Ga. 2020); In re Syngenta AG MIR 162 Corn Litig., 357
F. Supp. 3d 1094, 1104 (D. Kan. 2018); McKnight v. Uber Technologies, 2019 WL
3804676, at *5 (N.D. Cal. Aug. 13, 2019).

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as much careful deliberation, or subjected to as many layers of comprehensive scru-

tiny, as the one here. This is no less true with respect to the POD’s treatment of

employer-employee premiums as it is with respect to the allocation between fully

insured Subscribers and self-funded plans. Class Counsel engaged Darrell Cho-

dorow of The Brattle Group to assist in developing the full POD, including its pro-

visions concerning default premium and ASO fee percentages for employers and

employees. R.2610(9):5 (¶5). Based on evaluation of numerous factors, Counsel

selected “Default” allocation percentages to approximate relief for employers and

employees. R.2610(9):19-20 (¶31), 29 (¶51). Mr. Chodorow reviewed those per-

centages, including the proposal that unclaimed and below-threshold employee pre-

mium shares would be allocated to employers, and found those aspects of the POD

to be economically reasonable. R.2610(9):19-20 (¶31), 23 (¶38), 24 (¶40), 29 (¶51).

Then, Mr. Feinberg independently reviewed the allocation between employers and

employees and concluded that it “is reasonable and the tools used by Class Counsel

are realistic and appropriate under the circumstances.” R.2610(8):8 (¶19). After

multiple rounds of pre-hearing briefing, expert testimony, a Fairness Hearing, and

post-hearing briefing, the District Court overruled Cochran’s objection.

      Given this level of scrutiny, Cochran must clear an especially high bar to

demonstrate that the District Court abused its discretion in reaching the “intensely

fact-based” decision to approve the POD. Cendant, 264 F.3d at 254. Cochran fails


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to clear that bar.

       While the precise contours of Cochran’s arguments on appeal are difficult to

discern, the crux of her argument concerns the fact that the POD allocates to Fully

Insured employer claimants the premium fee shares of their employees who do not

themselves make a claim or whose claims fall below the $5 minimum threshold.

Cochran3-4. But Cochran does not argue that this allocation of unclaimed and be-

low-threshold employee premiums to employers is itself inequitable or unreasona-

ble. Rather, Cochran argues that it is inequitable for the POD to adopt this allocation

method for employees while at the same time providing that the premium shares of

employers who do not make a claim will be reallocated to the general Settlement

Fund, to be distributed to all Fully Insured claimants on a pro rata basis. Cochran12-

13. This supposed “double-standard,” Cochran4, allegedly demonstrates that em-

ployees were not adequately represented. Cochran9-15, 22-29. Cochran’s argument

fails on multiple levels.

       When Subscribers were assessing how to distribute the Settlement Fund equi-

tably and efficiently, they concluded that Default contribution percentages were

needed to ensure that millions of claims could be processed without requiring em-

ployers and employees to submit years of documentation about their respective costs

of coverage. As part of that assessment, Class Counsel and their expert advisors

considered, among other things: (1) economic evidence concerning the costs borne


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by employers versus employees in purchasing coverage; (2) the fact that some em-

ployees pay no out-of-pocket costs for employer-sponsored coverage and others pay

all or a portion of such costs; and (3) the relative strengths and weaknesses of the

antitrust claims of employers and employees, as relating to the same premiums paid.

See R.2610(5):11-13 (¶19(f)(i-vi)); R.2610(9):12 (¶18). Class Counsel also consid-

ered the logistics of the claims process, including ways to ensure that as many claim-

ing employees as possible could meet the minimum claim threshold while also

providing equitable treatment of all claimants.

      As a result of that painstaking assessment, the POD designated employers as

residual claimants for unclaimed and below-threshold employee premiums. This

feature actually allowed the POD to set higher Default allocation percentages for

employees than would have otherwise been possible, thus ensuring that claiming

employees had a greater chance of exceeding the $5 threshold (and hence receiving

payment rather than having it revert to the employer). As Mr. Chodorow recognized,

far from harming employees, this allowed for “a higher allocation [to employees]

without necessarily harming [employers] relatively.” R.2610(9):23 (¶38).

      Cochran does not seriously challenge any of these considerations that led to

the POD’s treatment of unclaimed and below-threshold employee premiums. Nor

could she, since that treatment, based on economic evidence and evaluation of the

relative strength of various claimants’ potential claims, was entirely reasonable. In


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re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 330 F.R.D. 11,

40 (E.D.N.Y. 2019). And despite Cochran’s suggestions to the contrary, the POD

did not operate to discourage employees from making claims; out of over 8 million

timely claims, nearly 6 million have been made by employees, as compared to ap-

proximately 270,000 by employers. R.3029(1):2.

      Thus, the POD’s allocation of employee premiums was manifestly fair and

reasonable. And the POD properly treats the allocation of premiums attributable to

non-claiming employers differently. The premium shares of employers and employ-

ees are not similarly situated. Employers generally bear more of the economic bur-

den, and also have the more direct claim under the antitrust laws, which favor direct

purchasers over indirect purchasers. Further, each employer generally has at least

some form of claim for premiums paid on behalf of each employee. Given all that,

it is fair and reasonable to allocate to an employer any amounts not claimed by that

employer’s employees. By contrast, given the relative weakness and indirectness of

particular employee claims, and given that a particular employee generally has zero

economic burden for the premiums paid on behalf of other employees, it would not

be fair and reasonable to allocate an unclaimed employer amount to whichever of

that employer’s employees happen to submit claims.

      Cochran does not suggest that it would be reasonable for the supposed dispar-

ity in treatment she complains about to be remedied by requiring non-claiming


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employer premiums to be allocated to claims made by that employer’s employees.

Cochran instead suggests that the solution is to allocate the premiums attributable to

non-claiming employees back to the general Settlement Fund, to be distributed, pro

rata, to all Fully Insured claimants. See Cochran13 (“But for the single exception of

awarding unclaimed funds to employers, any money not claimed by employees

would be reallocated to all claimants on a pro-rata basis.”) (emphasis in original).

The POD’s rejection of that option can hardly be characterized as unreasonable, es-

pecially because this decision allowed the Default percentages for claiming employ-

ees to be increased.50

      Unable to demonstrate that the POD treats employee claimants inequitably,

Cochran retreats to an inadequate representation argument. Cochran confuses the

POD’s “apportionment of relief among class members,” which properly “takes ap-

propriate account of differences among their claims” (see Advisory Committee

Notes to Rule 23), with a conflict between members of the class. Cochran26-29 (cit-

ing Valley Drug, 350 F.3d at 1189). But as discussed previously, id., for a supposed

conflict of interest to implicate Rule 23’s adequacy of representation requirement, it

must be based on differences in the economic interests between class representatives

and unnamed class members that are not only concrete and real, as opposed to



      50
         See R.2610(9):13-14(¶¶19-20) (Chodorow declaration discussing consider-
ations showing why treating employer as residual claimant is “economically fair”).

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uncertain and speculative, but so clear and substantial as to fairly be characterized

as ‘“fundamental’... to the specific issues in controversy.” Valley Drug, 350 F.3d at

1189. See Equifax, 999 F.3d at 1275.

       No such conflict exists here. Not even Cochran suggests that employers were

benefitted by the Blues’ anticompetitive conduct while employees were harmed, or

vice versa. Class Representatives sought redress from Defendants for the same un-

lawful conduct as was suffered by all class members, whether they were individuals,

employers, or employees, i.e., anticompetitive overcharges on premiums.

       Cochran nonetheless claims the District Court abused its discretion in not

creating subclasses with separate representation. Cochran26-29. The Third Circuit

rejected a similar argument in Ins. Brokerage Antitrust Litig., 579 F.3d at 272. There,

as here, objectors argued that the district court abused its discretion in approving a

POD allocating different percentages of settlement funds to different groups, without

creating subclasses with separate representation. Id. at 270. Like Cochran, the ob-

jectors contended that “the increased recovery of one sub-class was achieved at the

expense of another subclass’ diminished recovery.” Id. The district court overruled

the objection, reasoning “that simply because the relief varied among the different

groups of class members did not demonstrate that there were conflicting or antago-

nistic interests within the class.” Id. at 272.

       The Third Circuit agreed, finding that “subclasses are only necessary when


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members of the class have divergent interests and the District Court found that no

such divergent interests existed between the allocation groups.” Id. See also Pet

Foods, 629 F.3d at 346. Here, too, the District Court made clear that the class repre-

sentatives “share the same interests as absent class members, assert claims stemming

from the same event[, which] are the same or substantially similar to the rest of the

class, and share the same types of alleged injuries as the rest of the class.” R.2931:30.

      Cochran, in short, has nothing to offer the Court except speculation, rhetoric,

and hyperbole to support her contention that fundamental conflicts between the in-

terests of employers and employees required subclassing and separate representa-

tion. She can demonstrate neither fundamentally antagonistic interests in the inter-

ests of employees and employers, who raise the same basic claims on behalf of the

premiums they jointly paid, and who were impacted in the same way by the Blue’s

antitrust violations. Nor can she show that the POD actually treats employees ineq-

uitably in any way. 51

      B.     The District Court Did Not Abuse Its Discretion In Finding That
             ERISA Posed No Impediment To Settlement Approval.
      Cochran’s submission to the District Court made a passing reference to her



      51
         Unlike the difference between self-insureds and fully insureds, who are cus-
tomers in different markets with very different competitive dynamics and profitabil-
ity for Defendants, employees and employers share in the same premiums for the
same products in the same market. The reason for creating a sub-class with separate
allocation counsel for self-insureds did not exist for employees.

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concern that the Settlement would create a “disincentive” for employers to notify

their employees of their right to submit a claim, and that this disincentive “may”

violate employers’ fiduciary obligations under ERISA. R.2812(21):10. Cochran

now seeks to expand that passing reference into six-plus pages of argument that bor-

rows liberally from the Department of Labor’s (“DOL”) separate submission to the

District Court. Cochran15-22. Even if Cochran had adequately raised below the

ERISA concerns she seeks to inject into her appeal, the argument is meritless.

      DOL carefully studied the Settlement and—after asking questions regarding

the Settlement’s interaction with ERISA, including the issue raised by Cochran on

appeal, see R.2812(13):2-12—it neither opposed the Settlement nor moved to inter-

vene below. And it has elected not to appear before this Court, as amicus or other-

wise, to air any concerns regarding the District Court’s resolution of the questions it

had posed. R.2931:76. That DOL, the agency with “primary responsibility” for ad-

ministering and enforcing ERISA (R.2812(13):3), has considered but chosen not to

press Cochran’s ERISA argument, underlines that the District Court did not abuse

its discretion in rejecting that argument.

      Cochran’s argument amounts to speculation that the POD may trigger em-

ployers’ ERISA obligations and may result in breaches of those obligations.

R.2931:76-79 (refusing to disapprove Settlement based on “hypothetical questions”

about whether it affects ERISA rights or duties). As the District Court explained,


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nothing in the Settlement affects ERISA rights or obligations or the resolution of

disputes over those rights or obligations, so there is no reason to believe that rights

guaranteed by ERISA cannot be safeguarded and vindicated by the existing duties

and enforcement mechanisms created by that statute. R.2931:76-79. Cochran makes

no attempt to refute the District Court’s “simple answer”—that “employers and

ERISA plans are responsible for complying with applicable ERISA and DOL guid-

ance, and nothing in the Settlement or the [POD] relieves them of those obligations.”

R.2931:79. See R.2931:76 (“ERISA plan rights are not affected by the Settlement”

and the Settlement “does not release any claims that an ERISA plan may have

against an employer”). 52

      This was obviously correct, and even more obviously was not an abuse of

discretion. Nowhere does Cochran explain why the District Court’s treatment of the

ERISA question was an abuse of its discretion. Nor does Cochran explain why her

proffered hypothetical ERISA breaches would be a reason to reject the Settlement.

She fails to connect her hypothetical ERISA concerns to her assertion that the Set-

tlement should not have been approved, or to cite any authority supporting that

      52
         Cochran’s suggestion that ERISA plans were not adequately represented,
Cochran21, is baseless for several reasons, see R.2812(1):144-46, including the one
relied upon by the District Court (that “several Class Representatives are both em-
ployers (plan sponsors) and their plans’ named fiduciaries,” R.2931:76-77), a fact
which Cochran never confronts. Fundamentally, because the Settlement does not
purport to address or affect ERISA rights and obligations, there was no need for
ERISA plans to have separate representation.

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proposition.

      The mere possibility, and speculation, that employers might breach their

ERISA duties could not rationally have been a basis for disapproving the Settlement.

Cochran has cited no evidence suggesting that the Settlement either will cause such

breaches or has caused employers to be ignorant of, or confused about, their ERISA

duties; she relies instead on naked conjecture. See, e.g., Cochran15 (asserting that

distribution scheme “disincentiv[izes]” employers from notifying employees of their

rights and thereby “may” cause employers to breach their ERISA obligations) (em-

phasis added).

      A primary component of Cochran’s ERISA argument appears to be her con-

tention that because of their ERISA obligations, employers “should have made a

reasonable effort to forward the class notice to every participating employee.”

Cochran17. See also Cochran15. But Cochran ignores that Subscribers’ notice plan

took extraordinary steps to provide actual notice of the Settlement to all class mem-

bers, including tens of millions of employees. No one has suggested, much less

demonstrated, that the notice plan approved by the District Court did not achieve

that objective, or that it failed to comply with Rule 23, due process, or any other

applicable standards. Even leaving that dispositive fact aside, Cochran fails to cite

any authority for the proposition that a Settlement must be rejected if the notice pro-

vided to certain class members did not require (how, Cochran does not say) those


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class members to take steps to notify other class members of the Settlement. 53

      In sum, Cochran does not come close to demonstrating that the Settlement

will necessarily cause ERISA violations. Her assertion that the Settlement may gen-

erate questions for employers who are required to comply with legal obligations un-

touched by the Settlement (even if true) was no basis for the District Court to reject

the Settlement; it certainly is no basis for this Court to conclude that the District

Court abused its discretion.

IV.   BEHENNA’S APPEAL IS MERITLESS
      The final appeal comes from pro se objector David Behenna, the lone




      53
          Cochran does not dispute the District Court’s concern, expressed at the Fair-
ness Hearing, that introducing the resolution of hypothetical ERISA disputes into
the POD would threaten to bog the claims resolution process down and could delay
the distribution of funds. R.2866:25-26. But she does attempt to distract the Court’s
attention from this undeniable concern by pointing to supposed administrative con-
cerns raised by the process that the POD establishes for those employees (and em-
ployers) who do not wish to take advantage of the POD’s Default premium alloca-
tion percentages. Asserting that this alternative claims process is “laden with ex-
traordinarily burdensome obstacles,” Cochran breathlessly complains that it “con-
tains no fewer than seven steps.” Cochran23 (emphasis in original). But no class
member is required to undertake this alternative process as there is a Default process
that is itself abundantly fair. Further, even a cursory examination of Cochran’s de-
scription reveals that the alternative process is straightforward: claimants are in-
formed of their right to submit evidence, that evidence is submitted and considered,
and a determination is made concerning an appropriate premium allocation. Id. Re-
gardless of how Cochran counts the steps in this process or how many adjectives she
uses to describe it, Cochran cites no authority suggesting that this alternative claims
process is unduly burdensome or unreasonable.

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appellant challenging the District Court’s fee award of $626.6 million. 54 This Court

reviews a fee award “for abuse of discretion.” Faught v. American Home Shield

Corp., 668 F.3d 1233, 1242 (11th Cir. 2011). “The district court ‘has great latitude

in formulating attorney’s fees awards subject only to the necessity of explaining its

reasoning so that [the Court of Appeals] can undertake [its] review.’” Waters v. Int’l

Precious Metals Corp., 190 F.3d 1291, 1293 (11th Cir.1999). A court must explain

its decision with a level of specificity “proportional to the specificity of the fee op-

ponent’s objections.” In re Home Depot, Inc., 931 F.3d 1065, 1089 (11th Cir. 2019).

      Behenna urged the District Court to limit the fee award to Subscriber Coun-

sel’s lodestar of $194 million, arguing that the “settlement does not qualify for com-

mon fund treatment” because the “federal antitrust statutes pursuant to which Plain-

tiffs brought their complaint are fee-shifting statutes.” R.2812(20):107; R.2864:212;

R.2931:67. As the District Court recognized, R.2931:68-69, Behenna’s argument

directly contradicts this Court’s settled precedent establishing that, for purposes of

awarding fees pursuant to a common fund settlement, it is “of no consequence” that

the claims being resolved arose under a fee-shifting statute. Equifax, 999 F.3d at

1279 n.24. Such fees are not awarded pursuant to the statute under which the claims



      54
          Only 15 individual class members, all proceeding pro se, objected to the fee
petition. The overwhelming majority (12 of 15) complained that the proposed award
was excessive, without offering substantive argumentation. Only Behenna has ap-
pealed the award.

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arose, but pursuant to the settlement. Id. See Home Depot, 931 F.3d at 1082. The

District Court correctly concluded that here, as in Home Depot and Equifax, “the

parties’ settlement involved a common fund settlement, and ‘[w]here there has been

a settlement, the basis for the statutory fee award has been discharged, and it is only

the fund that remains.’” Equifax, 999 F.3d at 1279 n.24.

      Behenna offers an entirely new argument on appeal—a convoluted “bifur-

cated fee analysis” of his own invention. Because he did not make this new argument

below, it is forfeited. But even if it were properly before the Court, Behenna’s new

bifurcation proposal is squarely at odds with the well-established standards for as-

sessing fee awards in common fund settlements, standards that the Court below ap-

plied scrupulously.

      A.       The District Court Followed Precedent Governing Fee Requests In
               Common Fund Cases.
      Subscriber Counsel filed a lengthy fee petition in support of their presump-

tively reasonable request for an award of attorneys’ fees representing 23.47% of the

$2.67 billion common fund. R.2733(1):12-13. Counsel explained in thorough detail

why both the “Johnson factors”55 and the lodestar cross-check confirmed the rea-

sonableness of their fee request. It was also supported by (1) a joint declaration by

Co-Lead Counsel detailing the history of the colossal, near-decade-long effort by the



      55
           Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974).

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scores of attorneys who litigated and ultimately resolved this case, R.2733(1); (2)

the declaration of Special Master Gentle, who attested to the substantial contribu-

tions of capital that Counsel made during the litigation and described the process

that he regularly used to audit Counsel’s time and expense reports, R.2733(5); and

(3) expert reports independently prepared by Professors Charles Silver, of the Uni-

versity of Texas School of Law, R.2733(3), and Brian Fitzpatrick, of Vanderbilt Law

School, R.2733(4).

      The District Court carefully analyzed the request and its supporting materials,

finding as an “unassailable fact” that the “Settlement created a common fund of

$2,670,000,000,” R.2931:68-69. The Court followed well-settled Circuit precedent

establishing that “[a]ttorneys’ fees awarded from a common fund shall be based

upon a reasonable percentage of the fund established for the benefit of the class.”

R.2931:69. And “[i]n this Circuit, courts typically award between 20–30%, known

as the benchmark range.” Home Depot, 931 F.3d at 1076. “[T]he median of this 20%

to 30% range, i.e., 25%, [is] a ‘bench mark’ percentage fee award…” Camden, 946

F.2d at 775; see Equifax, 999 F.3d at 1281; Faught, 668 F.3d at 1242-43; Waters,

190 F.3d at 1294. The District Court thus concluded that the requested award of

23.47% of the Settlement Fund fell “well within the reasonable range, particularly

given the fact the claimed fees do not account for the value of the substantial injunc-

tive relief also secured by the Settlement.” R.2931:70 (quoting Home Depot, 931


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F.3d at 1076).

      Because the requested fee did not exceed 25% of the common fund, the Dis-

trict Court was not required to conduct any further analysis, R.2931:70 (citing

Faught, 668 F.3d at 1242), but it nevertheless went on to analyze the fee request

using the Johnson factors and to perform a “lodestar cross-check.” R.2931:70-73.

The Johnson factors confirmed the reasonableness of the requested fee, R.2931:70–

72; see also R.2932:1-5 (¶¶2–7), and the lodestar cross-check multiplier of 3.23 was

“fully consistent with the multipliers that courts have found reasonable in similarly

complex mega-fund cases.” R.2931:73. And the Court offered a reasoned and com-

prehensive response to Behenna’s argument that this is not a common fund case and

that the fee award should be limited to Counsel’s lodestar because the Sherman Act

is a fee-shifting statute. R.2931:67-69.

      B.     Behenna’s New “Bifurcated Fee” Proposal Is Both Forfeited And
             Meritless.

      Behenna’s appeal should be summarily dismissed, for he has abandoned his

argument below that the fee should have been calculated under a statutory fee-shift-

ing analysis, and he failed to raise below his novel “bifurcated fee” argument. In-

deed, his bifurcated fee argument has never been presented, as far as we can tell, to

any court, anywhere. It is not difficult to understand why.

      According to Behenna, the District Court abused its discretion by failing to

isolate the portion of the requested fee attributable to work related to the Settlement’s


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injunctive relief and to assess it separately from the portion of the fee attributable to

work related to the monetary relief. “[T]he District Court should have bifurcated its

fee analysis into two components: A reasonable fee for Plaintiffs’ Counsel’s billings

related to injunctive relief and, two, a reasonable attorneys’ fee related to the mone-

tary relief.” Behenna9. The appropriate fee for the injunctive relief must be assessed,

says Behenna, under the lodestar methodology. Behenna12-13. After thus “isolating

the injunctive relief lodestar,” which Behenna says accounts for $146 million of

Counsel’s total lodestar of $194 million, Behenna17, the District Court should have

“treat[ed] it as if it had been fee-shifted as part of its fee analysis,” id. 56 The remain-

ing $48 million of Counsel’s total lodestar is thus the portion attributable to the mon-

etary relief. Behenna25. Then the injunctive relief lodestar of $146 million must be

deducted from the total fee request of $626.5 million to determine the amount of the

fee request attributable to monetary relief ($480.5 million). Id. And when the $480.5

million fee request for the monetary relief is divided by the monetary relief lodestar

of $48 million, the result is a lodestar cross-check multiplier of 10 (rather than the

3.23 multiplier calculated by the District Court), id., which shows that the fee award

was unreasonably excessive. Q.E.D.

       56
          We hasten to note that Behenna apparently argues at times that Counsel are
not entitled to any compensation at all for the portion of the lodestar attributable to
their effort to obtain injunctive relief; Counsel, he says, somehow “bargained away
in the settlement the right to pursue payment from Defendants for the injunctive
relief-related billings.” Behenna9.

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             1.      Behenna Forfeited his “Bifurcated Fee” Argument.

       Behenna’s argument to this Court is entirely different from the argument pre-

sented to, and rejected by, the District Court. This Court has “repeatedly held that

‘an issue not raised in the district court and raised for the first time in an appeal will

not be considered by this court.’” Access Now, Inc. v. Southwest Airlines Co., 385

F.3d 1324, 1331 (11th Cir. 2004) (quoting Walker v. Jones, 10 F.3d 1569, 1572 (11th

Cir. 1994)). See Midrash Sephardi, Inc. v. Town of Surfside, 366 F.3d 1214, 1222

n.8 (11th Cir. 2004); Hurley v. Moore, 233 F.3d 1295, 1297 (11th Cir. 2000); Nyland

v. Moore, 216 F.3d 1264, 1265 (11th Cir. 2000); Literary Works, 654 F.3d at 255

n.8.

             2.     Behenna’s Fee Argument Is Meritless.

       The law in this circuit, and every circuit, is clear that courts are not required

to perform the tortuous bifurcated fee analysis described by Behenna whenever a

settlement provides both common fund monetary relief and equitable relief. As an

initial matter, in a case in which both monetary and equitable remedies are available

and sought, the vast bulk of counsel’s time and effort is no more (or less) related to

one remedial measure than the other, and attempting to allocate billings between

them would be arbitrary at best. And even if such an allocation were readily possible,

the exercise would defeat Behenna’s purpose here, for it would result in a higher fee

award, one comprised of both a fee of 23.47% of the $2.67 billion common fund to


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compensate Counsel for the monetary recovery and on top that fee, a percentage of

Counsel’s $194 million lodestar to compensate counsel for the injunctive relief. See

Faught, 668 F.3d at 1243-44.

      This Court and other courts of appeals have consistently instructed that the

“non-monetary benefits conferred upon the class by the settlement” are to be in-

cluded among the factors that the district courts consider when performing the fee

analysis in common fund cases. See, e.g., Camden, 946 F.2d at 775 (“non-monetary

benefits conferred upon the class by the settlement” are among “[t]he factors which

will impact upon the appropriate percentage to be awarded as a fee … in common

fund cases”); Poertner v. Gillette Co., 618 F. App’x. 624, 628–629 (11th Cir. 2015)

(courts “[may] consider … other pertinent factors, including any non-monetary ben-

efits conferred upon the class ... in determining the reasonableness of a fee award”).

See also Staton, 327 F.3d at 974. The District Court thus did not abuse its discretion

by taking account of the value of the injunctive relief obtained for the class in as-

sessing the overall reasonableness of Subscriber Counsel’s request for a common

fund fee in this case. R.2931:70-71. See George v. Acad. Mort. Corp., 369 F. Supp.

3d 1356, 1379 (N.D. Ga. 2019); Waters v. Cook’s Pest Control, Inc., 2012 WL

2923542, at *18 (N.D. Ala. July 17, 2012); Williams v. Mohawk Indus., 2010 WL

11500061, at *13 (N.D. Ga. July 22, 2010).

      Behenna apparently got the idea for his bifurcated fee analysis from this


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Court’s decision in Faught. He says it employs a “comparable” bifurcated fee anal-

ysis. Behenna16; see also Behenna43. It does not. The settlement in Faught—unlike

the Settlement here—specifically provided for two separate and distinct fee awards:

first, Plaintiffs’ counsel were authorized to request 25% of the common fund as com-

pensation for obtaining monetary relief for the class; second, defendants agreed to

pay class counsel a separate $1.5 million fee, which “did not come from the money

set aside for the class,” to compensate them for obtaining significant equitable relief.

668 F.3d at 1243. The district court in that case (the same court, incidentally, pre-

siding here) used the percentage method to evaluate the common fund fee award and

a fee-shifting analysis to evaluate the separate $1.5 million fee shifting payment. Id.

      This Court affirmed, rejecting the argument that the district court should have

added the $1.5 million payment to the 25% fee award and analyzed the resulting

unified award solely under the common fund method. Emphasizing that “the $1.5

million payment [was] designed to compensate the class counsel for the non-mone-

tary benefits they achieved for the class … to which the 25% [common fund] fee is

not applied,” this Court held that the district court did not err in evaluating the set-

tlement’s separate fee provisions separately. Id. at 1243-44. Faught thus holds that

when the parties negotiate a settlement providing for counsel to receive two separate

and distinct fee awards, one paid out of the common fund and the other paid directly

by defendants, it is appropriate to evaluate the awards separately. Nothing in Faught


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suggests that when a settlement calls for a single fee to be awarded as a percentage

of a common fund, as here, the court is required to employ the bizarre, bifurcated

fee analysis that Behenna describes. To the contrary, Faught makes clear that attor-

neys’ fees “awarded from a common fund shall be based upon a reasonable per-

centage of the fund established for the benefit of the class.” Id. at 1242-43 (emphasis

added). 57

       Behenna’s remaining points in support of his bifurcated fee analysis, to the

extent we understand them, are a disjointed pastiche of arguments so facially merit-

less that they do not warrant response.58



       57
         Behenna thinks that it is somehow pertinent that the parties here could have
negotiated an agreement like the one at issue in Faught, “could have negotiated a
fee-shifting payment for the injunctive relief lodestar,” and “could have made this
demand after the parties concluded the monetary relief negotiations.” Behenna15
(emphasis added). Perhaps they theoretically could have. But they did not.
       58
          For example, he disagrees with the District Court’s (entirely sound) analysis
of each of the 12 Johnson factors. Behenna26-43. But he did not offer any response
below to the lengthy analysis of the Johnson factors in Counsel’s fee petition and,
in any event, the District Court was not even required to analyze the Johnson factors,
as the fee award falls below the 25% benchmark award that is presumptively rea-
sonable under this Court’s precedents. R.2931:70 (citing Faught, 668 F.3d at 1242).
Similarly, Behenna makes a confused argument that the Settlement’s so-called
“quick pay” provision somehow transformed the Settlement into one involving a fee
shifting arrangement rather than a common fund (Behenna20-23). Behenna ignores
that the “quick pay” funding was merely a fully secured advance on any common
fund fee that was ultimately awarded, an advance that would have to be repaid, with
interest, if any final fee awarded was less than the amount of the advance or if the
Settlement did not otherwise become effective. R.2610(2):45-46(¶28.d). See
R.2641:46.

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                                         ***

      In sum, Behenna fails to show that the District Court abused its discretion in

approving Subscriber Counsel’s request for attorneys’ fees. To the contrary, the

record amply supports the District Court’s findings that the fee award appropriately

reflects not only Counsel’s enormous investment of time, skill, and other resources

on behalf of the Subscriber Class in intense litigation for nearly a decade, but also

the enormously valuable relief that Counsel secured on behalf of the Class, relief

that includes one of the largest monetary recoveries ever achieved in a private anti-

trust class action settlement and a package of transformative structural relief that will

reshape competition in the health insurance industry for years to come.

                                   CONCLUSION

      For the foregoing reasons, all four Appeals before the Court are meritless, and

the Court should affirm the District Court’s Final Approval Order and Fee/Expense

Award in all respects.

Dated: February 10, 2023                   Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      This document complies with the word limit established by the Court’s Order

of January 30, 2023, Doc. 144, granting “Appellees’ Motion to Exceed Word Limit”

filed on January 4, 2023, Doc. 139, and extending the word limit to 35,000 words,

because, excluding the parts of the document exempted by Fed. R. App. P. 32(f),

this document contains 34,627 words.

      This document complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6).


Dated: February 10, 2023



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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 10, 2023, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. Those counsel for Appellants,

Appellees, and Amicus who are registered ECF users will be served by the ECF

system.


Dated: February 10, 2023
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